     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 1 of 92
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                             ORIGINAL
 1     UNITED STATES DISTRICT COURT
       SOUTHERN DISTRICT OF NEW YORK
 2     ----------------------------------------------------X
       Ml~RTIN   SANDOZ,
 3
                                              PLAINTIFF,
 4

 5                    -against-              Case No.:
                                             17-cv-5447(VSB)
 6

 7     CITY OF NEW YORK and DEPARTMENT OF CORRECTION
       COMMISSIONER CYNTHIA BRAUN,
 8
                                              DEFENDANTS.
 9     ----------------------------------------------------X
10

11                                DATE:    February 8, 2019

12                                TIME:    9:42A.M.

13

14

15                         DEPOSITION of the Plaintiff, MARTIN

16     SANDOZ, via videoconference, taken by the Defendants,

17     pursuant to a Notice and to the Federal Rules of Civil

18     Procedure, held at Diamond Reporting & Legal Video, 150

19     Broadway, 13th Floor, New York, New York 10038, before

20     Jennie Siolidis, a Notary Public of the State of New York.

21

22
23

24

25


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     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 2 of 92




 1     A P P E A R A N C E S:

 2

 3     MARTIN SANDOZ
              Plaintiff Pro Se
 4

 5

 6     ZACHARY W. CARTER, ESQ.
       CORPORATION COUNSEL
 7     NEW YORK CITY LAW DEPARTMENT
              Attorneys for the Defendants
 8            100 Church Street
              New York, New York 10007
 9            BY: ADRIA BONILLAS, ESQ.
                   - and -
10            KAVIN THADANI, ESQ.
              File#:   2017-064115
11            Control #: 19-0180
              abonill@law.nyc.gov
12

13

14
       ALSO PRESENT:
15
               MARCO ANDRADE
16             Spanish Interpreter

17

18                         *                *      *
19

20

21

22

23

24

25


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                                        2
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 3 of 92
                                                                           3



 1             F E D E R A L    S T I P U L A T I 0 N S

 2

 3

 4             IT IS HEREBY STIPULATED AND AGREED by and between

 5    the counsel for          respective parties herein that the

 6         ing, filing and certification of            within deposition

 7    be waived; that the original of the deposition may be

 8    signed and sworn to by the witness be             anyone authori

 9    to administer an          , with the same           as if signed

10    be::ore a Judge of            Court; that an unsigned copy of the

11    deposition may be              with the same       and effect as if

12    signed by the witness, 30 days after              ce of the

13    original & 1 copy         same upon couns          the witness.

14

15             IT IS FURTHER STIPULATED AND AGREED that all

16    objections except as to form, are                  to the time of

17    trial.

18

19                       *      *       *    *
20

21

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23

24

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                                        3
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 4 of 92
                                                                            4
                                         M. SANDOZ

 1    M 11, R C 0   A N D   F~   A D E, a Spanish interpreter, solemnly

 2    swore to translate the following questions from English to

 3    Spanish and answers from Spanish to English:

 4    M 11, R T I N     S AN D 0 Z, called as a witness, having been

 5    first duly sworn, through an interpreter, by a Notary

 6    Public of the State of New York, was examined and testified

 7    as follows:

 8    EXl~INATION     BY

 9    MS . BONILLAS :

10        Q.        Please state your name for the record.

11        A.        Martin Sandoz.

12        Q.        What is your address?

13        A.        You mean Clinton address or the one on the

14    street?

15                         MS. BONILLAS:      Clinton.

16        A.        Clinton Correctional Facility, 2001, Dannemora,

17    New York.

18        Q.        Good morning, Mr. Sandoz.         My name is Adria

19    Bonillas.       I represent Defendant City of New York and

20    Commissioner Cynthia Braun in this action which you have

21    brought which is pending in the Southern District of New

22    York.

23                  The purpose of this deposition is for me to ask

24    you questions about the incident that gives rise to the

25    lawsuit that you've brought.


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                                          4
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 5 of 92
                                                                           5
                                      M. SANDOZ

 1                 Before we begin the deposition, I'm going to give

 2    you some rules for the deposition.             I ask that you give

 3    verbal responses.      Please do not say uh-huh or shake your

 4    head so that the court reporter can transcribe your

 5    response.     Do you understand?

 6          A.     I understand.

 7          Q.     Please speak clearly so that the court reporter

 8    can transcribe the deposition accurately.             Do you

 9    understand?

10          A.     Okay.   I understand.

11          Q.     If there is any question that I ask that you do

12    no~    hear, please let me know.       Okay?

13          A.     Okay.

14          Q.     And if there's any question that you don't

15    understand, please let me know, and I'll try my best to

16    rephrase the question.         Okay?

17          A.     Yes.

18          Q.     And unless you tell me otherwise, I'm going to

19    think that you understood and that you heard my question.

20    Okay?

21          A.     Okay.

22          Q.     Please wait for me to finish my question

23    completely before you answer.

24          A.     Yes.

25          Q.     Okay.   Do you understand that you have taken an


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                                       5
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 6 of 92
                                                                                6
                                          M. SANDOZ

 1    oa~h     to tell the truth during this deposition?

 2        A.        Yes.     Yes.

 3        Q.        Do you understand that the oath that you took

 4    today would be the same oath that you would take in a

 5    courtroom if this case goes to trial?

 6        A.        Yes.

 7        Q.        If at some point during the deposition you

 8    realize that a question that you answered was inaccurate or

 9    incomplete, please let me know and I will do my best to

10    correct it.         Do you understand?

11        A.        Yes,    I understand.

12        Q.        Okay.     All right.       Mr. Sandoz, what   lS   your first

13    language?

14        A.        Spanish.

15        Q.        Do you speak any English?

16        A.        Very little, but not much.

17        Q.        Can you write in English?

18        A.        No.     No.

19        Q.        Have you ever written in English?

20        A.        I understand a few words, but I don't understand

21    a lot.

22        Q.        Can you repeat that?

23        A.        I understand a few little words, but I don't

24    understand much.            It's only a few words.

25        Q.        Okay.     Has anyone helped you with this lawsuit by


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                                           6
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 7 of 92
                                                                           7
                                        M. SANDOZ

1     translating documents into Spanish?

2            A.     A friend of mine that has been helping me out

 3    with English a little to -- is the one that's been helping

4     me out with the paperwork because I don't understand.

 5           Q.     Who is the friend helping you with paperwork?

 6           A.     His name is Carlos Medina.

 7           Q.     Does he reside at Clinton Correctional Facility?

 8           A.     He was at the other prison that I was before, but

 9     I'~    in this prison here.       He used to help me with the

10    paperwork over there.         But over here, I don't have anybody

11     to help me.

12           Q.     And what prison was that at?

13           A.     It's called Five Points.

14           Q.     Mr. Sandoz, do you understand the rules of the

15    deposition?

16           A.     Yes.

17           Q.     Okay.     Is there any reason at all that you cannot

18    testify fully and accurately today?

19           A.     I'm fine to testify.

20           Q.     Are you aware of any physical or mental

21    conditions that could interfere with your ability to

22    testify today?

23           A.     No.     I'm fine.

24           Q.     Have you taken any medications in the last

25    24-hour period that could interfere with your ability to


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                                         7
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 8 of 92
                                                                            8
                                    M. SANDOZ

 1    testify today?

 2        A.      No.

 3        Q.      Have you consumed any alcohol within the last 24

 4    hours?

 5        A.      No.

 6        Q.      Have you consumed any drugs within the last 24

 7    hours?

 8        A.      No.

 9        Q.      Are you represented by an attorney today?

10        A.      No.   I don't have any lawyer.      No.

11        Q.      Have you ever talked to an attorney about this

12     lawsuit?

13        A.      No.

14        Q.      Have you ever talked to anyone else about this

15     lawsuit?

16        A.      Only the people at the law library.          They asked

17     me to give them some information.        That's about it.     But

18     nobody's helping me out with this.

19        Q.      Are the people at the law library staff?

20        A.      Confidants.    They're just like inmates like me.

21        Q.      Are these inmates at Clinton Correctional

22    Facility?

23        A.      It's like when you go to these people that help

24     you out in the law library in there.        You know,    they're

25     there to help you out with this.


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                                     8
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 9 of 92
                                                                           9
                                     M. SANDOZ

1         Q.      Okay.    Can you give the names of any of those

2     people at the law library?

 3        A.      I don't know nobody there by name, you know.

4     When I go there, I just go there and ask questions.          That's

 5    about it.    I don't know names.

 6        Q.      What kind of help do they give you at the law

 7    li:Orary?

 8        A.      Anytime I get any paperwork that I need to get

 9     filled up, I go there so they can help me out because I

10     don't understand English that much.

11        Q.      Does anyone at the law library explain the law to

12    you?

13        A.      They explain to me a little bit.       They don't

14     explain to me that much.

15        Q.      What have they explained to you?

16        A.      They told me about the procedures that I have to

17     do in order for me to fill out the paperwork.

18        Q.      Was it paperwork to file the lawsuit?

19        A.      Yeah.    They always help me out to try to get the

20     medical records from the court.

21        Q.      Have you received the records that Defendants

22     mailed to you related to this case?

23        A.      Yeah, I had some papers.        I just don't know what

24     the understanding of those papers means.

25        Q.      Did you receive your medical records as part of


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                                      9
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 10 of 92
                                                                                  10
                                              M. SANDOZ

 1     the documents that were sent by Defendants?

 2        A.      Yes,            I did receive that.

 3         Q.     Did you have a chance to review them before this

 4     deposition today?

 5         A.     Yes,            I saw them.        I looked into it.

 6         Q.     Did you look at any other documents that you

 7     received from Defendants before this deposition today?

 8         A.     Yes.

 9         Q.     What documents did you look at?

10         A.     No.             I read all the documents.

11         Q.     Do you have any of those documents with you

12     today?

13         A.     Not right now.                I left it ln my cell.

14         Q.     Just some background, Mr. Sandoz, can you provide

15     me with your date of birth?

16         A.

17         Q.     Can you tell me your height?

18         A.      6 I 1 II   •




19         Q.     Can you tell me your weight?

20         A.     About 200 pounds.

21         Q.      If you can remember, can you tell me your weight

22     at the time of the incident?

23         A.     About 185 pounds.

24         Q.     Have you been known by any other name?

25         A.     No.


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     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 11 of 92
                                                                            11
                                       M. SANDOZ

 1        Q.      Are you married?

 2        A.      No.     I'm divorced.

 3        Q.      Do you have any children?

 4        A.      Yeah.     I have two

 5        Q.      What are their ages?

 6        A.      Okay.     The girl is 11, and the boy is 10.

 7        Q.      What is your highest level of education?

 8        A.      11th grade.

 9        Q.      Okay.     Now, the incident that you are suing about

10     took place whi       you were        the Department of Correct

11     custody;       that correct?

12        A.      Yes.

13        Q.      Now, throughout this deposition, will you

14     understand if I say DOC when I refer to the Department of

15     Corrections?

16        A.      Okay.     I understand.

17        Q.      And the       ident that you're suing about also

18     took place at Anna Kross Center specifically; is that

19     correct?

20        A.      Yes, correct.

21        Q.      Is it okay if I say AMKC when I refer to Anna M.

22     Kross Center?

23        A.      Yeah.     I understand.

24        Q.      Okay.     When did your incarceration at DOC begin?

25        A.      I was incarcerated June 25th, 2015.


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                                       11
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 12 of 92
                                                                            12
                                     M. SANDOZ

 1         Q.      What facility were you housed at when you were

 2     first incarcerated?

 3         A.      M. Kross, that one.

 4         Q.      What charges did you have pending against you?

 5         A.      I don't have any charges right now.       Right now,

 6     I'm serving time for burglary.

 7         Q.      Okay.   So at the time you were first

 8     incarcerated, were you charged with burglary?

 9         A.      Yes.

10         Q.      Did that result in a conviction?

11         A.      No.

12         Q.      Did you take a plea?

13         A.      I took time served.

14         Q.      I don't know what that means.

15         A.      I did some time, and they let me go.       That's why.

16         Q.      Why are you Upstate now?

17         A.      For burglary.

18         Q.      And at the time of the incident ln 2016, were you

19     in DOC custody for the burglary charge?

20         A.      This is the cases that I have now.

21         Q.      Okay.   When did you transfer to an Upstate

22     facility?

23         A.      October 28th, 2016.

24         Q.      Mr. Sandoz, I'm going to turn to the incident

25     that you alleged in the complaint.        Can you specify the


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                                     12
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 13 of 92
                                                                             13
                                         M. SANDOZ

 1    da1:e on whi       you     lege the incident occurred?

 2        A.      March 20, 2016.

 3        Q.      And was this at AMKC?

 4        A.      Yes, correct.

 5        Q.      And when did you first arrive at AMKC?

 6        A.      June 25th, 2015.

 7        Q.      Were you placed in the general population when

 8    you arrived at AMKC?

 9        A.      Yes.     After the incident happened,       I was put in

10     protective custody.

11        Q.      We'll get to that.

12                So you were at AMKC for almost a year before you

13     said this incident happened to you?

14        A.      Yes, correct.

15        Q.      Where were you housed when you first came to

16     AMKC?

17        A.      The booking, the precinct.

18        Q.      What housing area at AMKC?

19        A.      11 quality.

20        Q.      Do you mean 11 quad?

21        A.      It's 11 QL.

22        Q.      Okay.        Quad lower?

23        A.      Yes.

24        Q.      How long were you housed in 11 quad lower?

25        A.      I was there for about two months.


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                                         13
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 14 of 92
                                                                                  14
                                           M. SANDOZ

 1           Q.       What months were you there for?

 2           A.        I bel        I was there from February 11th           I

 3     got to the house.          February 11th.

 4           Q.       Where were you before February 11th, what housing

 5     area?

 6           A.       18 west.

 7           Q.       So were you in 18 west from June 25th, 2015 until

 8     February 11th of 2016?

 9           A.        I was          until like February 5th, and I end up

10                a ticket, and they took me away from the house.

11           Q.        What t         are you talking about?

12           A.        It's the kind of ticket           you get when you

13     misbehave.

14           Q.        Do you mean an infraction?

15           A.        Yes.

16           Q.        What did you get the infraction for?

17           A.        For some knives that I had.

18           Q.        Did an officer find the knives?

19           A.        Yes.     They found it 1n my pocket.

20           Q.        Did you use          knives?

21           A.       No, I didn't use it.        I didn't use it.   I had

22     them.       That's all.

23           Q.       What were you charged with in the infraction?

24           A.        I don't remember what they gave, but I believe

25     was          session of a knife.


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                                           14
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 15 of 92
                                                                              15
                                      M. SANDOZ

 1         Q.     Did you       to a hearing?

 2         A.     Yes.

 3         Q.     And what did DOC decide at the hearing?

 4         A.     They rai       my custody to max because the house

 5     where I was before/ it 1 s not for max.       And the           where

 6     11 is is for max.

 7         Q.     So you were placed in           is it a max security

 8     housing?

 9         A.     That 11 house for maximum custody.           That 1 s why

10     they sent me over there.

11         Q.     Why did you have the knives?

12         A.     You know, they were given to me because something

13     had happened at the house;           they found the knives on me.

14         Q.     What do you mean something happened at               house?

15         A.     There was a fight that broke out.

16         Q.     Okay.     Were you involved in the fight that broke

17     out?

18         A.     No.

19         Q.     When was this fight?

20         A.     February 5th.

21         Q.     Of what year?

22         A.     2016.

23         Q.     And when were you given the knives?

24         A.     That same day when it happened.

25         Q.     Were you planning to join the fight?


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                                      15
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 16 of 92
                                                                             16
                                          M. SANDOZ

 1           A.       No.     I was going to flush the knives down the

 2     toilet, but I didn't            t a chance to do that.

 3           Q.       Did an inmate give you the knives?

 4           A.       Yes.

 5           Q.       Why did you take them?

 6           A.       You know, they handed it to me quick.         So I

 7     grabbed it to throw it away.            That's all.

 8           Q.       And because DOC staff found the knives on you,

 9     you were placed in maximum security housing at quad 11?

10           A.        Yes, correct.

11           Q.        Before you were transferred to maximum security

12     housing, how was your relationship with the inmates in your

13     housing area?

14           A.        Everything was fine.      Everybody got along with

15     me.        Many people know me.

16           Q.        Had you ever gotten into any kind of fight with

17     any inmate before March of 2016?

18           A.        No.

19           Q.        When you transferred to maximum security housing,

20     did you know any of the inmates in that housing area?

21           A.        I knew maybe about two people there.         That's it.

22           Q.        Did you get along with those two inmates?

23           A.        Yes.

24           Q.        About how many inmates were           the quad 11 lower

25     housing area?


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                                          16
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 17 of 92
                                                                            17
                                        M. SANDOZ

 1        A.        Maybe about 30.

2         Q.        Did you get to know any of them once you

 3     transferred to that housing area?

4         A.        I would just say hello to them, not to be close

 5     to them, you know.          Somebody you cannot trust.   You know, I

 6     would just say hello to them, how are you, good-bye.

 7        Q.        Did you know any of the Corrections staff in quad

 8     lower 11?

 9         A.       I was just seeing them, but I would never have

10     conversation with them because I don't speak English.

11         Q.       In the housing area that you were at before, were

12     there Corrections staff who spoke Spanish?

13         A.       One of the officials, it's a woman that spoke

14     Spanish; but I don't like having conversations with them.

15         Q.       Which housing area are you talking about?

16         A.       11 quality.

17         Q.       Before you were in 11 quad, the other housing

18     area, did you have friends there who you spoke to ln

19     Spanish?

20         A.       Yeah.    I have friends that spoke Spanish, but no

21     officials.

22         Q.       In max security housing or quad 11, did any of

23     the inmates speak Spanish?

24         A.       Yes.    Yes.

25         Q.       You said earlier that you said hello but didn't


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                                        17
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 18 of 92
                                                                            18
                                       M. SANDOZ

 1     trust the people in quad 11.         Is there a reason why?

 2         A.      I would just say hello, how are you.        But I never

 3     had conversations with them.

 4         Q.     But is there a reason why you didn't           you said

 5     earlier you didn't trust them.         Is there a reason why?

 6         A.     There's no reason because I didn't talk to them.

 7     They didn't talk to me.         So I wasn't going to      close to

 8     them.

 9         Q.     While you were in DOC custody, were you ever

10     designated as a gang member?

11         A.     No.

12         Q.     Was there ever a point 1n time when you were in a

13     gang while in DOC?

14         A.      No.     I've never been in a gang.     I don't like to

15     have a boss.

16         Q.     Now, you mentioned that the incident took place

17     on March 20, 2016?

18         A.      Yes, correct.

19         Q.      Be        this incident happened, can you remember

20     anything about that day?

21         A.      I don't quite remember what happened before, but

22     I can remember what happened after.

23         Q.     Do you remember, did you have court that day?

24         A.      Yeah.    That, I remember.

25         Q.     What were you going to court for?


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                                       18
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 19 of 92
                                                                            19
                                     M. SANDOZ

 1        A.      For the burglary cases.

 2        Q.      Did you have multiple burglary charges?

 3        A.      I   had two.   I was going to court because I had

 4     those cases.

 5        Q.      What time did you go to court that day?

 6        A.      About 9:00 a.m.

 7        Q.      How often were you going to court for your

 8     burglary charges?

 9        A.      Like every three months.

10         Q.     And you remember specifically going to court on

11     March 20th, 2016?

12        A.      On March 20, I didn't go to court that day.

13         Q.     Okay.    So when you said that you went to court at

14     9:00a.m., what day are you referring to?

15        A.      Sometime around April, around that time.

16         Q.     Can you be more specific?

17        A.      I   was going to court every three months.        But ln

18     April, that's when    I   had the date that   I   had to go to

19     court.

20         Q.     So did you go to court in March of 2016?

21        A.      You mean March?

22         Q.     Yes.    Did you ever go to court in March 2016?

23        A.      Sincerely, I don't know if I       remember if I went

24     to court in March.

25         Q.     So you don't remember if you went to court on the


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                                     19
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 20 of 92
                                                                            20
                                      M. SANDOZ

 1     day that you said the incident happened?

 2        A.      No.     That day, I didn't go to court.

 3        Q.      Okay.    Do you remember if you went to lunch that

 4     day on March 20, 2016?

 5        A.      They bring the food to the gallery.        They bring

 6     it in to us.     We don't go to the mass hall.

 7        Q.      Is that because food lS brought to inmates who

 8     are in maximum security?

 9        A.      In that prison, they bring the food to us.            They

10     don't bring it to the mass hall.

11        Q.      Is that the food process for everyone?

12        A.      For that complete prison, yes.

13        Q.      Do you remember what time you had lunch that day?

14        A.      Maybe about 11:00, so I don't know.         I don't

15     quite exactly remember the time that the food came.

16        Q.      Did you have dinner that day?

17        A.      Yeah.     They gave us food that day.

18        Q.      Do you remember what time you had dinner?

19        A.      No, I don't remember.

20        Q.      Do you remember what you did after dinner?

21        A.      I spent time in my cell all day.

22        Q.      After dinner, did you spend time ln your cell?

23        A.      I like to spend time in my cell because I like to

24     draw.   I like to listen to music.

25        Q.      Were you drawing or listening to music ln your


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                                      20
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 21 of 92
                                                                             21
                                     M. SANDOZ

1      cell after you had dinner?

2         A.      Yes.

3         Q.      Mr. Sandoz, can you describe the housing area ln

4      quad lower 11, like what it looks like?

 5        A.      The house has like a little living room.           They

 6     have a hall that goes right through there.            You can see all

 7     the cells there.

 8        Q.      From the hallway, you can see all the cells?

 9        A.      It's like when you walk through that little hall,

10     the cells are facing one another.         They're right there.

11         Q.     What about the living room that you talked about,

12     where is the living room?

13         A.     When you walk through the door, there's a little

14     living room there with the TV and a little bit of hot water

15     and some tables there.

16         Q.     Is it called the living room?

17         A.     Yes.

18         Q.     Okay.   How far down the hallway      lS    the living

19     room?

20         A.      I don't understand what kind of distance.

21         Q.      I'll back up.

22                 Is it one hallway with all of the cells facing

23     each other, or are there multiple hallways?

24         A.     The minute you walk through the door, that's the

25     little living room therei and then the hallway begins.               And


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                                     21
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 22 of 92
                                                                            22
                                      M. SANDOZ

 1     that's where all the cells are facing one another.

 2         Q.      And you said there's about maybe 30 inmates who

 3     are in this housing area?

 4         A.      It's about 30 cells there.

 5         Q.      And so the living room is at the beginning or the

 6     front of where the hall is before the cells start?

 7         A.      Yes.    It's at the front, and the cells are at the

 8     back.

 9         Q.      How far was your cell from the living room?

10         A.      Maybe about 20 cells.

11         Q.      Was there an office for DOC staff to be able to

12     monitor the inmates in their cells?

13         A.      That's more like ln front where all the monitors

14     is to monitor the cells, to open up the cells, that's where

15     they all are.       They're more like in front where all the

16     monitors with the controls are to open up and close the

17     cells.

18         Q.      Where in front?

19         A.      This is the living room.        It's about ten feet

20     away from the living room.

21         Q.      And lS it an office?

22         A.      Yeah.     It's an office where all the workers are

23     there, the officials.

24         Q.      How many officials?

25         A.      About two officials.      That's it.


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                                      22
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 23 of 92
                                                                               23
                                          M. SANDOZ

 1           Q.       Did the       ficials ever leave the office?

 2           A.       One       the offic      s call up the other officials

 3     to come into the off

 4           Q.       Are you referring to a specific time, or are you

 5     just saying generally that's the process?

 6           A.       There's supposed to be one official           the

 7     gal            But, you know, they don't spend time there.

 8           Q.       When you say gallery, are you referring to the

 9     staff off           ?

10           A.       The gallery is where we all find each other.         We

11           l that            ry where     1 the inmates are, get together.

12           Q.       Is that       fferent from the living room?

13           A.       It's       1 the same thing.

14           Q.       Okay.      So do you call the living room the

15     gall

16           A.       We       l call that gallery.     That's where all the

17     inmates are.

18           Q.       What's        ide the living room?

19           A.       There's a TV, table to play dominos, cards.

20           Q.       Okay.

21           A.       We also have hot water so we can cook.

22           Q.       Are there windows in the living room?

23           A.       Yes.

24           Q.       What can you see through the windows?

25           A.       You know, you can see all the other buildings


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                                          23
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 24 of 92
                                                                            24
                                      M. SANDOZ

 1     around, you know, when you look at that.          It's a building

 2     that's all together.

 3         Q.       So do the windows face outside and you can see

 4     other buildings that are outside?

 5         A.       There's one window that you can face out the

 6     street.    This other window that you can see where all the

 7     officials are.

 8         Q.       Okay.   So how many windows are there total, if

 9     you can remember?

10         A.       About five.   There's one wall that has two

11     windows.     There's another wall that you can see the

12     officials.

13         Q.       When you say you can see the officials, where

14     would the officials be in the housing area from the window?

15         A.       There's one window there that's made out of

16     crystal that you can see through that window that the

17     officials are there.

18         Q.       When you're looking out that window, where are

19     the officials standing, are they in a room, or where are

20     they in the facility?

21         A.       They're in the room where they control all the

22     doors and the cells.

23         Q.       If you're looking out of that window, about how

24     many feet away are the officials?

25         A.       About ten feet.


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                                      24
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 25 of 92
                                                                                25
                                    M. SANDOZ

 1         Q.      Okay.   Now I want to talk about the incident that

 2     you're complaining       in your lawsuit.     What were you doing

 3     immediately before this incident?

 4        A.       I was drawing in my cell.      Maybe about 8:15,

 5     another inmate came by my cell.        And I told the inmate to

 6     tell the guard to open the cells so I can get out of my

 7     cell.     I also got out of my       l so I can go get some warm

 8     water.

 9                 Then I walk into the living room, and I noticed

10     that the water was not warm.        And there was a movie playing

11     on right now, so I stand by there to watch the movie.          And

12     I was standing there.     There was two people sitting there,

13     and I remain standing up.        And I'm standing up, and I          t

14     that somebody from the back hit me on the back of my head.

15     And I fell down to the ground because I was in a lot of

16     pain.     And then the inmate that was hitting me continued to

17     kick me on the floor while I was on the floor.

18         Q.       Were the two people who were s       ing watching the

19     movie still in the living room?

20         A.       It's like when that incident happened, everybody

21     got up.

22         Q.       Were the two people who were sitting down

23     inmates?

24         A.       There was quite a few inmates that they were

25     watching TV also.


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                                    25
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 26 of 92
                                                                            26
                                       M. SANDOZ

 1         Q.      So were            more than two inmates ln the living

 2     room when this happened?

 3         A.      Yes.    Yes.   There was more than two.     It was a

 4     lot of them.

 5         Q.      Can you be more specific, how many?

 6         A.      Maybe about 14, 15.       I know there was a lot of

 7     them in there.

 8         Q.      Did any        those inmates       in the living room

 9     when you say that an inmate hit you?

10         A.      What             , you know, they all stand up, you

11     know, when the incident was happening.

12         Q.      Did they stay and watch the incident?

13         A.      Yeah,          stayed there to watch the incident.

14         Q.      Were       lights on in the living room when you

15          that this happened?

16         A.      Yes.    And I saw some of the inmates stand by

17     window so the office cannot see what was going on, to block

18     the view.

19         Q.      Do you know if any officials were in the office

20     at the time that you say this inmate          t you?

21         A.      There was no officials giving me security when

22     that happened.

23         Q.      But do you know if any offici       s were present

24     the office when you say that this happened?

25         A.      You know, they were at the        fice.    But, you


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                                       26
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 27 of 92
                                                                            27
                                     M. SANDOZ

1      know, they weren't at the gallery.        They were supposed to

 2     have been there.

 3         Q.     How many did you see in           office?

 4        A.      When I got out of my cell and I saw there was two

 5     offic     s there at        office.

 6         Q.     How long were you in the living room gett

 7     water and watching TV before you say the inmate hit you?

 8         A.     Maybe about 15 minutes I was there.

 9         Q.     Did you see any officials           the office while you

10     were in the living room?

11         A.      Yeah.          were at the      fice.

12         Q.      You said        ier that inmates came to the window

13     and blocked the        ew of the offic      s while the            was

14     hitting and kicking you; is that correct?

15         A.      Yes, correct.

16         Q.      Do you know how many inmates were there blocking

17     the window?

18         A.      Must have         about five because, you know, when

19     I was on the ground, I happen to see                 was about f

20     of them there.

21         Q.      How were the inmates blocking             window?

22         A.      You know,         got up, and           went right to

23     window.    They were just blocking it so they cannot see

24     through it.

25         Q.     Do you know if they were blocking it on purpose


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                                     27
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 28 of 92
                                                                                28
                                         M. SANDOZ

 1     to prevent someone from seeing what was happening?

 2         A.        What happened was they were yelling and screaming

 3     so the guards cannot know what's going on, could not hear

 4     what's going on.

 5         Q.        Do you          they were        1     and screaming to

 6     cover the noise from the fight?

 7         A.        Yes, correct.

 8         Q.        During        fight, were you saying anything?

 9         A.        What happened when I was hit in the head, I               11.

10     What happened,             inmate was kicking me on the ground

11     also.

12         Q.        Did you make any noise at            1 during the fight

13     when you say he          t and kicked you?

14         A.        You know, I started screaming so the guards can

15              it, you know.     And I was continuing getting kicked.

16         Q.        But you say the inmates who were watching also

17     started making loud noises to cover up your screaming?

18         A.        Yes.

19         Q.        Do you remember the movie you were watching?

20         A.       All I remember it was an action movie.            I can't

21     remember the name.

22         Q.        Was        movie still playing while you say the

23     inmate was kicking you?

24        A.         I was watching the movie when that happened.              You

25     know what I mean?


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                                         28
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 29 of 92
                                                                            29
                                       M. SANDOZ

 1         Q.      Was the volume loud when the movie was playing?

 2         A.      Yeah.   The volume was very high.

 3         Q.      Do you remember what the inmates were shouting

 4     while you say you were being kicked?

 5         A.      I don't understand the question.

 6         Q.      What kind of noises were the inmates making?           For

 7     example, were they saying words; or were they just

 8     shouting?

 9         A.      They were saying words, and some of them were

10     laughing very loud.

11         Q.      Do you remember any of the words that they were

12     saying?

13         A.      With the pain that I was in, I was not paying

14     attention what they were saying, you know, all the things

15     that were going on around me.

16         Q.      Do you know if the inmate who you say hit you was

17     one of the inmates already in the living room?

18         A.      You know,    I was on my back.      You know,   I mean, I

19     don't remember when it happened, whether he was there or

20     not.

21         Q.      You were lying on your back facing up, or you

22     were lying on your stomach facing down?

23         A.      I was on the side because I was covering my face

24     so I don't get kicked in my face.

25         Q.      About how long do you think the fight lasted?


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                                       29
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 30 of 92
                                                                            30
                                       M. SANDOZ

 1         A.     About a minute, minute and-a-half.

 2         Q.      Throughout the fight, were you on the ground the

 3     whole time?

 4         A.      Yes.     I was on the floor because I was hit so

 5     hard I couldn't get up.

 6         Q.      Were you able to do anything to fight back?

 7         A.      After I was kicked, I was out of breath; so I

 8     couldn't even breathe.

 9         Q.      Do you know what caused the fight to end?

10         A.      I started screaming very loud.        That's when he

11     stopped hitting me.

12         Q.      Were you screaming louder this time than when he

13     first hit you and began kicking you?

14         A.      Yeah.     I started screaming very loud so they can

15     hear me.

16         Q.      What did the inmate who you say attacked you --

17     did you see him leave the living room?

18         A.      Yeah.     Once he started to leave and I saw some

19     other inmates leaving with him.

20         Q.      Where in the living room did the fight happen?

21         A.      There was a corner close to the wall by the TV.

22                         MS. BONILLAS:    Let's take a quick break just

23                 to run to the bathroom.

24                         (Whereupon, a short recess was taken.)

25         Q.      Mr. Sandoz, how many doors are in the living


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                                       30
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 31 of 92
                                                                               31
                                        M. SANDOZ

1      room?

2          A.       Only one.    One.

 3         Q.      And where is the door re          ive to the TV?

 4         A.       It's like right next to           TV.    Maybe about

 5              feet by the          sion.

 6         Q.       So is the door on the same side of the room as

 7            television?

 8         A.       Yeah.         's where the door is to get into the

 9     living room.

10         Q.       Yes.     I'm just trying to figure out how             away

11            door is from         you were lying on the floor.

12         A.       It was maybe about 12             from the door,

13     somewhere there.

14         Q.       When the inmate who you            attacked you

15     were you facing the door so that you could see him walking

16     out?

17         A.       I was gett       up, and I can see that the door is

18     quite a few feet away.

19         Q.       But could you see any of            inmates, including

20     the one who you say attacked you, walking out of the door?

21         A.       Yes.     I saw him walking out          the door because

22     he walked out with about five more                     that left wi

23     him.

24         Q.       Were you         to see anything about the inmate

25     who you say attacked you, anything that could identify him?


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                                        31
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 32 of 92
                                                                            32
                                     M. SANDOZ

1         A.       He's tall, dark skin.

 2         Q.      Could you tell his race?

 3        A.       Black.

 4         Q.      Could you tell his hairs         ?

 5         A.          hairs, they were just like mine,           one I

 6     have.

 7         Q.      Do you know if he had tattoos showing?

 8         A.      All I know, he's got tattoos on his hands; but I

 9     didn't notice anything        se.

10         Q.      Do you know why this inmate attacked you?

11         A.      I don't know why he attacked me.         I had no

12     problems with him.     I don't know him that well.

13         Q.      You said you don't know him that well.         Did you

14     know him at all before         s happened?

15         A.      You know, I saw him.     I saw him, but I never

16     spoke to him like that.

17         Q.      Did you ever learn his name          ter this incident

18     happened?

19         A.      All I know his nickname because           they call him

20     Pistol.     In English, it's called gun.

21         Q.      When did you learn his nickname?

22         A.      A week later after the incident happened, that's

23     when I found out that was his nickname.

24         Q.      Before this incident, had you ever been attacked

25     in this housing area by anyone?


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                                     32
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 33 of 92
                                                                            33
                                       M. SANDOZ

 1        A.        No.   Never.    Never.

 2         Q.       What about the inmates who were in the room when

 3     you say you were attacked, did any of them             anything to

 4     you while you were still laying on the floor?

 5        A.        You know, after I got up and I went to my cell,

 6     all those guys came to my cell to threaten me.

 7         Q.       What did they do to threaten you?

 8         A.       My door        l was not supposed to be open, so the

 9     four of them came into my cell with knives to threaten me.

10                        MS. BONILLAS:      Can you repeat that back?

11                        (Whereupon, the referred to answer was read

12                  back by the Reporter.)

13         Q.       When was your door cell open?

14         A.       What happened when I went out to get some warm

15     water, the neighbor closed the cell, so the whole door was

16     open     l the time.

17         Q.       How are the cell doors supposed to close, if you

18     know?

19         A.       When an inmate comes out of           cell, at that

20     instant, they're supposed to lock the cell.

21         Q.       Who are they?

22         A.       The official is suppos         to shut the door, the

23     officials.

24         Q.       How do they know when to close an inmate's cell,

25     do they see when an inmate leaves the             l?


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                                       33
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 34 of 92
                                                                            34
                                      M. SANDOZ

 1        A.        Yes.   They have to see when the inmate comes out.

 2     When the inmate comes out of the door, the door supposed to

 3     instantly close.

 4         Q.       Do you know if there's a camera that monitors

 5     when an inmate comes out of the cell?

 6         A.       They're supposed to be having cameras.        But the

 7     cameras, they didn't have them.

 8         Q.       Why do you think there was supposed to be cameras

 9     there?

10         A.       For security.

11         Q.       Do you know how the          icials can see when an

12     inmate leaves his cell?

13         A.       The official has to be attentive.        When the

14     inmate leaves the cell, they're supposed to shut down the

15     cell door.     When that happened, there was no camera, there

16     was no security, there was nothing there.

17         Q.       When was the last time you saw an off        ial      the

18     hous       area before you say you were attacked?

19         A.       I saw them maybe about 7:00 p.m. when he came by

20     my cell.     But when I got out       my cell, I didn't see

21     nobody there, not even in the gallery.

22         Q.       When you came out of your cell, did a guard have

23     to let you out so that you could go to the living room?

24         A.       Yes.

25         Q.       So did you see a guard then when you were leaving


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                                      34
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 35 of 92
                                                                              35
                                         M. SANDOZ

 1     your cell?

 2         A.       I saw him       the office, but I didn't see him in

 3     the gallery where he's supposed to be working.

 4         Q.       In the living room.       Okay.

 5                  How many officials did you see in the office when

 6     you were let out of your cell to go to the living room?

 7         A.       Two, two officials.

 8         Q.       And about what time was that?

 9         A.       It was about 8:15.        I got out of the cell real

10     quick, and I saw them sitting back there.

11         Q.       How many            away were the officials from the

12     gallery or living room?

13         A.       Maybe about 12 feet distance.

14         Q.       Why do you think that the           ficial is supposed to

15     be ln the gallery instead of the living room?

16                  Can I rephrase that?        Why do you think that the

17     official is supposed to be in the gallery instead of the

18     office about 12 feet away?

19         A.       He has to be guarding the whole section.          This is

20     what they get paid for.

21         Q.       While you were ln that housing area, had you ever

22     seen an      ficial in the living room?

23         A.       There's supposed to be one in            office and one

24     in the gallery, you know, two guards.             But they were both

25     at the    fice.    Nobody was around.


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                                         35
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 36 of 92
                                                                              36
                                      M. SANDOZ

 1         Q.       How long were you in the living room after the

 2     fight?

 3         A.         ter the fight?        After?   After that happened, I

 4     couldn't even walk.      I couldn't even stand up, so I

 5     practically crawled myself to my cell.

 6         Q.       How long did it take for you to            back to your

 7     cell after the fight ended?

 8         A.       Maybe about three minutes.

 9         Q.       Now, you said you crawled to the cell.         Can you

10     describe what you mean by crawled?

11         A.       The pain was so hard that I couldn't even walk.

12     I was just crawling as best as I can.

13         Q.       But were you walking using your legs?

14         A.       I was using my feet like walking.         I was not

15     going like a snake.      You know what I mean?        Nothing like

16     that.

17         Q.       So were you just walking but hunched over?

18         A.       Yeah.   I was holding on to, like, the walls.           But

19     I couldn't, like, walk.

20         Q.       When after the fight was the first time that you

21     saw an official?

22         A.       You know, I was in my cell when all those people

23     came in.     But about 9:00, I see the officials closing all

24     the cells.     But I was already threatened with my life, so I

25     cannot say anything.


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                                       36
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 37 of 92
                                                                              37
                                       M. SANDOZ

1         Q.       Okay.     So that I don't       I'm going to ask the

 2     question again.

 3                         MS. BONILLAS:    Can you          it back?

4                          (Whereupon, the referred to question was

 5                 read back by the Reporter.}

 6        Q.       Only an official.

 7        A.       It's about 9:00 when everybody goes into the cell

 8     that everybody          to go in.    That's when I saw the

 9     official.

10        Q.       About what time was it when the fight ended?

11        A.       Maybe about a minute and-a             f or two minutes.

12     That's when the fight ended.

13        Q.       Let me          it this way.    Do you know what time it

14     was when you say            inmate attacked you?

15        A.       Maybe about 8:30.        It was about 8:30, around that

16     time.

17        Q.       When you walked back to your cell, did you see

18     any officials in the office?

19        A.       Yeah.     They were inside the         fice.   They were

20        ide the office.

21        Q.       How many were inside the           f     at that time?

22     Just answer the question that I asked.

23        A.       I was so out of it, and I could not see perfect

24     who it was in           i   but I went right          my cell.

25        Q.       So could you see whether or not there were any


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                                       37
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 38 of 92
                                                                              38
                                        M. SANDOZ

1      officials in the       fice?

 2           A.    I know they were there.           I didn't see how many

 3     officials were           , but they were          re.

4            Q.    How long after you went back to your cell did

 5     inmates come to threaten you?

 6           A.    Maybe f          minutes after.

 7           Q.    And you          d they walked       o your cell?

 8           A.    Yeah.     They got into my cell.          It was about four

 9     of them.

10           Q.    Are you          e to close the door to the cell on

11     your own?

12           A.    No.

13           Q.    So was           cell door wide open when they walked

14     by?

15           A.    It was open completely.           It was open completely.

16           Q.    If you know, when an offi                 is supposed to

17     close your cell          I    do you have to go to an official to

18     ask them to open it back up?

19           A.    Yes.

20           Q.    Why didn't you go to an off                 after the f

21     to ask them to           your cell door?

22           A.    I went       straight to my          l.     I didn't ask

23     anything.

24           Q.    But wasn't it supposed to             closed after you

25     left the cell?


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                                        38
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 39 of 92
                                                                            39
                                       M. SANDOZ

 1        A.        I just wanted to get away from that area where

 2     the incident happened.         So I   started to walk right through

 3     the hallways, and I noticed that my cell door was open, so

 4     I went 1n.

 5        Q.        After this incident, did you ever interact with

 6     the inmate you say attacked you?

 7        A.        No.

 8        Q.        The inmate who you say attacked you, what did he

 9     say when he threatened you in your cell?

10        A.        No, he didn't go into my cell.        You know what I

11     mean?     The other people did, came into my cell.

12        Q.        Who are the other inmates that came into your

13     cell?

14        A.        They are from the gang called Los Sangres, the

15     Bloods.

16        Q.        Was the attacker a Blood?

17        A.        Yes,   I believe one of the big guys from them.

18        Q.        Was the attacker, the person who hit you, a

19     Blood?

20        A.        Yes.   Correct.

21        Q.        How did you know that they were Bloods?

22        A.        I can see the way they say hello to each other.

23        Q.        What did the inmates who came into your cell say

24     to you when they threatened you?

25        A.        You know, they threatened that if I say


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                                       39
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 40 of 92
                                                                            40
                                       M. SANDOZ

 1     something, they were going to hurt me.

 2        Q.       Did they say anything else?

 3        A.       You know,    for me to keep it quiet.     But whatever

 4     I'm going to be, they're going to come after me.           I have to

 5     keep it quiet, not to say anything.

 6        Q.       Did you say anything back to them?

 7        A.       What am I going to say, you know?        They have a

 8     knife.     I've been threatened.

 9        Q.       Do you know about what time that was that they

10     came into your cell?

11        A.       Maybe about 8:40, 8:45, somewhere there.

12        Q.       Did they threaten you in English or in Spanish?

13        A.       There's one of them was a Latin guy that spoke

14     Spanish.

15        Q.       Did any of the inmates who threatened you in your

16     cell ever interact with you after this incident?

17        A.        I see one of them ln another prison.

18        Q.       Have you been in any other altercation with that

19     inmate or any of the ones who threatened you since this

20     incident?

21        A.       No.

22        Q.       Do you know where the other inmates went when

23     they left the living room after the fight?

24        A.        I don't know where they went.        I went to my cell.

25        Q.       Did you see any of the inmates from the living


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                                       40
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 41 of 92
                                                                            41
                                     M. SANDOZ

 1     room standing ln the hallway when you were walking back to

 2     your cell?

 3        A.        I saw one that was at the end of the hallway.

 4     That's when I made the decision to go into my cell.

 5        Q.        Is there any place in the housing area other than

 6     the inmate cells and the living room where inmates can

 7     congregate?

 8        A.        I don't understand.

 9        Q.        I'll rephrase it.

10                  Other than the hallway and the living room and

11     the cells, where else can the inmates go in the housing

12     area?

13        A.        The only other thing is the shower.      There's no

14     other places to go there.

15         Q.       So do you know how the other inmates who were

16     part of this fight or who were watching this fight got into

17     their cells, would they have had to ask officials to open

18     their cell doors for them?

19        A.        Sometimes the officials leave about five,      six

20     doors open.

21         Q.       Why do the officials let some of the cell doors

22     stay open?

23        A.        Sometimes some of the inmates come out, they

24     leave the door open, sometimes they just leave it open like

25     that.


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                                     41
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 42 of 92
                                                                            42
                                      M. SANDOZ

 1        Q.      Do you know why the doors are left open, though?

 2        A.      I don't know.       Maybe sometimes they leave the

 3     doors open, they don't close it.          And sometimes, like, they

 4     open the doors and they have other things that they have to

 5     do so they leave the doors open.

 6         Q.     Who has a lot of things they need to do,        the

 7     inmate or the official?

 8         A.     Sometimes the officials, you know, when the

 9     cellmate comes out, you know, they open up the door so they

10     don't continue to go back to ask them to close the cell.

11     They just leave it open like that.

12         Q.      Is that why your cell door was left open, because

13     you were just going to get water?

14         A.     Yeah.     I came out to get water, so I stick around

15     for a little while to watch a little bit of the movie; but

16     he never shut my door down.

17         Q.     Did any of the other inmates who were ln the

18     living room when the fight happened ask if you were okay?

19         A.     One of the inmates, like, practically walked me

20     to that door.      And the minute I got into my cell, he left.

21         Q.     What was the inmate's name?

22         A.     Emanuel Martinez.

23         Q.     Do you know if Mr. Martinez is still at AMKC?

24         A.     You know,    it's not a place that you can stay

25     there for a long time,     just temporary because you're


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                                      42
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 43 of 92
                                                                                    43
                                              M. SANDOZ

1      fighting your case.

2         Q.        What does Mr. Martinez look like?

3         A.        He's very tall, tall, a little chubby.

4         Q.        How tall, taller than you?

 5        A.        He's about 6'3n, something like that, somewhere

 6     near there.

 7        Q.        Hairstyle?

 8        A.        He's got long               r.

 9        Q.        How long?

10        A.        He does those little curls.

11        Q.        So          has curly hair?

12        A.        Very, very bad hair.

13         Q.       But,    l         , where do his curls fall?

14        A.        Those kind of hair,              it becomes an afro, that kind

15        hair.

16         Q.       Do you know his ethnicity?

17        A.        He's Latin.           From where is he from,      I don't know.

18         Q.       Does he have tattoos?

19        A.        I couldn't tell you whether he's got tattoos or

20     not.     I don't remember.

21         Q.       His skin color?

22         A.       He's very dark.

23         Q.       Is he black Latino?

24        A.        Yes.        No.     No.    He's not,        , black.   He's l

25     dark skin.        But, you know, he's Latin.


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                                              43
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 44 of 92
                                                                            44
                                     M. SANDOZ

 1         Q.     Did you ever see officials checking the living

 2     room or, like, standing in the living room other than the

 3     day of the incident?

 4        A.      Yeah.    That was earlier.      That was earlier.

 5         Q.     Earlier that day?

 6        A.      I notice there's an official that works in the

 7     morning.   He sits in the living room.        But at 2:00p.m.

 8     when the shift changes, I never saw that official do

 9     anything there.

10         Q.     You never saw the official who came ln the

11     afternoon do anything?

12         A.     It's the kind of official who brings stuff to the

13     inmates, those things like that.         He's a corrupt official.

14         Q.     Who's a corrupt official, the one who works the

15     evening shift?

16        A.      Yeah.    The one that works around that time.

17         Q.     Do the same officials work in the housing area,

18     is it the same officials who keep working in the housing

19     area that you resided in?

20        A.      I'm not talking about where I'm at right now.

21     Over there, yes.

22        Q.      Right.

23                Just at AMKC, at quad lower 11, was it the same

24     officials working in quad lower 11?

25        A.      The steady officials that work there.


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                                     44
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 45 of 92
                                                                            45
                                      M. SANDOZ

 1        Q.      When you were in quad 11 lower, what did the

 2     steady officials look like?         Go one-by-one.

 3        A.      One of them is a little dark skinned.        He's a

 4     little short.

 5         Q.     Was this officer working the night that the

 6     incident happened?

 7        A.      Yes.

 8         Q.     Did this officer normally work night shifts?

 9         A.     He works from 2:00 to 10:00.

10         Q.     What was his name?

11         A.      I don't know the name of him.

12         Q.     Do you know the shield?

13         A.     No,    I don't know the number of the shield.      I

14     know they call it by B, but I don't know the number of the

15     shield or the name or nothing like that.

16         Q.     Do they call him B, like B post?

17         A.     Just a B.     That's it.

18         Q.     Okay.    Do you know if that was related to his

19     post?

20         A.     All I know they call him B.        That's what I know.

21         Q.     What was his race if you know?

22         A.     Black.

23         Q.     Skin color?

24         A.     Dark, very dark.

25         Q.     Age?


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                                      45
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 46 of 92
                                                                            46
                                        M. SANDOZ

 1         A.       Maybe about 38, close to 40.

 2         Q.       Hairstyle?

 3         A.       His hair    lS   like, you know, combed this way, like

 4     that     (Indicating.)

 5         Q.        Is it short hair or long hair?

 6         A.        It was not long.        It was not short.   He combs his

 7     hair down.

 8         Q.       So forward toward his forehead?

 9         A.       Exactly.     Yes.

10         Q.       Do you know if the officer had any tattoos?

11         A.       He always wears a sweater, so something long.           So

12     I can never see any tattoos on him.

13         Q.       Do you know if he wears any jewelry, like a

14     wedding ring?

15         A.        I don't remember.

16         Q.       Do the officials ever go upstairs to other

17     floors, do you know?

18         A.       The gallery where I was at, you cannot see,

19     there's no stairs you can see when somebody is going up or

20     down.

21         Q.        From the hallway, can you see if an officer goes

22     upstairs?

23         A.       No.   There are two hallways.        The question is

24     there are two hallways?

25         Q.       No.


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                                        46
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 47 of 92
                                                                            47
                                     M. SANDOZ

 1                So are there inmates in holding cells upstairs

 2     above your floor?

 3        A.      No.    There's only a first floor.         It has a

 4     ceiling.   You can only see nothing there.           That's all.

 5         Q.     So the housing area itself, your housing area was

 6     only one floor?

 7         A.     Yes.    Only floor.     Yes.   Correct.

 8         Q.     Now, did there ever come a time when you reported

 9     to any correction officers that you were attacked?

10         A.      I had to go to the doctor because I couldn't

11     stand the pain anymore.       And when I saw the doctor, I told

12     the doctor what had happened to me.

13         Q.     When did you first get medical attention for the

14     pain that you say was caused by this fight?

15         A.     Maybe about two or three weeks later.           And I

16     explained to the doctor what had happened to me.

17         Q.     Let me just rephrase the question.           Let's back up

18     here.

19                What was the date that you first went to the

20     doctor for this pain?

21         A.     Maybe around April 12 or 10, around that time,

22     that's when I went.

23         Q.     Do you remember the exact date that you went 1n

24     April?

25         A.     I think it was on the 12th, somewhere around


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                                     47
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 48 of 92
                                                                            48
                                     M. SANDOZ

 1     there.

 2          Q.     When you went to the doctor, was that the first

 3     time you told anyone about this inmate attacking you?

 4          A.     That's when I told the doctor that I explained to

 5     him what happened.

 6          Q.     But was that the first time you told anyone about

 7     what happened to you?

 8          A.     Let me explain to you right.      What happened, they

 9     moved me from the house to another house.        That's when I

10     got the opportunity to tell the doctor what happened to me.

11     Because I was not afraid of my life anymore.         That's when I

12     got the chance to explain to the doctor.

13          Q.     What day did you switch houses?

14          A.     I believe it was the first week of April, April

15     6.

16          Q.     Why did you switch houses?

17          A.     Because the classification went down to medium.

18          Q.     Why did it go down from maximum to medium?

19          A.     Because of the good behavior.

20          Q.     How long after the fight did you switch houses?

21          A.     About two weeks later, they changed me.

22          Q.     When you went to the doctor, what injuries did

23     you have?

24          A.     The seventh rib was fractured.

25          Q.     Is that what you knew, or is that what a doctor


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                                     48
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 49 of 92
                                                                            49
                                        M. SANDOZ

 1     told you?

 2        A.        That's what the doctor told me after they did

 3     X-rays on me.

 4         Q.       What pain were you feeling before you came to the

 5     doctor?

 6        A.        It was a bad pain.       I couldn't even get out of

 7     bed.

 8         Q.       Where on your body were you feeling pain?

 9         A.       On my ribs and my chest because I couldn't even

10     breathe.     I have difficulty sleeping.

11         Q.       During this time period immediately after the

12     fight,    is that when you had trouble sleeping?

13         A.       Yeah.     I was in a lot of pain.     It was also

14     traumatic.

15         Q.       Okay.     That's not what I asked.

16                  I asked, right after this incident happened, were

17     you having trouble sleeping?

18         A.       After it happened?       After that happened?

19         Q.       Yes.

20         A.       Yeah.     I was in a lot of pain.     I couldn't sleep

21     because of the pain.

22                          MS. BONILLAS:    Let's take a quick break.

23                          (Whereupon, a short recess was taken.)

24         Q.       Did the doctor diagnose you with any other

25     injuries other than where you mentioned a rib fracture?


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                                        49
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 50 of 92
                                                                            50
                                     M. SANDOZ

 1        A.      No.

 2        Q.      What kind of treatment did you receive from the

3      doctor, if any?

4         A.      He gave me medication.

 5        Q.      Do you know what kind of medication?

 6        A.      That, I don't know.      I don't know.

 7        Q.      Do you know what the medication was for?

 8        A.      For the pain.

 9         Q.     How long were you told to take the medication?

10         A.     Couple weeks.

11         Q.     And did you take it for that amount of time?

12         A.     Yes, because it was needed.

13         Q.     How many times did you go to the doctor

14     specifically for this injury?

15         A.     Three times.

16         Q.     And when did your injury heal,       if ever?

17         A.     It took me months just for me to recover from it.

18         Q.     How many months?

19         A.     Maybe about six, seven months.

20         Q.     Since then, have you had any injuries to your

21     rib?

22         A.     No.

23         Q.     Before this incident, had you had any injuries to

24     your rib or ribs?

25         A.     No,   never.


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                                     50
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 51 of 92
                                                                            51
                                     M. SANDOZ

 1        Q.      Okay.   And did the pain eventually subside?

 2        A.      Yes, it subsided.       Yes.

 3        Q.      How long did it take for the pain to go away?

 4        A.      Maybe about six, seven months.       When I was

 5     sleeping, I was ln a lot of pain; so I couldn't sleep.

 6     That's why it took me a while.

 7        Q.      Are you able to sleep comfortably today now that

 8     the injury is healed?

 9        A.      Yes.    But when I sleep on this side right here

10     (Indicating), I have to get up because I wake up in pain.

11        Q.      What side of your body, the left side or the

12     right side, did you feel the pain?

13        A.      The left side.

14        Q.      Do you feel pain on the left side of your ribs

15     during any other time other than when you sleep on that

16     side?

17        A.      Only when I'm sleeping.        When I wake up when I

18     feel some pain, that's when I get up.         Only that happened.

19        Q.      Now, once you told the doctor about this

20     incident, did there come a time when you talked to any DOC

21     staff about the incident?

22        A.      When I was with the doctor, he called one of the

23     officials to come ln to there so he can sign the papers.

24        Q.      So who could sign what papers?

25        A.      An official was there when the doctor made the


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                                     51
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 52 of 92
                                                                            52
                                       M. SANDOZ

 1     report.

 2         Q.       What date was this when the official was there

 3     watching the doctor make the report?

 4        A.        April 14 of 2016.       The officials had to sign some

 5     papers from the doctor also.

 6         Q.       Did you ever write any statements about this

 7     incident for DOC staff?

 8         A.       Yes.     I had to do a grievance that -- it's called

 9     grievance.

10         Q.       Were you told by an official to write a

11     grievance?

12         A.       A person helped me to do the grievance.

13         Q.       Who helped you with the grievance?

14         A.       A friend of mine.

15         Q.       What is your friend's name?

16         A.       His name is Eduardo.

17         Q.       Do you know Eduardo's last name?

18         A.       The last name,     I don't know.

19         Q.       Can you describe what Eduardo looks like?

20         A.       He's Latin, bald, he has no hair, white.

21         Q.       Eye color?

22        A.        Brown.

23         Q.       When did Eduardo help you write this grievance?

24        A.        The day of 16th of April.

25         Q.       Of what year?


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                                       52
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 53 of 92
                                                                                53
                                           M. SANDOZ

 1        A.        2016.

 2        Q.        Do you have a copy of the              evance?

 3        A.        Yes,    I do have a copy.

 4        Q.        Can you provide me with a copy of the grievance?

 5        A.        I can                 to you via mail.

 6        Q.        Yes.

 7                  What did you write in your grievance?

 8        A.        You know,      I explained about the accident, that

 9     nobody offered me             security, no security at all.

10        Q.        Did you file the grievance?

11        A.        Yes.              I did it in one         those papers from

12     one of those notebooks, and I wrote it up, and I put it in

13     there.

14        Q.        Where did you put it in,           l   , what did you put

15     the grievance         ?

16        A.        At the library, there's a little mailbox in

17     there; so I put            right in there.             people never

18     called me.     They never did anything.                    never did

19     anything.

20        Q.        So are you saying that you never received a

21     response from the grievance that you                led?

22        A.        Never.       Never.     Never responded to me.

23        Q.        What language did you write the grievance in?

24        A.        In Engli       , because my friend helped me out to

25     write it in Engli


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                                           53
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 54 of 92
                                                                            54
                                      M. SANDOZ

 1        Q.       And this is Eduardo who helped you write it in

 2     English?

 3        A.       Yes.    Correct.

 4        Q.       Did you sign the grievance?

 5        A.       Yeah.    I signed and I put my name and everything

 6     with my signature.

 7        Q.       When you say Eduardo helped you write it, did you

 8     write the grievance with your own handwriting?

 9        A.       What happened is he gave me a piece of paper,

10     wrote it.    And what I did is I rewrote it with my own

11     handwriting on another piece of paper.

12         Q.      So did Eduardo tell you what to say?

13         A.      What I did,   I explained to him what had happened,

14     and he wrote it.

15         Q.      And after he wrote it in English, you copied it

16     with your own handwriting on a separate sheet of paper?

17         A.      Yes, correct.

18         Q.      Were you ever interviewed by DOC staff about this

19     incident in person?

20         A.      One of those sergeants came to speak with me.

21         Q.      Do you know the name of the sergeant that came to

22     speak to you?

23        A.       I don't know the name, no.

24         Q.      What did you tell the sergeant?

25        A.       I explained to the sergeant what happened in the


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                                      54
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 55 of 92
                                                                            55
                                        M. SANDOZ

 1     other      ace where I was living.

 2        Q.        What do you mean by what happened, did you tell

 3            sergeant that you were assaulted?

 4        A.        I   explained to him what had happened.      I

 5     explained to him what happened in the other house.            Because

 6        also came to me to talk to me about the report, so he

 7     asked me what happened to you.          So I explained to him what

 8     happened.

 9        Q.        But did you explain that you were assaulted, is

10     that what you mean when you say what happened?

11        A.        And I explained to them that I had broken my

12     ribs, that I was hit.

13        Q.        Did you       1 the sergeant in Spanish?

14        A.        He found another inmate so he can translate.

15        Q.        They didn't use another correction officer to do

16     the translation?

17        A.        No.

18        Q.        Who was the inmate that they used to do

19     translation?

20        A.        You know,    I don't remember.     He just had somebody

21     that speak English and Spani          , and      just called him

22     over.

23        Q.        Okay.     Did you ever tell the sergeant that there

24     were      ficials who weren't watching when the attack

25     happened?


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                                        55
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 56 of 92
                                                                            56
                                      M. SANDOZ

 1        A.      I did explain to him what happened.         I also

 2     explained to him there was no offic           s there watching me.

 3        Q.      What was the date that you gave the sergeant

 4     when this happened to you?

 5        A.      The same date that I had spoken to the doctor,

 6     the sergeant came in at 8:00 at night to talk to me.

 7        Q.      Okay.    When you talked to the sergeant, were you

 8     able to provide a date for when you            you were assaulted?

 9        A.      Yes.    Yes, I did tell him the date.

10         Q.     What date did you tell the sergeant that             s

11     happened to you?

12        A.      March 20, 2016.

13         Q.     So you're saying you told the sergeant           April

14     of 2016 that this happened to you             month before on March

15     20th, 2016?

16        A.      When I spoke to          sergeant, it was April 4,

17     2016.

18         Q.     That's not what I'm asking.

19                        (Whereupon, the referred to question was

20                        back by       Reporter.)

21                        MS. BONILLAS:    Let's just move forward.

22                Okay.

23        Q.      How long did you wait before first reporting

24     you were attacked?

25        A.      I waited for          time for a sick call on April


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                                      56
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 57 of 92
                                                                            57
                                      M. SANDOZ

 1     12th so I can speak to a doctor.          That's when I told him.

 2        Q.      Did you ever make any statements for DOC staff

 3     about what happened?

 4        A.      I couldn't tell anybody about this thing because

 5     I was threatened with my life, so I couldn't tell anybody.

 6        Q.      But once you were asked by officials about what

 7     happened, did you make any written statements explaining

 8     the attack?

 9        A.      Yes.     I did a grievance on April 16.      That's what

10     I'm explaining right now.

11         Q.     Other than a grievance, did you write anything

12     else that an official asked you to write?

13         A.     You know,    the sergeant came to me and took

14     pictures of me.      And he brought some paperwork, so that's

15     what I signed.

16                        MS. BONILLAS:    Can you read it back?

17                        (Whereupon,   the referred to answer was read

18                back by the Reporter.)

19         Q.     And when you signed the paperwork, did you also

20     make a statement on the papers that you signed?

21        A.      Yeah.     In the statement, I had to explain to him

22     what happened.

23         Q.     What did you explain in the statement?

24        A.      I explained to them that at house 11, I had a

25     problem there, and that's why they changed me to another


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                                      57
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 58 of 92
                                                                            58
                                       M. SANDOZ

 1     house.

 2         Q.     I thought you were changed to another house for

 3     good behavior?

 4         A.     Okay.     Maybe I'm explaining it to you wrong.

 5                        MS. BONILLAS:     We're going to take a really

 6                quick break.

 7                        (Whereupon, a short recess was taken.)

 8         Q.     Okay.     Mr. Sandoz, I'm looking at a document.

 9     It's Bates stamped DEF000024.         It's titled,   "Inmate

10     Voluntary Statement."        And it's dated April 15, 2016.     Do

11     you remember making a statement on that date?

12         A.     Yes.

13         Q.     Okay.     Now,    I'm going to read to you what it

14     says.    "A month ago while in Q11 lower light side, someone

15     hit me from behind causing injury to my ribs.           Being that I

16     was hit from behind,        I do not know who caused the injury."

17                Did you say that to anyone?

18         A.      I did explain to them what happened, but maybe

19     they wrote it wrong.

20         Q.     You explained to who what happened?

21         A.     When the sergeant called me, what happened, the

22     sergeant called another inmate.           Then I explained to the

23     inmate what had happened, and this is what he wrote there.

24     I don't know what he wrote there.

25         Q.     So are you saying another inmate wrote this


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                                       58
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 59 of 92
                                                                               59
                                        M. SANDOZ

 1     voluntary statement on your behalf?

 2         A.       Yes.    The inmate's the one that's writing             as I

 3     explained it to him.

 4     EXAMINATION BY

 5     MR . THADANI :

 6         Q.       Can you see this?

 7         A.       Yes, I can see it.

 8         Q.       Is this your handwriting?

 9         A.       That's not my writing.          I only wrote my name and

10     my signature, but that's not my writing.

11         Q.       So that's your signature at the bottom?

12         A.       Yes, correct.

13     FURTHER EXAMINATION BY

14     MS. BONILLAS:

15         Q.       Now, what is it that the inmate who wrote for you

16     didn't       lude on here?

17         A.       I explained to him that I was hit in the back and

18     I    ll on          floor and I was being kicked.       He didn't put

19     that in there.

20         Q.       Is that the           thing that's wrong with       s

21     statement?

22         A.       Yeah.     He also didn't put down that I saw

23     inmate when          was walking away.

24         Q.       But what's in here right now, is there anything

25     that isn't accurate?


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                                        59
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 60 of 92
                                                                                  60
                                         M. SANDOZ

 1          A.      That is true because I was hit.          That's what

 2     happened.     I was hit.        That's what happened.

 3          Q.     And do you know who the inmate was who helped

 4     translate this statement?

 5          A.      It was        sergeant that         led him.   I don't

 6     know nothing about him.

 7          Q.      Mr. Sandoz, I have another document that I'm

 8     looking at here.        It's Bates stamped DEF000025.       At the

 9     top, it's titled,       "Inmate Voluntary Statement."        It

10                         MR. THADANI:       Can you see the document?

11          A.      Yes.

12          Q.      Is that your handwriting?

13          A.      That is my signature, but it's not my writ

14          Q.      Now, the            on here is April 14, 2016.       Did the

15                 have you            statements on two different           ?

16          A.      Correct,      s.

17          Q.      Why did the sergeant have you come in and make

18     statements on two different days?

19          A.      He told me that if I had any problems in the

20     house       the past wi         anybody there.     I said no, it's not

21     the house that I had problems with.              It's the other house

22     that I had problems wi

23          Q.      Why do you think the sergeant had you make two

24     di           statements about what happened to you?

25          A.      I don't know why he did that.           I don't know.


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                                         60
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 61 of 92
                                                                                            61
                                               M. SANDOZ

 1         Q.     Okay.         Was it a different inmate who wrote this

 2     statement on April 14th, 2016?

 3         A.     Yes.

 4         Q.     Do you know who that other                                 was?

 5         A.     They             him Tony.          Tony.

 6         Q.     Can you                  cribe what Tony looks like?

 7         A.     He's very fat, white, with the hair backwards.

 8         Q.     His hair 1 does it have gel                          it?

 9         A.     Yeah.         He combs it like this.                  Like this.

10     (Indicating.}        He's got a lot of hair on his face,                      faci

11     hair.    (Indicat          .}
12                          MS. BONILLAS:            Let the record reflect that

13                 Pla          iff is making a motion as if pulling his

14                 hair back to the back of                   s head.          And Plaintiff

15                 is also making a motion showing -- touching

16                 I guess, jaw line area to show that the witness

17                 he's referring to has a beard or lots of facial

18                 hair.

19         Q.      Do you know Tony's age?

20         A.     He's about 35, somewhere near 35 years old.

21         Q.     How tall is Tony?

22         A.     He's                 1    maybe about 5' 6 11   •



23         Q.      I'm going to read to you what the document says.

24         A.     Okay.

25         Q.      11
                        I got     t from behind whi                   11 house over a


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                                                61
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 62 of 92
                                                                               62
                                        M. SANDOZ

 1     month ago.     Here,    I am doing fine and           no problems at

 2     all.     I do not need PC at          1, for it was an isolated

 3     incident that is past and done.             I am fine in GP."

 4                  Do you recall making that statement?

 5         A.       Yes,    I remember.      That happened in the old house.

 6     It's in the past.        After that, the security there put me in

 7     protected custody.

 8         Q.       Did you remain at AMKC?

 9         A.       They moved me out of that prison for security.

10         Q.       Where were you moved to?

11         A.       To Brooklyn House.

12         Q.       What day were you moved to Brooklyn House?

13         A.       I don't remember too much.          I don't remember

14     date.

15         Q.       Was it shortly after you made this statement on

16     April 14th, 2016?

17         A.       Yeah.     Maybe like a week after that.

18         Q.       How long were you at the Brooklyn House facility

19     for?

20         A.       They kept me there             about f    days       the

21     invest       ion, and they trans         rred me to OBCC

22     protected custody.

23         Q.              you ever hear about the results of

24     investigation that you're referring to?

25         A.       That's why they changed me to protected custody


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                                        62
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 63 of 92
                                                                                    63
                                               M. SANDOZ

 1                  they knew what happened.

 2           Q.       I want to turn back to                 inmates that were in

 3     the living room when the incident happened.                  You mentioned

 4     the name of one inmate named Emanuel.                  Do you know any

 5            r names of inmates who were there?

 6           A.       It's so hard because everybody has a nickname in

 7     j     1, but I know Emanuel, you know, is a friend of mine.

 8     His name is Emanuel Martinez.                 That's all I know.

 9           Q.      Okay.          What about the off       ials in the quad 11

10     housing unit?          You described one of them.           Can you         me

11     some more descript                 of the off          s who were working

12     the night that this happened?

13           A.       There's a woman also who's Dominican that

14     a 1        le bit of                   that works there at night.

15           Q.      What     l.S        tour?

16                            MS. BONILLAS:         Did he       she works there at

17                    night or at 9:00?

18                            (Whereupon, the referred to answer was read

19                    back by the Reporter.)

20           Q.      The Dominican woman, how tall is she?

21           A.      Maybe about 5'8", skinny.                  's a little bit

22     dark skinned.

23           Q.      Hairstyle?

24           A.      She wears                 braids.

25           Q.      Her age?


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                                               63
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 64 of 92
                                                                            64
                                    M. SANDOZ

 1        A.       Thirty years, somewhere there.

 2        Q.       Is there any other     fie      who works       quad 11

 3     lower that you can describe who works night shifts?

 4        A.       Night shift?   You know, I don't know which

 5     schedule we're talking about, the daytime or night.           There

 6     are two schedules.     You know, one is until 2:00.       And from

 7     2:00 p.m. to 10:00 p.m. is the other one.

 8                      MS. BONILLAS:    Let's take a break.

 9                       (Whereupon, a short recess was taken.)

10         Q.      Mr. Sandoz, do you know what the inmate who

11     attacked you hit you with?

12         A.       You know, I didn't see when he hit me from the

13     back.     All I remember, he was hitting me when I was on the

14     ground.

15         Q.      Did you ever tell any DOC staff that you were

16     afraid someone might attack you?

17        A.        I never told that to anybody.

18         Q.      And how do you know that the attack happened on

19     March 20th, 2016?

20        A.       Because I remember that date.      That day, I'm

21     never going to forget.

22         Q.      Mr. Sandoz, did you receive ln the mail a

23     document from Defendants titled,       "Defendants First Set of

24     Interrogatories and Requests for Production             Documents"?

25        A.        I've been receiving all these papers, but I don't


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                                    64
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 65 of 92
                                                                            65
                                      M. SANDOZ

 1     understand what they mean.          I don't understand English.

 2        Q.      Have you responded to any of them?

 3        A.      You know, I wrote one because           the legal

 4     library, somebody helped me.         Otherwise, by myself, I could

 5     never do it.

 6        Q.      Do you know which document you filled out at the

 7     law library?

 8        A.      I don't remember.        I don't remember.     I don't

 9     understand the papers.        I don't know.

10         Q.     Are you able to respond to the remaining

11     documents that you were sent?

12        A.      Because of the help that I've been getting with

13     the writing, that's how I did it.

14         Q.     And you're saying that the people who have helped

15     you with the writing are the people at the law library?

16        A.      Yes, exactly.

17         Q.     So for the remaining documents               you were

18     sent, can you respond to those and send those back to me?

19        A.      I've been sending back everything that I've been

20     sent to.

21     FURTHER EXAMINATION BY

22     MR. THADANI:

23         Q.     Do you see what I'm holding up here?

24        A.      Yes.

25        Q.      Do you see the title of            document?


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                                      65
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 66 of 92
                                                                            66
                                     M. SANDOZ

 1           A.     Yes.

 2           Q.     Do you remember receiving this?

 3           A.     I have received plenty of papers that look just

 4     like that.     I don't know what kind        papers are those.

 5     FURTHER EXAMINATION BY

 6     MS. BONILLAS:

 7           Q.     If I send this document to you again, can you get

 8     help and then respond to the document and mail it back to

 9     me?

10           A.     Yes.    It's fine.    No problem.   Sometimes I have

11     to wait for them to respond to me so I can go to the law

12     library.     It's not that I can just go there.       You know what

13     I mean?

14           Q.     Okay.   Now, have you talked to anyone about this

15     lawsuit that you filed?

16           A.     Yeah, with the person that helped me in the

17     library, explained to me here and there.

18           Q.     How did you decide to file a lawsuit?

19           A.     Because the person that helped me out explained

20     to me how it was.

21           Q.     Who is the person that helped you out?

22           A.     It was somebody at A.M. Kross, somebody that

23     helped me.

24           Q.     What was the name of the person who helped you?

25           A.     I don't remember the name of the person because


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                                     66
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 67 of 92
                                                                                         67
                                            M. SANDOZ

 1     he was somebody from the law library that helped me out.

 2     You know[ I explained to him what had happened.                     I don't

 3     know what he put on paper also.

 4        Q.        Did anyone         lp you write the complaint                you

 5     filed with the court about this lawsuit?

 6        A.        Yeah, a person helped me.

 7        Q.        Who wrote the complaint that you                led?

 8        A.        Somebody at 5.1              the library that helped me out

 9        there.

10        Q.        Is there a certain amount of money that you're

11     looking to get from filing this lawsuit?

12        A.        You know[         ght nOW    1    I don't have a specific.       I

13     just want to leave this open.

14        Q.        So if I asked you today[ would you be able to

15    provide a number for how much money you're looking

16        A.        A million[ a million.

17        Q.        Got it.

18                  Is there anything                se that you haven't already

19     talked about today that you think I should know?

20        A.        You knOW   1    I just want to know what's going to

21     happen to my mental                 th report[ what's going to happen

22     with that.

23        Q.        What do you mean by mental                  th report?

24        A.        I haven't received those reports[ you know/ my

25     medical reports.        For the situation that happened 1 I've


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                                            67
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 68 of 92
                                                                            68
                                     M. SANDOZ

 1    been taking medication because of that.

 2        Q.      Okay.   What kind of medication have you been

 3    taking?

4         A.      You know, because of the whole situation,          's

 5    been traumatic, so I've been taking some medication.           I

 6    don't know what it is.        I don't know the name of it.

 7        Q.      What does it treat?

 8        A.      It gets me a little nervous.       I cannot have

 9    people behind me because it gives me panic.

10        Q.      When did you begin taking this medication?

11        A.      Since December 13, 2016.

12        Q.      Where were you incarcerated when you began taking

13    this medication?

14        A.      Downstate, they did evaluation to mei and they

15    diagnosed me with something that I don't know what it is.

16        Q.      Prior to December 13, 2016, had you received any

17    medication for any kind of mental health?

18        A.      They gave me some medication.       Then they had to

19    do an evaluation.     Then they started giving me more

20    medication because I've been traumatized for what happened

21    to me.

22        Q.      When?

23        A.      December 13, 2016.

24        Q.      So I'm asking before December 13, 2016, were you

25    prescribed any medication for mental health reasons?


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                                     68
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 69 of 92
                                                                               69
                                         M. SANDOZ

 1        A.          They would give me one medication for the

 2     depression.

 3        Q.          When?

 4        A.          That was somewhere around August 2016.

 5        Q.          And before April of 2016, had you received any

 6     medication for         ther depression or anxiety or something



 8        A.          My whole life, I've been taking medication for

 9     anxiety.       And        after this thing happened to me, I've

10     been traumatized, and things have changed.

11         Q.         For the anxiety medication, when did you start

12     taking     ?

13        A.          Anxiety or the depression, which one           those

14     two?

15        Q.          Anxiety.    When in your li        did you first start

16     taking anxiety medication?

17        A.          The anxiety I've been taking since December 13,

18     2016.    And then the depress          , I started taking it after

19     that.

20        Q.          So you said previous          that your whole li

21     you've been taking anxiety medication.             When

22        A.          The depression I've been taking my whole li

23     The anxi         medication, I just started taking it.

24        Q.          When in your life did you start taking the

25     depression medication?


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                                         69
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 70 of 92
                                                                               70
                                         M. SANDOZ

 1        A.      Maybe about 15, 20 years ago.            Since I was a

 2     little boy.

 3        Q.      Do you know what hospital and where you were

 4     diagnosed with depression?

 5        A.      I was in Puerto Rico.

 6        Q.      When did you move to New York?

 7        A.      I was keep coming back and forth.            Since 2011, I

 8     haven't gone back to Puerto Rico.

 9        Q.      Did you get prescribed depression medication by

10     any doctor while you were in New York before you were

11     incarcerated?

12        A.      When I came here to New York, I never told

13     anybody.   After starting asking questions, that's when they

14     noticed that I was depressed.

15        Q.      Who started asking questions?

16        A.      The prison.        The psychologist and the

17     psychiatrist.

18        Q.      But while you were in Puerto Rico, had you been

19     taking antidepressants?

20        A.      Yeah.        They were giving it to me.

21        Q.      What    lS    the name of the antidepressants you were

22     taking?

23        A.      I don't know the name.             I don't know what the

24     name of those pills.

25        Q.      How long were you taking them once you received


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                                         70
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 71 of 92
                                                                            71
                                        M. SANDOZ

 1         prescription in Puerto Rico?

 2         A.       I don't understand.        How many times?

 3         Q.       How many years had you been taking that

 4     medication that you were prescribed in Puerto Rico?

 5         A.       I take it for about two months, and I don't like

 6     the side effects because it affects me.            So I take them

 7     like that.

 8     FURTHER EXAMINATION BY

 9     MR. THADANI :

10         Q.       Before you were incarcerated, did you ever take

11     antidepressant medication in New York?

12         A.       Not in New York, no.

13         Q.       Okay.

14         A.       Only in prison.        That's it.

15     FURTHER EXAMINATION BY

16     MS. BONILLAS:

17         Q.       Only in prison and in Puerto Rico?

18         A.       What are we talking about, New York?         Are we

19     talking about Puerto Rico?            What are we talking about      ?

20         Q.              only t   s that you were taking the

21     antidepressants were first in Puerto             co and then when you

22     were incarcerated?

23         A.       Yes.

24         Q.       Okay.

25                          MR. THADANI:     Okay.   We have no further


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                                        71
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 72 of 92
                                                                            72
                                     M. SANDOZ

 1                 questions at this time.       However, we are keeping

 2                 the deposition open pending the receipt of

 3                 several items, including our responses to our

 4                 interrogatories and requests for production of

 5                 documents, the receipt of the grievance that

 6                 Plaintiff purports to have filed, Plaintiff's

 7                 state medical records, and his mental health

 8                 records.

 9                       MS. BONILLAS:     Thank you, Mr. Sandoz.     This

10                 is the end of the deposition.

11                       (Whereupon, at 2:43P.M., the Examination of

12                 this witness was concluded.)

13

14                         0           0           0          0



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                                     72
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 73 of 92
                                                                            73
                                     M. SANDOZ

 1                            D E C L A R A T I 0 N

 2

 3                   I hereby certify that having been first duly

 4     sworn to testify to the truth, I gave the above testimony.

 5

 6                   I FURTHER CERTIFY that the foregoing transcript

 7     is a true and correct transcript of the testimony given by

 8     me at the time and place specified hereinbefore.

 9

10

11

12                                     MARTIN SANDOZ

13

14

15     Subscribed and sworn to before me

16     this         day of                       20

17

18

19               NOTARY PUBLIC

20

21

22

23

24

25


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                                    73
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 74 of 92
                                                                            74
                                     M. SANDOZ

 1                               E X H I B I T S

 2

 3     EXHIBITS

 4

 5     EXHIBIT       EXHIBIT                            PAGE

 6     NUMBER        DESCRIPTION

 7     (None)

 8

 9                               I N D E X

10

11     EXAMINATION BY                                   PAGE

12     MS. BONILLAS                                     4, 59, 66, 71

13     MR. THADANI                                      59, 65, 71

14

15               INFORMATION AND/OR DOCUMENTS REQUESTED

16     INFORMATION AND/OR DOCUMENTS                     PAGE

17     A copy of the grievance                          53

18     Our responses to our interrogatories and         72

19     requests for production of documents

20     Plaintiff's state medical records and his 72

21     mental health records

22

23                    QUESTIONS MARKED FOR RULINGS

24     PAGE      LINE QUESTION

25     (None)


      DIAMOND REPORTING        (877) 624-3287    info@diamondreporting.com
                                     74
     Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 75 of 92
                                                                            75
                                    M. SANDOZ

 1                        C E R T I F I C A T E

 2

 3     STATE OF NEW YORK
                                     ss. :
 4     COUNTY OF NEW YORK

 5

 6                   I, JENNIE SIOLIDIS, a Notary Public for and

 7     within the State of New York, do hereby certify:

 8                   That the witness whose examination is

 9     hereinbefore set forth was duly sworn and that such

10     examination is a true record of the testimony given by that

11     witness.

12                   I further certify that I am not related to any

13     of the parties to this action by blood or by marriage and

14     that I am in no way interested in the outcome of this

15     matter.

16                   IN WITNESS WHEREOF, I have hereunto set my hand

17     this 25th day of February 2019.

18

19
                                          9-..,.-J.--~0---
20
                                           JENNIE SIOLIDIS
21

22

23

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                                     75
           Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 76 of 92
                                                                                                                                      76
                                                            f\1.   SAN             Z

                                   75:17                               31:24,38:10,517,568,                10:10, 14:22. 16:7,20:21.
                  1
                                    28th [1]- 12:23                    65:10. 67:14                        21:6, 21:8, 21:22, 22:1'
  1 [1] 3:13                        2:00 [4] 44:7, 45:9, 64:6,          abonill@law.nyc.gov [1]            22:13, 22:15, 22:22. 23:10.
  10 [2]- 11:6, 47:21              64:7                                2:11                                23:11, 23:13. 23:16. 23:25.
  100 [1]- 2:8                      2:43[1] 72:11                       about [93] 4:24. 8:11,             24:2, 24:6. 2421,26:10.
  10007 [1]- 2:8                                                       8:14,8:17,9:5,9:16, 10:20,          28:12,28:20. 29:14, 32:8,
  10038[1] 1:19                                                                                            32:14.32:19,33:6,33:16,
                                                  3                    10:23,11:9,11:17,13:25,
  10:00 [2] 45:9, 64:7                                                 14:11,16:21,1624,17:1.              36:22. 36:23. 45:20, 47:4.
  11 [22] 11:6, 13:19, 13:20,       30[4] 3:12.17:1,22:2,              17:15, 18:20, 19:6.20:14,           53:9, 62:2, 63:8. 6413.
 1321.13:24,15:6,15:9,             22:4                                21:11,22:2,22:4.22:10,              6425
 16:9. 16:24, 17:8, 17:16,          35 [2] 61:20                       22:19,22:25,24:10,24:23.              allege[1J 13:1
 17:17, 17:22, 18:1,21:4,           38 [1]- 46:1                       24:25, 25:1' 25:4. 26:6, 27:8,        alleged 11:- 12:25
 44:23, 44:24, 45:1' 57:24.                                            27:18, 27:19, 29:25, 30:1'            almost      13:12
 61:25, 63:9, 64:2                                4                    31:4,31:12,3122,3124,                 along - 16:14, 16:22
  11:00 [1]- 20:14                                                     33:2, 34:19, 35:8. 35:9,              already [3] 29:17, 36:24,
                                    4 [2]- 56:16, 74:12
  11th [5]- 11:8, 14:2, 14:3,                                          35:13, 35:18, 36:8, 36:23,          6718
                                    40 [1] 46:1
 14:4. 14:8                                                            37:7,37:10,37:11,37:15,               ALS011J- 214
  12[5; 10:16.31:12.35:13.                                             38:8, 40:9, 40:11' 41 19,             also[15J 11:17.23:21.
 35:18, 47:21                                     5                    43:5,44:20,46:1,4715,               25:7, 25:25, 28:11' 28:16,
  12th [2]- 47:25, 57:1             5'6" [1]- 61:22                    48:3, 48:6, 48:21' 50 19,           49:13, 52:5. 55:6. 56:1'
  13 -68:11,68:16,68:23,            5'8 [1]- 63:21                     51:4,51:19,51:21,52:6,              5719,59:22,61:15,63:13,
 68:24, 69:17                       5.1 [1]- 67:8                      53:8, 54:18, 55:6, 57:3, 57:4,      67:3
  13th [1]- 1:19                    53[1]-74:17                        57:6, 60:6, 60:24, 61:20,             altercation [ 1; - 40:18
  14[3]- 26:6.52:4, 60:14           59[2]-7412, 74:13                  61:22, 62:20, 62:23. 63:9,            always [2] 9:19. 46 11
  14th [2]- 612, 62:16              5th [2]- 14:9. 15:20               63:21,64:5,66:14,67:5,                am [5]- 40:7, 621. 62:3.
  15 [4]- 26:6, 27:8, 58:10,                                           67:19,70:1,71:5,71:18,              75:12,75:14
 70:1
                                   1------6------1                     71:19
                                                                                                             AMKC [10]- 11:21, 13:3,
  150[1]-1:18                                                           above [2] 47:2, 73:4               13:5, 13:8, 13:12, 13:16,
  1611] 57:9                        6n 48:15                            accident[1] 53:8                   13:18,42:23,44:23,62:8
  16th [1] 52:24                    6'1"[1; 10:18                       accurate [11- 59:25                  amount [2] • 50:11, 67:10
  17-cv-5447(VSB 111- 1:5           6'3 [1]- 43:5                       accurately 121 - 5:8, 7:18           AND 121-3:4. 315
  18 - 14:6. 14:7                   65 [1] -74:13                       action :31 4:20, 28:20,              and-a-half[2J 30:1,37:11
  185 [1] 10:23                     66[1] 74:12                        75:13                                 AND/OR 121- 74:15, 74:16
  19-0180 [1]- 2:11                                                     address 121-4:12,4:13                ANDRADE 111 2:15
  1986[:; 10:16                                   7                     administer 11: 3:9                   Anna[2J-11:18, 11:21
                                                                        ADRIAr:;- 2:9                        another [14]- 21:10, 22:1,
                                    71 [2] 74:12, 74:13
                                                                        Adria[1J 4:18
                  2                 72[2]- 74:18,74:20                                                     24:11.25:5,40:17,48:9,
                                                                        affects [1]- 71:6                  54:11 55:14.55:15,57:25.
  20[7]-13:2.18:17,19:12.           7:00[1] 34:19
                                                                        afraid 121- 48:11, 64:16           58:2, 58:22, 58:25, 60:7
 20:4, 22:10, 56:12, 70:1                                               afrop] 43:14                         answer [5] 5:23, 33:11,
  200 - 10:20                                     8                     after [361- 3:12. 13:9,            37:22,57:17.63:18
  2001[1] 4:16                                                         18:22,20:20.20:22,21:1,
                                    8 [1]  1 :11                                                             answered [1]- 6:8
  2011     - 70 7                                                      30:7, 32:17, 32:22, 33:5,
                                    8:00 [1) 56:6                                                            answers [1]- 4:3
  2015[3] 11:25. 13:6,14 7                                             36:1, 36:3, 36:7, 36:20, 38:4.
                                    8:15 [2] - 25:4, 35:9                                                    antidepressant [1)- 71:11
  2016 [29;- 12:18, 12:23,                                             38:6. 38:20. 38:24. 39:5,
                                    8:30 [2] 37:15                                                           antidepressants [JJ
 13:2, 14:8. 15:22, 16:17.                                             40:4.40:16.40:23.48:20,
                                    8:40 [']- 40:11                                                        70:19. 70:21' 71:21
 18:17,1911 19:20,19:22,                                               49:2,49:11,49:16.49:18.
                                    8:45[1] 40:11                                                            anxiety      69 6. 69:9,
 20:4, 52:4, 53:1 56:12.                                               54:15, 62:6, 62:15, 62:17'          6911.69:13,69:15.69:16.
 56:14.56:15.56:17.58:10,                                              69:9, 69:18, 70 13
 60:14,61:2.62:16.64:19.                          9                     After [1]- 36:3
                                                                                                           69:17, 69:21. 69 23
                                                                                                             any[63J 5:11. 514,6:15,
 68:11' 68 16, 68:23, 68 24,        9:00 [5] - 19:6, 19:14,             afternoon 111 44:11                7:17, 7:20, 7:24, 8:3, 8:6,
 69:4, 69:5, 69 18                 36:23, 37:7, 63:17                   again 121- 37:2, 66:7              8:10, 9:1,9:8. 10:6, 10:11.
  2017-064115 [1]- 2:10             9:42[1)-1:12                        against[2] - 1:5, 12:4             10:24, 113, 12 5, 16:16,
  2019[2]-1:11, 75:17                                                   age [31 45:25, 61.19,              16:17, 16:20, 17:2, 17:7,
  20_[1] 73:16
                                                  A                    63:25                               17:22,26:8,26:19,26:23,
  20th      -19:11,56:15,                                               ages I''- 11 :5                    27:9. 28 12, 29:11' 3119,
 64:19                              a.m[2J 19:6,19:14
                                                                        ago [3]- 58:14, 62:1, 70:1         33:3, 37:18, 37:25, 40:15,
     24 [2] 8:3, 8:6                A.M [2]- 112, 66:22
                                                                        AGREED121 3:4,3:15                 40:18,40:19. 4025,41:5,
     24-hour 111- 7:25              ability [2]- 7:21, 7:25
                                                                        alcohol [1] 8:3                    42:17,46:10,46:12,46:13,
     25th [4] 11:25, 13:6. 14:7.    able [8]- 22:11, 30:6,
                                                                        all [43]       3:15, 6:12. 7:17,   4 7:9, 49:24, 50:3. 50:20,



DI            D REPORTING                    (877)            624-3287 info@diamondreporting.com
                                                                   7
         Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 77 of 92
                                                                                                                                 77
                                                        tVJ •


 50:23,51:15,51:20, 52:6,           at [75]- 1:18, 6:7, 7:7, 7:8,   35:3,35:15,35:17,35:19,           BONILLAS [18 - 2:9, 4 9,
 53:9, 57:2, 57:7, 60:19, 63:4,    7:12, 7:17, 8:16,8:19,8:21,      35:23,38:24,40:4, 67:14          4:15,30:22,33:10,37:3,
 64:2, 64:15,65:2, 68:16,          9:2, 9:6, 9:11' 10:6, 10:9,       beard [1J 61:17                 49:22, 56:21, 57 16. 58:5,
 68:17,68:25,69:5,70:10,           10:22,11:18,11:24,12:1,           because [42)- 7:4, 9:9,         59:14,61:12,63:16,648,
 75:12                             12:7, 12:18, 13:3, 13:5, 13:8,   15:4, 1512, 16:8, 17:10,         66:6, 71:16, 72:9, 74:12
  anybodyrs; 7:10,57:4,            13:12, 13:18, 15:3, 15:13,       18:6, 19:3, 20:7. 20:23,          booking [1] - 13:17
 57:5, 60:20, 64:17, 70:13         15:14,16:9.1711,19:13,           25:15,27:18,29:23, 30:4,          boss [1]- 18:15
  anymore :21- 47:11, 48:11        22:5,22:7,241,26:20,             31:21.3219,4212,4225,             both 111- 35:24
  anyone [10) 3:8, 6:25,           26:25,27:1,27:5,27:11,           4710.48:11,48:17.48:19.           bottom 111- 59:11
 8:14, 911' 32:25, 48:3, 48:6,     28:12,32:14.33:19,3525.          49 9, 49:21. 50:12,51:10,         boy 121 - 11 :6, 70:2
 58:17, 66:14, 67:4                37:21,41:3,42:23,44:7,           53 24, 55:5, 57:4, 60:1' 63:1'    braids [1J 63:24
  anything [19] 18:20, 28:8,       44:20. 44 23, 4618, 53:9,        63:6, 64 20. 65:3, 65:12,         BRAUN [1)- 1:7
 30:6, 31 :24, 31:25, 32:9,        53:16, 56:6, 57:24, 58:8,        66:19, 66:25, 68:1' 68:4,         Braun [1)- 4:20
 33:3, 36:25, 38:23, 40:2,         59:11' 60:8, 62:1' 62:2, 62:8,   68:9, 68:20, 71:6                 break [4]- 30 22. 49:22,
 40:5,40:6,44:9,44:11,             62:18.63:14,63:16,63:17,          becomesr11 43:14                58:6, 64:8
 53:18,5319,57:11,59:24,           65:6, 65:15, 66:22, 67:8,         bed 111- 49:7                    breath n - 30:7
 67:18                             72:1,72:11. 73:8                  been [271 4:4, 7:2, 7:3,         breathe 121 30:8, 49 10
  anytime [1]- 9:8                   attack [4] 55:24, 57:8,        10:24, 18:14,27:2,27:18.          bring [4)- 20:5, 20:9, 20 10
  April [17] -19:15, 19:18,        64:16,64:18                      32:24.408,40:18,64:25,            brings :11 44:12
 47:21,47:24, 48:14,52:4,            attacked [15]- 30:16,          65:12,65:19,68:1,68:2,            Broadway ~11- 1:19
 52:24,56:13,56:16,56:25,          31:14,31:20,31:25,32:10,         68:5, 68:20, 69:8, 69:10,         broke 121- 15:15, 15:16
 57:9,58:10,60:14,61:2,            32:11,32:24,33:3,34:18,          69:17. 69:21' 69:22, 70:18,       broken !11- 55:11
 62:16. 69:5                       37:14, 39:6, 39:8, 47:9,         71:3, 73:3
                                                                                                      Brooklyn [3]- 62:11, 62:12,
   are '4DJ- 3:16, 7:20, 8:9,      5624,6411                         before [32]- 1:19, 3:8, 3:10,   62:18
 8:19,8:21,11:1,11:9,12:16,          attackeq2; 39:16, 39:18        5:1,5:23, 7:8, 10 3, 10:7.
                                                                                                      brought (4]- 4:21, 4:25,
 14:11,17:15,19:14,21:10,            attacking !11- 48:3            13:12, 14:4, 15:5, 16:11,
                                                                                                     20:7, 57:14
 22:1,22:7,22:15,22:16,              attention [2]- 29:14,47:13     16:17, 17:11, 17:17,18:19,
                                                                                                      brown [1]- 52:22
 23:4,23:8,23:11,23:17,              attentive 111- 34:13           18:21. 22:6, 25:3, 27:7'
                                                                                                      building [1]- 24:1
 24:4, 24:7, 24:19, 24:24,           attorney 121- 8:9, 8:11        32:14, 3224, 34:18,49:4,
                                                                                                      buildings 121 23:25, 24:4
 30:25, 38:10, 39:14,42:1,           Attorneys 111 2:7              50:23, 56 14, 56 23, 68 24,
                                                                                                      burglary [7] 12:6, 12:8,
 46:23,46:24,51:7, 53:20,            August 111- 69:4               69:5,70:10.71:10,73:15
                                                                                                     12:17, 12:19, 19:1, 192,
 5825,64:6, 65:10,65:15,             authorized 111- 3:8             began [2]- 30:13, 68:12
                                                                                                     19 8
 66:4, 71:18, 72:1                   aware [1]- 7:20                 begin[3l- 5:1,11:24,68:10
                                                                                                      but[52;- 6:16,6:20,6:23,
  are there [6]- 21:23, 22:22,       away[11]-14:10, 16:7.           beginning ~11 22:5
                                                                                                     7:8,7:10,8:17, 14:24, 16:2,
 23:22,24:8,24:17,47:1             22:20,24:24,31:10,31:18,          begins 111- 21:25
                                                                                                     17:9, 17:14, 17:20, 17:25,
  area [231- 13:18, 14:5,          35:11,35:18,39:1,51:3,            behalf [11 59:1
                                                                                                     18:2, 18:4, 18:21. 19:17,
 16:13,16:20, 16:25, 17:3,         59:23                             behavior -48:19,58:3            23:7, 26:23, 26 25, 28:16,
 1711, 17:15, 17:18,21:3,                                            behind [4J- 58:15, 58:16,       31:19, 32:8, 3215, 34:6,
 22:3,24:14, 32:25,34:18,
                                                 B                  61:25,68:9                       34:20, 35:2, 35:24, 36:13,
 35:21,39:1,41:5,41:12,                                              being [31 ~ 29:4, 58:15,        36:17,36:18, 36:23, 36:24,
 44:17,44:19,47:5,61:16             B [6]- 45:14, 45:16, 45:17,
                                                                    59:18                            37:24, 38:3, 38:24, 40:3,
   around [~21- 19:15,24:1,        45:20, 74:1
                                                                     believe [4]- 14:2, 14:24,       42:15.43:13,4325,44 7,
 29:15.35:25,37:15,42:14,           back [34] 21:21. 22:8.          39:17.48:14                      45:14, 48:6, 51:9, 55:9, 57:6,
 44:16,47:21.47:25.69:4            25:14,29:18. 29:21, 30:6.
                                                                     best [3! ~ 5:15, 6:9, 36:12     58:18, 59:10. 59:24, 60:13.
   arrive [11 13:5                 33:10,33:12.3510,36:6,
                                                                     between 111- 3:4                63:7, 64:25, 70:18
  arrived [1]- 13:8                37:3, 37:5, 37:17, 38:4,
                                                                     big [I) 3917                     by:38] -1:16, 3:4,3:8,3:12,
  as [121- 3:9, 3:11, 3:16, 4:4,   38:18.40:6,41:1.42:10,
                                                                     birth [1]- 10:15                4:5, 6:25, 8 9, 9:3. 10:1'
 4:7,9:25, 18:10,31:6,36:12,       47:17,56:20,57:16,57:18.
                                                                     bit[SI- 9:13,21:14,42:15,       10:24, 25:5, 25:11' 26:16,
 59:2,61:13                        5917,61:14,63:2,63:19.
                                                                    63 14. 63 21                     30:21, 31:5, 32:25, 33:12.
  ask 1121- 4:23, 5:2, 5:11.       6413,65:18, 65:19,66:8,
                                                                     black [41- 32:3. 43:23,         34:19,3610,375,38:14.
 9:4, 37:1.37:13,38:18,            70:7, 70:8
                                                                    43:24,45 22                      45:2, 45:14, 47:14, 52:10,
 38:21,38:22,41:17,42:10,           background [1]- 10:14
                                                                     block[1l 26:17                  54:18, 55:2, 56:20, 57:6,
 42:18                              backwards r:: 61:7
                                                                     blocked[1] 27:13                57:18, 63:19, 65:4,67:23.
  asked reJ 8:16, 37 22,            bad 121 43:12, 49:6
                                                                     blocking [4)- 27:16, 27:21,     709, 73:7,75:10, 75:13
 49:15,49:16,55:7,57:6,             bald 111- 52:20
                                                                    27:23. 27:25                      BY [91- 2:9, 4:8, 59:4,
 57:12, 67:14                       Bates [21 58:9, 60:8
                                                                     Blood [2]- 39:16, 39:19         59:13, 65:21, 66:5, 71:8,
  asking [4)- 56:18, 68:24,         bathroom 111 30:23
                                                                     blood [1]- 75:13                71:15,74:11
 70:13, 70:15                       be[22J 3:7,3:11,6:4,17:4,
                                                                     BloodS[2J- 39:15,39:21           byep]-17:6
  assaulted [3]- 55:3, 55:9,       19:16.22:11,23:6,24:14,
                                                                     body 121- 49:8, 51:11
 56:8                              26:5, 33:8, 34 6, 34:8, 34:13,
                                                                     Bonillas(:J 4:19



DI           D REPORTING                     (877)         624 3287 info@diamondreporting.com
                                                                    7
           Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 78 of 92
                                                                                                                                        78
                                                                 fJI •            z

                   c                           37:24, 38:4, 38:7, 38:8,
                                               3810, 38:13, 38:17,38:21,
                                                                            complaining (1]- 25 2            cover [2'- 28:6, 28:17

                           ~7
                                                                             complaint [3)- 12:25, 67:4,     covering 111 29:23
l--C-[5-J---2:-1-.4-:-1.-7-3-:1-. ,::-5:-:-1-l 38:22, 38:25. 39:3. 39:9,   67:7                              crawled       36:5, 36:9,
   call [1Q] - 23:2, 23:11,             39:10. 39:11, 39:13, 39:23,          complete 111 20:12             36:10
  23:14,2316,32:19,45:14,               40:10.4016,40:24.41:2,               completely [3] - 5:23, 38:15    crawling 11:- 36:12
  45:16,45:20,56:25.61:5                41:4,41:18,4121,42:10,              concluded [1i- 72:12             crystal [1]- 24:16
   called [12]- 4:4, 7:13,              42:12, 42:20                         conditions [1] 7:21             curls [2]- 43:10. 43:13
  21:16,32:20,39:14,51:22.               cellmate[1J- 42:9                   confidants ["I- 8:20            curly [1] 43:11
  52:8,53:18,55:21,58:21,                cells[20J 21:7,21:8,               congregate 111 41:7              custody[9J 11:11, 12:19,
  58:22. 60:5                           21:10, 21:22, 22:1' 22:4,            consumed [2]- 8:3, 8:6         13:10, 15:4, 15:9. 18:9, 62:7,
   came 1221- 13:15, 20:15,             22·6, 22:7, 22:10,2212,              continue ill- 42:10            62:22, 62:25
  25:5,27:12,33:6, 33:9,                22:14,22:17.24:22,25:6,              continued [1] 25:16             Cynthia [1]- 4:20
  34:19,34:22,36:23,39:11,              36:24.41:6,41:11,41:17,              continuing n 28:15              CYNTHIA[1J 1:7
  39:12, 39:23, 40:10, 42:14,           47:1
                                                                             control [1]- 24:21
  44:10,49:4.54:20,54:21.                Center[2]-11:18, 11:22
  55:6, 56:6, 57:13, 70:12               certain r~:- 67:10
                                                                             Control 111 2:11                             D
                                                                             controls 111- 22:16
   camera :21- 34:4, 34:15               certification 111 3:6                                               D[6•-3:1,4:1,4:4, 73:1,
                                                                             conversation 111- 17:10
   camerasr3] 34:6,34:7.                 certify[J)-73:3,75:7,                                              74:9
                                                                             conversationS[2J 17:14,
  34:8                                  75:12                                                                 Dannemora 111 4:16
                                                                           18:3
   can [391 5:4, 5:8. 9:9,               CERTIFY 111- 73:6                                                   dark [71- 32:1, 43:22,
                                                                             conviction [1] 12:10
  10:21, 18:22,21:6,21:8,                chance[3J- 10:3, 16:2,                                             43:25, 45:3, 45:24, 63:22
                                                                             cook 111 23:21
  23:21.23:25,24:3,24:5.                48:12                                                                date[1SJ 10:15,13:1,
                                                                             copied 111- 54:15
  24:6, 24:9, 24:11, 24:13.              changed [5]- 48:21, 57:25,                                         19:18,47:19,47:23,52:2,
                                                                             copy[6J 3:10,3:13, 53:2,
  24:16,25:6,25:7,28:14,                58:2,62:25,69:10                                                    56:3, 56:5, 56:8, 56:9, 56:10,
                                                                           53:3,53:4,74:17
  30:14,31:17,34:11,35:16,               changeS[1J 44:8                                                    58:11' 60:14, 62:14, 64:20
                                                                             corner I'J - 30:21
  36:12,39:22,41:6,41:11,                chargep] 12:19                                                       DATE[1J 1:11
                                                                             CORPORATION 11:-2:6
  42:24,46:12,46:19,47:4,                charged 121- 12:8, 14:23                                             dated [11- 58:10
                                                                             correct[18]- 6:10,11:11,
  51:23,53:5,55:14,57:1,                 charges [4) 12:4, 12:5,                                             day [21]- 15:24, 18:20,
                                                                           11:19, 11:20, 13:4, 13:14,
  59:7.64:3,66:11,66:12                 19:2, 19:8                                                          18:23, 19:5, 19:12, 19:14,
                                                                           16:10, 18:18,27:14,27:15,
   can you [26] 6:17, 6:22,               checking [11- 44:1                                                20:1' 20:2, 20:4, 20:13,
                                                                           28:7, 39:20. 47:7, 54:3,
  9:1, 10:14, 10:17, 10:19,               chest[1J 49:9                                                     20:16, 20:17,20:21' 44:3,
                                                                           54:17, 59:12,60:16,73:7
  10:21. 1225, 18:19, 19:16,              children 111 11:3                                                 44:5,48:13,52:24,62:12,
                                                                             CORRECTION 111- 1:7
  21:3, 23:24, 26:5. 33:10,               chubby 111- 43 3                                                  64:20,73:16,75:17
                                                                             correction [21 47:9, 55:15
  36:9, 37:3, 46:21, 52:19.               Church [1]- 2:8                                                     days [4]- 3:12,60:15,
                                                                             Correctional [3]- 4:16, 7:7,
  53:4, 57:16, 59:6, 60:10,               City 111-4:19                                                     60:18, 62:20
                                                                           8:21
  61:6,63:10,65:18,66:7                   CITY121 1:7,2:7                                                    daytime 111 64 5
                                                                             Corrections [31 - 11 :15,
   can't[1J - 28 20                       Civii[1J - 1:17                                                     December[6J 10:16,
                                                                           17:7, 17:12
   cannot [81- 7:17, 17:5,                classification [11 48:17                                          68:11' 68:16, 68:23, 68:24,
                                                                             Corrections' 111- 11:10
  26:17, 27:23, 28:3, 3 6:25 ·            clearly [11- 5:7                                                  69:17
                                                                             corrupt 121- 4413, 44:14
  46:18,68:8                             Clinton [5]- 4:13. 4:15,                                            decide [2J -15:3,66:18
                                                                             could [13]- 7:21, 7:25,
   cards 111-23:19                      4:16. 7:7, 8:21                                                       decision 111- 41:4
                                                                           28:3,31:15,31:19,31:25,
     Carlosp; 7:6                        close[12]-17:4, 18:7,                                                DEF000024 111 - 58:9
                                                                           32:2, 32:4, 34:23, 37:23,
     CARTER111 2:6                      22:16.30:21,33:17,33:24,                                              DEF000025 [1J- 60 8
                                                                           37:25, 51:24, 65:4
     case [31 - 6:5. 9:22. 43:1         34 3, 38:1 o, 38:17, 42:3,                                            Defendant[1J 4:19
                                                                             couldn't [14]- 30:5, 30:8,
     Case       1:5                     42:1 o, 46:1                                                          DEFENDANTS [1] - 1:8
                                                                           36:4,36:11,36:19,43:19,
     cases [31- 12:20, 19:1 ·            closed 121- 33:15. 38:24                                             Defendants [7] 1:16, 2:7,
                                                                           47:10, 49:6. 49:9, 49:20,
  19:4                                   closing[1J- 36:23                                                  9:21, 10:1, 10:7,64:23
                                                                           51:5, 574, 57:5
   caused [3j- 30 9, 47:14,              color - 43:21, 45:23.                                                Department [2] 11:10.
                                                                             COUNSEL 111- 2:6
  58:16                                 52:21                                                               11:14
   causing 111-58:15                                                         counsel 121 3:5, 3:13
                                         combed [1J- 46:3                                                     DEPARTMENT[2J- 1:7, 2 7
   ceiling      4 7:4                                                        COUNTY 11; 75:4
                                         combs 121- 46:6, 61:9                                               deposition [15]- 3:6, 3:7,
   cell [64J- 10:13, 20:21.                                                  couple 11"- 50:10
                                         come [8] 23:3, 38:5, 40:4.                                         3:11,4:23,5:1,5:2,5:8,6:1,
  20:22,2023,21:1,22:9,                                                      COURT[1j-1:1
                                        41:23,478,51:20,51:23,                                              6:7, 7:15, 10:4, 10:7, 11:13,
  25:4, 25:5, 25:7, 27:4, 33 5,                                              court 119]- 5:4, 5:7, 9:20,
                                        60:17                                                               72:2, 72:10
  33:6, 33 8, 33 9, 33:13.                                                 18:23, 18:25, 19:3, 19:5,
                                         comes [5]- 33:19, 34:1,                                             DEPOSITION !'l- 1:15
  33:15.33:17,33:19,33:20,                                                 19:7, 19:10, 19:12, 19:13,
                                        34:2, 34:5, 42:9                                                     depressed [1]- 70:14
  33:24.33:25,34 5. 34:12.                                                 1917, 19:19, 1920, 19:22,
                                         comfortably [1] 51:7                                                depression [SJ- 69:2, 69:6.
  34:14, 34:15, 34:20, 34:22,                                              19:24, 19:25, 20:2, 67:5
                                         coming [11 - 70:7                                                  69:13, 69:18, 69:22, 69:25.
  35:1' 35:6. 35:9, 36:5, 36:7'                                             Court [1] - 3:10
                                         Commissioner [1] - 4:20                                            70:4, 70:9
  36:9, 36:22. 37:7, 37:17,                                                 courtroom [11- 6:5
                                         COMMISSIONER 111- 1:7                                               describe [51 21:3, 36:10,



DI             D          PORTING                   (877)           624-3287 1nfo@d1amondrepo                                     1ng.com
                                                                           8
         Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 79 of 92
                                                                                                                                 79
                                                        M.              DOZ

 52:19,61:6,64:3                   52:8,52:12,53:3, 55:15,          45:13, 45:14.46:15,50:6,          evaluation [21- 68:14,
  described [1]- 63:10             55:18, 58:16, 62 2, 65:5,        52:18, 54:23, 55:20, 58:24,      68:19
  DESCRIPTION 111 74:6             68:19,757                        60:5,60:25,62:13, 64:4,           even [7: 30:8, 34:21. 36:4,
  descriptions 111 63:11            do they 131- 9:6, 33:25,        64:25, 65:1' 65:8, 65:9. 66:4,   36:11, 49:6, 49:9
  designated [1]- 18:10            45:16                            66:25, 67:2. 67:12, 68 6,         evening [1] 44:15
  diagnose [1] - 49:24              do you [71] - 5:5, 5:8, 5:25,   68:15, 70:23, 71:2, 71:5          eventually 111- 51:1
  diagnosed 121- 68:15, 70:4       6:3,6:10,6:15,7:14, 10:11,        done [1] 62:3                    ever[24J- 6:19,8:11.8:14,
  Diamond 111- 1:18                11:3, 13:20, 14:14, 15:14,        door [28] 21:13, 21:24,         16:16, 18:9. 18:12. 19:22,
  did [36]- 10:2. 12:10,           18:23, 20:3, 20:13, 20:18,       31:3,31:6,31:8,31:11.            23:1' 32:17, 32 24, 35:21'
 12:15. 14:18,16:3.17:22,          20:20, 23:14, 26:19, 26:23,      31:12,31:15,31:17,31:20,         39:5,40:16,441.46:16,
 20:20, 23:1' 26 8, 30:20,         2716, 27:25, 28:5. 28:19,        31:21,33:8,33:13,33:15,          47:8, 50:16, 52:6, 5418,
 33 3, 34:22, 38:4, 39:11'         29:3, 29:11' 29:16, 29:25,       33:22, 34:2, 34:15, 38:10,       55:23, 57:2, 62:23, 64:15.
 40:15,42:17.45 8, 47:8,           30:9, 32:7, 32:10, 34:4, 34:8.   38:13, 38:17' 38:21' 39:3,       71:10
 49:2, 49:24, 51 1' 51:20,         3411,35:14,35:16,37:13,          41:24, 42:9, 42:12. 42:16,        every [2] - 19:9, 19:17
 53:18, 54:10, 5412, 54:13,        38 17, 40:9, 40:22, 41 :15,      42:20                             everybody[5J- 16:14,
 56:1.56:9, 57:9,58:18,            42:1' 42:23, 43:16, 45:12,        doors [10] 24:22, 30:25,        25:20, 37:7, 37 8. 63:6
 6014,60:17,60:25,67:4,            45:18,46:10,46:13,46:17,         33:17,41:18,41:20,41:21.          everyone[1] 20:11
 68:14                             47:23,50:5,50:7, 51:14,          42:1' 42:3, 42:4, 42:5            everything !Jl- 16:14,
  didhe['! 6316                    52:17,53:2,54:21,55:2,            down[12J- 16:1,21:18,           54:5, 65:19
  did it [5]- 36:6, 48:18, 51:3,   58:10,60:3,60:23,61:4,           25:15, 25:22, 29:22, 34:14,       exact 111 47:23
 5311,65:13                        61:19,62:4,63:4, 64:10,          42:16, 46:7,46:20,48:17,          exactly [31 - 20:15, 46:9,
  did they [3]- 2612, 40:2,        65:6, 65:23, 65:25, 66:2,        48:18, 59:22                     65:16
 40:12                             67:23,70:3                        downstate 111- 68:14             Examination [1] 72:11
  did you [68]- 9:25, 10:3,          DOC [131 11:14, 11:24,          draw [1]- 20:24                  EXAMINATION [8] 4:8,
 10 6, 10:9, 12:4, 12:12,          12:19, 15:3, 16:8. 18:9,          drawing [2] - 20:25, 25:4       59:4, 59:13, 65:21 66:5,
 14:20, 15:1, 15:11, 16:5,         18:13,22:11,51:20, 52:7,          drugs[']- 8:6                   71:8, 7115.74:11
 1620,16:22, 17:2,17:7,            54:18,57:2,64:15                  duly [3]- 4:5, 73:3. 75:9        examination (2]- 75:8,
 17:18, 1823, 19:2, 19:5,            doctor[24J- 47:10,47:11,        during[6J 6:1,6:7,28:8,         75:10
 1920, 19:22,20:16,20:22,          47:12, 47:16, 47:20, 48:2,       28:12,49:11,51:15                 examined [11- 4:6
 273,27:9,28:12,30:17,             48:4, 48:10, 48:12, 48:22,
                                                                                                      example [1] 29:7
                                   48:25, 49:2, 49:5, 49:24,
 3213, 32:17, 34:25,35:5.
                                   50:3,50:13,51:19,51:22,
                                                                                  E                   except[•] 316
 37:17,39:5.406,40:25,                                                                                EXHIBIT        74:5
 44:1.48:13,48:16,48:20.           51:25, 52:3, 52:5, 56:5, 57:1'    E (10]- 2:1, 3:1, 4:1, 73:1,
                                                                                                      EXHIBITS 111- 74:3
 4822.50:2.50:11,50:13,            70:10                            74:1, 74:9, 75:1
                                                                                                      explain ['Dl- 9:11, 9:13,
 5112.52:6.53:10.53:14,              document [9]- 58:8, 60:7,       each [3] 21:23, 23:10,
                                                                                                     9:14, 48:8, 48:12, 55 9, 56:1'
 53:23, 54:4. 54:7, 55:2, 55:9,    60:10, 61:23, 64 23, 65:6,       39:22
                                                                                                     57:21' 57:23, 58:18
 55:13, 55:23, 56:10, 56:23,       65:25, 66:7, 66 8                 earlier [6]- 17:25, 18:5,
                                                                                                      explained [19] 9:15,
 57:2, 57:7, 57:11' 57:19,          documents[1C]-7:1, 10:1,        27:12,44:4,44:5
                                                                                                     47:16. 48:4, 53:8, 54:13,
 58:17,62:8,62:23,64:15,           10:6, 10:9, 10:10, 10:11,         Eduardo (6]- 52:16, 52:19,
                                                                                                     54:25, 55:4, 55:5, 55 7,
 64:22,69:15,69:24,70:9,           65:11,65:17, 72:5,74:19          52:23, 54:1' 54:7, 54:12
                                                                                                     55:11' 56:2, 57:24, 58:20.
 71:10                               Documents [1] 64:24             Eduardo's [1]- 52:17
                                                                                                     58:22,593,59:17,66:17,
  didn't [23]- 14:21, 16:2.          DOCUMENTS 121- 74:15,           education (1]- 11:7
                                                                                                     66:19,672
 17:25, 18:4, 18:5, 18:6, 18:7,    74:16                             effect 121 3:9, 3:11
                                                                                                      explaining        57:7.
 19:12,20:2, 32:9, 34:7,            does [3J - 9:11. 43:2, 43:10     effects 111 - 71 :6
                                                                                                     57:10. 58:4
 34:20, 35:2, 38:2, 38:20,           does he 121- 7:7, 43:18         eight •11- 31:5
                                                                                                      eye 111 52:21
 38 22, 39:10, 5515,59:16,           does it [2]- 61:8, 68:7         either [1] - 69:6
 59:18, 59:22, 64:12                doing [2]- 25:2. 62:1            else [71- 8:14, 32:9. 40:2.
   different [5]- 23:12, 60 15,      Dominican[2J 63:13,            41:11,57:12,67:18,69:7                          F
 60:18,6024,611                    63:20                             Emanuel [4)- 42:22, 63 4.        Fi2l 3:1.75:1
  difficulty [1]- 49:10             dominos [1]- 23:19              63:7,63:8                         face (51- 24:3, 24:5, 29:23,
   dinner [5] 20:16, 20:18,          don't [741 5:14, 6:20, 6:23,    end [4]- 14:9, 30:9,41:3,       29:24,61:10
 20:20, 20:22, 21:1                7:4, 7:10, 8:10,9:3, 9:5,        72:10                             facial[zJ-61:10,61:17
  distance 121- 21 20. 35:13       9:10, 9:13, 9:23, 12:5, 12:14,    ended[3J 36:7,37:10,             facility[4J- 12:1. 12:22,
  DISTRICT121- 1:1, 1:1            14:24, 17:10, 1714, 18:14,       37:12                            24:20, 6218
  District [1]- 4:21               18:21' 19:23, 19:25, 20:6,        English [16J 4:2, 4:3, 6:15,     Facility[JJ- 4:16, 7:7, 8 22
  divorced [1; 11 :2               20:10,20:14,20:19,21:20,         6:17,6:19, 7:3,9:10, 17:10,       facing [6J- 21:10, 21:22.
  do [26]- 5:3, 5:11. 6:9,         23:7, 29:5, 29:19, 29:24,        32:20,40:12, 53:24, 53:25,       22:1,29:21,29:22,31:15
 9:17. 16:2,24:3, 30:6,33:7.       32:11,32:12,32:13,37:1,          54:2, 54:15, 55:21, 65:1          fall [1] 43:13
 41:21' 42:5, 42:6, 43:13,         40:24, 41:8, 42:2, 42:3,          ESQ [3J- 2:6, 2:9, 2:10          far[3)- 21:18,22:9,31:10
 44:8,44:11,44:17,46:16,           42:10,43:17,43:20,45:11,          ethnicity 111 43:16              fat 111 61:7



DIAMOND                PORTIKG               (877)         624-3287 info@diamondreporting.com
                                                                    9
        Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 80 of 92
                                                                                                                                 80
                                                        M.              DOZ

  February[s]-1:11, 14:2.          19:7,20:11,20:12,22:11,           get       -9:8.9:19,13:11,       guards [3] 28:3, 28:14,
 14:3, 14:4, 14:8, 14:9, 15:20,    29:6, 3410, 35:20, 36:6,         14:12, 14:16, 16:2, 16:22,       35:24
 75:17                             40:3,41:18, 42:15,42:25,         17:2. 18:7,23:11,25:6. 25:7,      guess [1] 61:16
  Federal f1J - 1 17               47:13, 47:20, 50:7. 50:8,        29:24, 30:5. 31:8, 33:14,         gun [1] 32:20
  feei[3J- 51:12, 51:14.           50:11,50:14.50:17,51:3,          3520,36:6,39:1,42:13,             guy 111- 40:13
 51:18                             52:7, 56:3, 56:8, 56:25, 57:2.   42:14,47:13,49:6.51:10,           guys 121 - 33:6, 39:17
  feeling 121- 49:4, 49:8          58:2, 59:15, 62:2, 62:9,         51:18,66:7.67:11, 70:9
                                   62 19, 62:20, 62:21' 64:24.
  feet [10J 22:19. 24:24,                                            gets :11 68:8                                 H
 24:25,31:5,31:12,31:18,           65:17,66:11,67:15,67:25,          getting f4J- 27:6.28:15,
 3511,35:13,35:18,36:14            68:17, 68:20, 68:25, 691'        31:17,65:12                       H [1]- 74:1
  fell !31 - 25:15. 28:9, 59:18    69:6, 69:8, 69:11' 71 5, 72:4.    girl [1] - 11 6                  had [46] 9:23, 14:17,
  fei1[1J- 25:13                   74:19, 75:6                       give [8]- 5:1, 5:2, 8:17,9:1,   14:21, 15:13, 16:16, 18:3,
  few [5] 6:20, 6:23, 6:24,         force 111- 3:11                 9:6, 16:3,63:10,69:1             19:3, 19:18.20:13,20:18,
                                    foregoing 111 73:6               given [4] 1512, 15:23,          21:1.32:7, 32:11,32:24,
 25:24, 31:18
                                    forehead 111 46:8               73:7, 75:10                      35:21,41:17,46:10,47:10,
  fight[27]- 15:15, 15:16,
                                    forget [1] 64:21                  gives       4:24, 68:9         47:12,47:16,49:12,50:20,
 15:19, 15:25, 16:16,28:6,
                                    form[1] 3:16                                                     50:23, 52:4, 52:8, 54:13,
 288,28:12,29:25,30:2,                                               giving [3J- 26:21, 68:19,
                                    forth [2) 70:7, 75:9                                             55:4, 55:11' 55:20, 56:5,
 30:6, 30:9, 30:20, 36:2, 36:3,                                     70:20
                                    forward 121 - 46:8, 56:21                                        57:21, 57:24,58:23, 60:19,
 367, 36:20, 37:10, 37:12,                                           go [32J - 8:23, 9:4, 9:9,
                                    found [5]- 14:19, 15:13,                                         60:21' 60:22, 60:23, 67:2,
 38:20,40:23,41:16,42:18,                                           12:15, 15:1, 19:5, 1912,
                                                                                                     68:16,68:18,69:5,70:18,
 47:14, 48:20, 49:12               16:8, 32:23, 55:14               19:18, 19:20, 19:22, 20:2,
                                                                                                     71:3
  fighting [1]- 43:1                four 121- 33:9, 38:8            20:6, 25:7, 34:23, 35:6, 37:8,
                                                                                                      hair [16] 43:8, 43:11,
  figure 111-31:10                  fracture 111 49:25              38:17,38:20,39:10.41:4.
                                                                                                     43:12, 43:14,43:15, 46:3,
  File 111- 2:10                    fractured (1}- 48:24            41:11,41:14.42:10.45:2.
                                                                                                     46:5, 46:7, 52:20, 61:7, 61:8,
  file [3]- 9:18, 53:10, 66:18      friend [5] 7:2, 7:5, 52:14,     4616,47:10,48:18,50:13,
                                                                                                     61:10,61:11,61:14,61:18
  filed ;s) 53:21, 66:15,          53:24, 63:7                      51:3.66:11,66:12
                                                                                                      hairs 11:- 32:5
 67:5, 67 7, 72:6                   friend's 111- 52:15              goes[4J 6:5,21:6,37:7.
                                                                    46:21                             hairstyle [4]- 32:4, 43:7,
  filing 121 3 6. 67:11             friends 121- 17:18, 17:20
                                                                                                     46:2, 63:23
  fill [1] 9:17                     from [411- 4:2, 4:3, 9:20,        going [281- 5:1, 5:18,
                                                                    12:24, 161, 18:7, 18:25,          half[2l 30:1, 37:11
   filled 121- 9:9, 65:6           10:7, 14:2, 14:7, 14:10,21:8,
                                                                    193, 19:7, 19:10. 19:17,          hall [5] 20:6, 20:10, 21:6,
   find 121- 14:18,23:10           22:9, 22:20, 23:12, 24:14,
                                                                    26:17, 28:3,28:4. 29:15,         21:9, 22:6
   fine[6J- 7:19,7:23, 16:14,      25:14, 28:1' 28:6, 31:11'
                                                                    36:15,37:1,40:1,40:4,40:7,        hallway [8J- 21:8, 21:18,
 62:1, 62:3, 66:10                 31:12,35:11,39:1.39:14,
                                                                    42:13.4619, 58:5, 58:13,         21:22,21:25,41:1,41:3,
  finish 111 5:22                  39:17,40:25,43:17,45:9,
                                                                    61:23,64:21,6720,6721            41:10,46:21
  First 111 64:23                  46:21' 48:9, 48:18, 50:2,
                                   50:17,52:5,53:11,53:21,           gone 111 70:8                    hallways [4]- 21:23, 39:3,
  first [18]- 4:5, 6:12, 12:2,
                                   58:15,58:16,61:25,64:6,            good [4J- 4:18. 17:6,          46:23, 46:24
 12:7, 13:5, 13:15,30:13,
                                   64:12, 64:23, 67:1' 6711         48:19, 58:3                       hand[1J 75:16
 36:20, 47:3,47:13,47:19,
                                    front[5J 22:6,22:7,22:13,         good-bye [1] 17:6               handed [1] 16:6
 48:2, 48:6, 48:14, 56:23,
                                   22:15, 22:18                       got[2CJ- 14:3, 16:14,25:7,      hands :11 32:8
 69:15, 71:21' 73:3
                                    fully[1J- 7:18                  25:21' 27:4, 27:22, 32:8,         handwriting [5]- 54:8,
   five[?] 24:10,27:18,
                                    further 121 - 71:25, 75:12      33:5. 34:20, 35 9, 38:8,         54:11,54:16,59:8,60:12
 27:19,31:22,38:6,41:19,
                                    FURTHER[?] 3:15,59:13,          41:16,4220,43:8,43:19.            happen [4J- 27:19, 30:20,
 62:20
                                   65:21' 66:5, 71:8, 71:15,        4810.48:12,61:10,61:25,          67:21
   Five 111- 7:13
                                   73:6                             67:17                             happened [72] 13:9,
   Floor[1]-1:19
                                                                     gotten 111- 16:16               13:13, 15:13, 15:14, 15:24.
   floor :10] 2517. 30:4,
                                                                     GP[l-623                        18:19, 18:21, 18:22,20:1.
 31:11,33:4,47:2, 47:3,47:6,                     G                                                   25:20, 26:2. 26:10, 26:15.
 47:7, 59:18                                                         grabbed         16:7
                                    gallery[15J- 20:5,23:7,                                          26:22, 26:24, 28:2. 28:9,
  floors 11l 46:17                                                   grade111- 11:8
                                   23:8,23:10, 23:11, 23:15.                                         28:10, 28:24, 29:19, 32:14,
   flush [1]- 161                                                     grievance [19)- 52:8. 52:9,
                                   2316,27:1, 34:21.35:3,                                            32:18, 32:22, 33:14, 34 15,
  following [1] - 4:2                                               52:11. 52:12, 52:13. 52:23,
                                   35:12,35:15,35:17, 35:24,                                         36:3, 39:2, 42:18, 45:6,
  follows 111 4:7                                                   53:2, 53:4. 53:7, 53:10,
                                   46:18                                                             47:12,47:16,48:5,48:7,
  food [6]- 20:5. 20:7, 20:9,                                       53:15, 53:21' 53:23. 54:4,
                                    gang [4]- 18:10, 18:13,                                          48:8,48:10,49:16,49:18,
 20:11,20:15,20:17                                                  54 8. 57:9, 57:11' 72:5.
                                   18:14, 39:14                     74:17                            51:18,54:9,54:13,54:25,
  FOR [11- 74:23
                                    gave [7]- 14:24, 20:17,                                          55:2, 55:4. 55:5, 55:7, 55:8,
  for [721 2:7, 3:5, 3:13,                                           ground [5J 25:15,27:19,
                                   50:4, 54:9, 56:3, 68:18, 73:4                                     55:10,55:25,56:1,56:4,
 4:10, 4:23, 5:2. 5:22, 9:17,                                       2810, 30 2. 64:14
                                    gel 111- 61:8                                                    56:11' 56:14, 57:3. 57:7,
 12:6, 12:17, 12:19, 13:12,                                          guard [31- 25:6. 34:22,
                                    general 111- 13:7               34:25                            57:22, 58:18, 58:20, 58:21'
 13:25, 14:1, 14:16, 14:17,
                                    generally [1]- 23:5                                              58:23, 60:2, 60:24, 62:5,
 15:5, 15:6, 159, 18:25, 19:1.                                       guarding (1]- 35:19



DI          D REP                 ING        (877)         624-3 87 info@diamondreporting.com
                                                                    0
         Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 81 of 92
                                                                                                                                   81
                                                          M.      SANDOZ

 63:1, 63:3, 63:12, 64:18,         hello [5}- 17:4, 17:6, 17:25,     housed [3} -12:1, 13:15,        32:11,32:12.3215,32:19.
 67:2, 67:25, 68:20, 69:9         18:2, 39:22                       13:24                            32:23,33:5,33:14,34:19,
  happening [2}- 26:11, 28:1       help [11}- 7:9, 7:11, 8:23,       houses [3}- 48:13, 48:16,       34:20, 35:2, 35:9, 35:10,
  hard [3]- 30:5, 36:11, 63:6     8:25, 9:6, 9:9, 9:19, 52:23,      48:20                            35:16,36:3,36:4,36:11,
  has [13}- 6:25, 7:2, 21:5,      65:12,66:8,67:4                    housing [27}- 13:18, 14:4.      36:12,36:14.36:15,36:18,
 24:10, 34:13,35:19,37:8,          helped [17}- 6:25, 52:12,        15:8, 16:9, 16:12, 16:13,        36:19, 36:22, 36:23, 36:24.
 42:6, 43:11' 47:3, 52:20,        52:13,53:24,54:1,54:7,            16:19. 16:20, 16:25, 17:3,       37:1' 37:8, 37:22, 37:23,
 61:17, 63:6                      60:3, 65:4, 65:14, 66:16,         17:11,17:15,17:17,17:22,         37:24, 38:2, 38:22, 39:1.
  have [53}- 4:20, 5:25, 7:10,    66:19, 66:21,66:23,66:24,         21:3, 22:3, 24:14, 32:25,        39:2, 39:3, 39:4, 39 10,
 8:10,9:15,9:16,10:3,10:11,       67:1' 67:6, 67:8                  34:18,35:21,41:5,41:11,          39:17, 39:22, 39:25, 40:4,
 11:3,11:4,12:4,12:5,12:20,        helping [4}- 7:2, 7:3, 7:5,      44:17,44:18,47:5,63:10           40:7' 40:17' 40:24, 41 :3.
 15:11,17:9,17:18,17:20,          8:18                               hOW[26}- 13:24, 16:12,          41:4,41:8,42:2,42:14,
 18:15, 18:23, 19:2,20:16,         her [2} - 63:15, 63:25           21:18,22:9,27:6,27:21,           42:20,43:17,43:19,43:20,
 21:6,23:21,27:2,27:18,            here [13}- 7:9, 7:10, 47:18,     29:25,31:10,34:11,36:1,          44:6,44:8,45:11,45:13,
 32:6, 34:1' 34:7, 34:22,         51:9, 59:16,59:24,60:8,           36:6, 38:4, 41:15, 43:4, 43:9,   45:14,45:20,46:12,46:15,
 38:17,40:4,40:7,41:17,           60:14,62:1,65:23,66:17,           48:20, 50:9, 51:3, 56:23,        46:18,47:10,47:11,47:15,
 42:4,43:18,48:23,49:10,          70:12,71:19                       61:21' 62:18, 63:20, 65:13,      47:22, 47:25, 48:4, 48:9,
 51:10, 53:2, 53:3, 60:7, 61:8,    HEREBY [1}- 3:4                  66:20, 67:15, 70:25              48:11' 48:14, 49:6, 49:9,
 62:1, 65:14,66:3,66:10,           hereby [2}- 73:3, 75:7            how are [3}- 17:6, 18:2,        49:10,49:13,49:15,49:16,
 67:12,68:8,69:10,71:25,           herein [1}- 3:5                  33:17                            49:20, 50:6, 51:4, 51:5, 51:9,
 72:6, 75:16                       hereinbefore [2}- 73:8,           how did [2}- 39:21, 66:18       51:10,51:17,51:18,51:22,
  have you [15}- 6:19, 7:24,      75:9                               how do [2}- 33:24, 64:18        52:8, 52:18, 53:3, 53:5, 53:8,
 8:3,8:6,8:11,8:14,9:21,           hereunto [1}- 75:16               how many [16}- 16:24,           53:11' 53:12, 53:17, 54:5,
 10:24,40:18, 50:20, 60:15,        high [1}- 29:2                   22:24, 24:8, 24:23, 26:5,        54:10,54:13, 54:23,54:25,
 60:17, 65:2, 66:14, 68:2          highest [1}- 11:7                27:3, 27:16, 30:25, 35:5,        55:1' 55:4, 55:7, 55:11'
  haven't[3J - 67:18, 67:24,                                        35:11,37:21,38:2,50:13,          55:12,55:20,56:1,56:5,
                                   him[37J- 30:17,30:19,
 70:8                                                               50:18,71:2, 71:3                 56:9, 56:16,56:25,57:1,
                                  31:15,31:21,31:23,31:25,
  having [5} - 4:4, 17:14,                                           how often [1} - 19:7            57:4, 57:5, 57:9, 57:15,
                                  32:12,32:13,32:14,32:15,
 34:6, 49:17, 73:3                                                   however [1} - 72:1              57:21' 57:24, 58:2, 58:15,
                                  32:16, 32:19, 35:2, 45:11'
  he [52}- 7:8, 7:9, 28:13,                                          huh [1}- 5:3                    58:16, 58:18, 58:22, 58:24.
                                  45:16, 45:20,46:12, 48:5,
 29:19, 30:10, 30:12,30:18,                                          hunched [1]- 36:17              59:2, 59:7, 59:9, 59:17,
                                  54:13, 55:4, 55:5, 55:7,
 31:22,32:7,32:11,34:19,                                                                             59:18, 59:22, 60:1' 60:2,
                                  55:21' 56:1' 56:2, 56:9, 57:1'     hurt [1]- 40:1
 35:19,39:8,39:9, 39:10,                                                                             60:5, 60:7' 60:19. 60:20,
                                  57:21,59:3,59:17,60:5,
 42:16,42:20,43:10,43:11,                                                                            60:21,60:22,60:25,61:16,
                                  60:6, 61:5, 67:2                                    I              61:25, 62:1' 62:2, 62:3, 62:5,
 43:17,43:23,44:7,45:9,            his [26}- 7:6, 32:2, 32:4,
 46:6,46:11' 46:13, 50:4,                                            I [404J- 3:1, 4:4, 4:19, 5:2,   62:13, 63:2, 63:7. 63:8, 64:4,
                                  32:8,32:17,32:19,32:21,
 51:22, 51:23, 52:20, 54:9,                                         5:6, 5:10, 5:11' 6:9, 6:11'      64:12,64:13,64:17,64:20.
                                  32:23, 34:12,43:13,43:16,
 54:14,54:15,55:6, 55:14,                                           6:20, 6:23, 7:4, 7:8, 7:10,      64:25, 65:1' 65:3. 65:4, 65:8,
                                  43:21,45:10,45:18,45:21,
 55:20, 55:21' 57:14, 58:23,                                        8:10, 9:3, 9:4, 9:5,9:8, 9:9,    65:9, 65:13, 66:3. 66:4, 66:7,
                                  46:3,46:6,46:8,52:16,61:8,
 58:24, 59:18, 59:22, 59:23,                                        9:16, 9:23, 10:2, 10:5, 10:10,   66:10,66:11,66:12,66:13,
                                  61:10,61:13.61:14,63:8,
 60:19,60:25,61:9,64:12,                                            10:13,11:4,11:14,11:16,          66:25, 67:2, 67:12, 67:14,
                                  72:7, 74:20
 64:13, 67:1' 67:3                                                  11:21,11:23,11:25,12:5,          67:19, 67:20, 67:24, 68:5,
                                   hit[19]- 25:14,26:9,26:20,
  he's [20J- 32:1, 32:8, 35:3,                                      12:13, 12:14, 12:15, 12:20,      68:6, 68:8, 68:15.69:18,
                                  27:7, 28:9, 28:13, 29:16.
 43:3, 43:5, 43:8, 43:17.                                           13:9, 13:25, 14:2, 14:9,         69:23, 70:1' 70:5. 70:7,
                                  30:4, 30:13, 39:18, 55:12,
 43:19, 43:22, 43:24, 43:25,                                        14:17, 14:21, 14:24, 15:5,       70:12,70:14,70:23,71:2,
                                  58:15,58:16,59:17,60:1,
 44:13, 45:3, 52:20, 61:7,                                          16:1' 16:2, 16:6, 16:21' 17:4,   71:5, 71:6, 73:1' 73:3, 73:4,
                                  60:2,61:25,64:11,64:12
 61:10,61:17,61:20,61:22                                            17:5, 17:9. 17:10, 17:14,        73:6. 74:1' 74:9, 75 1' 75:6.
                                   hitting [4}- 25:16, 27:14,
  head [4J- 5:4, 25:14, 28:9,                                       17:20, 18:2, 18:6, 18:7,         75:12, 75:14, 75:16
                                  30:11,64:13
 61:14                                                              18:14,18:21,18:22,18:24,          1'11[3]- 5:15.21:21.41:9
                                   holding [3}- 36:18, 4 7:1.
  heal [1]- 50:16                                                   19:3, 19:12, 19:17, 19:18,        l'm[25J- 5:1.5:18,7:9,
                                  65:23
  healed [1]- 51:8                                                  19:23, 20:2, 20:14, 20:19,       7:19,7:23, 11:2.12:6, 12:24.
                                   hospital [1}- 70:3
  health [7}- 67:21, 67:23,                                         20:21' 20:23, 20:24, 21:20,      25:13,31:10,37:1,40:4,
                                   hot [2}- 21:14, 23:21
 68:17, 68:25, 69:7, 72:7,                                          25:1' 25:4, 25:5, 25:6, 25:7,    44:20.51:17,56:18,5710,
                                   hours [2] - 8:4, 8:7
 74:21                                                              25:9,25:11,25:12,25:13,          58:4,58:8, 58:13. 60:7,
                                   House [3J- 62:11, 62:12,
  hear[5J- 5:12,28:3,28:15,                                         25:15,25:17,26:6,26:16,          61:23,64:20,65:23,68:24
                                  62:18
 30:15, 62:23                                                       27:4, 27:8, 27:19, 28:9,          I've [13}- 18:14, 40:8,
                                   house [19}- 14:3, 14:10,
  heard [1}- 5:19                                                   28:14,28:15, 28:20,28:24,        64:25, 65:12, 65:19. 67:25,
                                  15:4, 15:5, 15:9, 15:13,
  hearing [2}- 15:1, 15:3                                           28:25, 29:5, 29:13, 29:18,       68:5, 68:20, 69:8, 69:9,
                                  15:14. 21:5, 48:9, 55:5,
  height [1] - 10:17                                                29:23, 29:24, 30:4, 30:5,        69:17, 69:22
                                  57:24, 58:1' 58:2, 60:20,
  held [1}- 1:18                                                    30:7,30 10,30:14,30:18,           identify [1}- 31:25
                                  60:21' 61:25, 62:5
                                                                    31:17,31:21,32:5,32:8,



DIAMOND REPORTING                           (877)            624-3287 info@diamondreporting.com
                                                                81
        Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 82 of 92
                                                                                                                                 82
                                                      M.         SANDOZ

  if;37)- 3:9, 3:11.5:11,5:14,    71:10,71:22                       Interpreter[•] 2:16             56:16, 57:16,584, 58:13,
 6:5.6:7,10:21,11:14,11:21.        incarceration f1J 11:24          interpreter 121 4:1, 4:5        58:19. 592, 59:3, 59:7,
 19:23, 19:25, 20:3. 24:8,         incident [35] 4:24, 10:22,       Interrogatories 111- 64:24      59:15.60:5,60:9,61:8,61:9.
 24:23. 26:19, 26:23, 27:25,      11:9,11:17,12:18,12:24,           interrogatories - 72:4.         62:2, 65:5, 66:8, 66 20,
 29:16, 32:7,33:17,34:4,          13:1,13:9,13:13, 18:16.          74:18                            66:22. 67 17, 68:6, 68:8,
 38:16.39:25,42:18,42:23,         18:19,20:1,25:1. 25:3,            interviewed [1) 54:18           68:9. 68:15,69:12,69:18.
 45:18,45:21, 46:10, 46:13,       25:20,26:11,26:12,26:13,          into [19)- 7:1, 10:5, 16:16.    69:23. 70:20, 71:5, 71 6.
 46 21' 50:3, 50:16, 60 19,       32:17, 32:22, 32:24, 39:2,       23:3, 25:9, 31:8, 33:9, 37:7.    71:14
 61:13,66:7,67:14                 39:5,40:16,40:20, 44:3.          37:24,38 7. 38:8,39:10.           it's [34]- 6 24, 7:13, 8:23,
   immediately       25:3,        45:6,49:16,50:23, 51 20,         39:11' 39 12. 39:23, 40 10,      13:21. 14:12. 15:5, 1713,
 49:11                            5121, 52:7.54:19,62:3,           41:4,4116.42:20                  21 :9, 224, 22 7' 22:19,
  IN 111-75:16                    63:3                              investigation 121 62·21,        22:22.23:13, 24:1,25:20,
  in [187] 4:20, 4:21, 6:4,        include 111 59:16               62:24                            31:4, 32 20, 37 7, 42 24,
 6:17, 6:19, 7:9, 7:24, 8:24,      including[2) 31:19,72:3          involved [1] 15:16              44:12,528, 58:9,58:10,
 9:17,10:13,11:10,12:10,           incomplete [1) 6:9               is [64)- 4:18, 4:21 4:23,       60:8, 60:9, 60:13, 60:20,
 12:18,12:19, 12:25,13:7,          Indicating [41 46:4, 51:10,     5:11.7:3,7:6,11:6,11:21,         60:21. 62:6, 63 6, 66:10,
 13:9, 13:24, 14:7. 14:19,        61:10,61:11                      12:20,156,15:7.207.              66:12. 684
 14:23, 15:7. 15 16, 16:9,         information [1]- 8:17           21:16.21:18,2122,22:5,             items 111 72:3
 16:12, 16:20, 16:24, 17:7,        INFORMATION 121-74:15.          22:6,22:14.22:19,22:21             itself [1)- 47:5
 17:11, 17:17, 17:18, 17:22,      74:16                            23:10,316,31:8,31:11
 18:1, 18:9, 18:12, 18:13,         infraction [3] 14:14,           31:17,33:22,3514,35:17.                        J
 18:14, 19:17,19:20, 19:22,       14:16. 14:23                     35:19,38:16,41:13,42:23,
 19:24, 20:6, 20:8, 20:9,                                                                            jail [1]- 63:7
                                   injuries [4] 48:22, 49:25,      43:23, 44:18, 45:3, 46:3,
 20:21' 20:22, 20:23, 20:25,                                                                         jaw[1] 61:16
                                  50:20, 50:23                     46:5,46:19,51:8.52:16,
 21:3, 22:3,2212, 22:13,                                                                             JENNIE [21 75:6, 75:20
                                   injury [51- 50:14, 50:16,       54:1' 54:9, 54:10, 58:23,
 22:15, 22:18. 23:6, 23:22,                                                                          Jennie['] 1:20
                                  51:8,58:15,58:16                 60:1,60:13.60:14,61:13,
 24:14, 24:19, 24:20, 24:21'                                                                         jewelry111 46:13
                                   Inmate [2] - 58:9, 60:9         61:15,6121,62:3,63:7,
 25:2, 25:4,25:15,25:19,                                           63:8, 63:20, 64:6, 64:7, 68:6.    join [1)- 15:25
                                   inmate !42] 16:3, 16:17,
 26:1,26:7,26:8,26:14,                                             68:15, 72:10,73:7,75:8,           Judge[1J 3:10
                                  25:5, 25:16, 26:9, 26:20,
 26:19,2623,27:3,27:6,                                             75:10                             June [3]- 11:25, 13:6, 14:7
                                  27:7, 27:13, 28:10, 28:23,
 27:9, 27:10,28:9,29:13,                                            IS 121 - 3:4, 3:15               just [34) - 8:20, 9:4, 9:23.
                                  29:16, 30:16,31:14,31:24.
 29:17, 29:24, 30:20, 30:25,      32:10,33:19,33:25,34:1.           isthat['3' 11:11,11:18,         10:14, 17:4, 17:6, 17:9. 18:2,
 32:20, 3225,33:2.34:17,                                           20:7,20:11,23:12,27:14,          23:5, 27:23, 29:7, 30:22,
                                  34:2, 34:5, 34:12, 34:14.
 34:21' 35:2. 35:4, 35:5,         37:14, 39:6, 39:8, 40:19,        42:12, 48:25, 49:12, 55:9,       31:10, 32:5,36:12.36:17,
 35:15,35:17,35:21,35:22,         41:6,42:7,48:3,55:14,            59:20, 60:12                     37:22,39:1,41:24,42:11,
 35:23, 35:24, 36:1' 36:22,       55:18, 58:22, 58:23, 58:25,       is there c1D] 7:17. 18:1,       42:13,42:25,44:23.45:17,
 3623.37:8,37:18.3724,            5915, 5923,60:3,61:1,            18:4,18:5,41:5,46:23.            4717.50 17, 55:20, 55:21,
 38:1' 38:22, 39:4, 39:9,         61:4,63:4,64:10                  59:24, 64:2, 67:10,6718          56:21' 66:3, 66:12, 67:13,
 40:12,40:15,40:17,40:18,          inmate's [31- 33:24. 42:21,      is this [1]- 59:8               67:20, 69:23
 41:1,41:5,41:11,42:17,           59:2                              isn't [1]- 59:25
 44:2, 44:6, 44:7,44:10.           inmates [44]- 8:20, 8:21,        isolated [1] 62:2                             K
 44:17,44:18,44:19,44:24,
                                  16:12, 16:20, 16:22, 16:24,       IT 12> 3:4, 3:15                 KAVIN 111-2:10
 45:1' 47:1. 47 23, 49:13,        17:23,20:7,22:2,22:12,            it[112)- 6:10.8:17.9:5,          keep [4]- 40:3, 40 5, 44:18,
 49:20.51:5,51:10,51:23,
                                  23:11' 23:17, 25:23, 25:24,      10:5, 10:13,11:21.1419,          70:7
 537,53:11.53:12,53:14.
                                  26:1,26:8,26:16,27:12.           14:21, 14:24, 15:7, 15:24,
 53:15,53:16,53:17,53:23,                                                                            keeping [1]- 721
                                  27:16, 27:21,28:16,29:3,         16 6. 16:7. 16:21 20:6.
 53:24. 5325, 54 1' 54:15,                                                                           kept [1;- 62:20
                                  29:6,29:17,30:19,31:19,          20:10,214,21:16.21:22,
 54:19.54:25.555,55:13,                                                                              kick 111- 2517
                                  31:22, 33:2, 38:5. 39:12.        22:21' 2225, 26 3. 27:23,
 56 6, 56:13, 57:21. 57:23,                                                                          kicked [6J - 28:13, 28: 15,
                                  39:23,40:15, 40:22,40:25,        27:24, 27 25, 2815. 28:20,
 58 14, 59 17, 59:19. 59:24,                                                                        29:4, 29:24,30:7, 59:18
                                  41:6,41:11,41:15,41:23,          29:19,31:12.359,37:3,
 60 17.60 19,6020.61:8,                                                                              kicking [4]- 27:14,28:10,
                                  42:17,42:19,44:13,47:1,          37:13. 37:15. 37 23. 37:24,
 62:3, 62 5, 62:6, 63:2, 63:6,                                                                      28:23, 30 13
                                  63:2, 63:5                       38:8, 38:15, 38:18, 38:24,
 63:9, 64:2, 64:22, 66:16,                                                                           kidS[1]-11:4
                                   inside [4;- 23:18,37:19,        40:3, 40:5, 41 9, 41:24, 42:3,
 67:8,67:9,69:15.6924.                                                                               kind [>3]- 9:6, 14:12.
                                  37:20. 37:21                     42:11,43:14,44:18,45:14,
 70:5.70:10,70:18,71:1,                                                                             16:16. 21 :20, 29:6, 43.14,
                                   instant 111 33:20               4517, 46:5, 46:6. 47:3,
 71:4,71:11,71:12,71:14,                                                                            44 12, 50:2, 50:5, 66:4, 68:2.
                                   instantly [1]- 34:3             47:25, 48:14, 49:6, 49:13,
 71:17,71:21,75:14                                                                                  6817
                                   instead 121- 35:15, 35:17       49:18,50:11,5012,50:17,
  inaccurate !11 6:8                                                                                 knew [3]- 16:21, 48:25.
                                   interact (2]- 39:5, 40:16       51:2, 51:6. 53:5. 53:12,
  incarcerated [7] 11:25,                                                                           63:1
                                   interested [1] 75:14            53:14,53:17,53:25,54:1,
 12:2, 12:8.68:12, 70:11,                                                                            knife 121- 14:25, 40:8
                                   interfere [2] - 7:21, 7:25      54:7, 54:10, 54:14,54:15,
                                                                                                     kniveS[10J -14:17, 14:18,


DIAi'-10ND                       ING       (877)         624-3287 info@                         amondreporti                          om
                                                                 82
         Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 83 of 92
                                                                                                                              83
                                                      M. SANDOZ

 14:20, 15:11, 15:13, 15:23,     learn 121 32:17,32:21            63:3                           16:11,16:19,208,48:18
 16:1, 16:3, 16:8, 33 9          leave c'O]- 23:1' 30:17,          lock [1] - 33:20               may121- 3:7, 311
  knOW[141] 5:12, 5:15,6:9,     30:18,41:19,41:24.42:2,            long [18]- 13:24, 27:6,        maybe[29]-16:21.17:1.
 8:24, 9:3.9:5, 9:23, 12:14,    42:5, 42:11' 67:13                29:25. 36:1' 36:6, 38:4,       20:14,22:2,22:10.25:4,
 15:12, 16:6, 16:15, 16:20,      leaves        33:25, 34:12.      4225,43:8,43:9.46:5,46:6.      26:6.27:8,31:4.31:12,
 17:2, 17:5, 17:7, 19:23,       34:14                             46:11.48:20,50:9,51:3,         34:19,35:13.36:8,37:11,
 20:14, 23:7, 23:25, 24:1,       leaving 121- 30:19. 34:25        56 23, 62 18, 70:25            37:15. 38:6, 40:11' 42:2,
 26:6,26:10.26:11,26:19,         left i' ~~- 10:13. 31:14.         look [6]- 10:6. 10:9. 24:1    461,47:15,47:21, 50:19,
 26:23, 26:25, 27:1' 27 16,     31:22.38:25,40:23.421,            43:2. 45:2. 66:3               51:4,584,58:18.61:22.
 27:18, 27:22, 27:25, 28:3.     42:12,42:20,51:11.51:13,           looked [1] 10:5               62:17.63:21,70:1
 28:14, 28:15, 28:25, 29:14,    51:14                              looking (6] 24:18, 24:23.      me [1141 - 4:23, 5:12. 5:15,
 29:16, 29:18, 30:9, 32:7,       Legal        1:18                58:8.608,67:11,67:15           5:18, 5:22, 6:9, 7:2, 7:4. 7:9,
 32:8, 32:10, 32:11' 32:12,      legal [1]- 65:3                   looks )J- 21:4, 52:19, 61:6   7:11, 8:17,8:18,8:20.9:9,
 32:13,32:14,32:15,32:19.        legs['] - 36:13                   Los(1]-39:14                  9:13, 9:14,9:16,9:17,9:19,
 33:5, 33:18,33:24, 34:4,        let[1'i- 5:12,5:15,6:9,           lot [9]- 6:21, 25:15, 26:4,   10:15, 10:17, 10:19, 10:21,
 34:11,35:24,36:15,3622,        12:15, 34:23, 35:6. 37:13,        26:6, 42:6, 49:13. 49:20,      12:15, 14:10, 15:10, 15:12,
 37:13, 38:2,38:16, 39:10,      41:21.47:17,48:8,61:12            51 5, 61:10                    15:13, 16:6, 16:15, 18:7,
 39:21' 39:25, 40:3, 407,        let's [5J 30:22.47:17.            lots•1]- 61:17                25:14.25:16,25:17,2621,
 40:9,40:22,40:24.41:15,        49:22, 56:21' 64:8                  loud [5]- 28:17, 29:1,       28:10,29:15,30:11.30:15,
 42:1, 42:2, 42:8, 42:9, 42:23,  level 111 11:7                   29:10, 30:10, 30:14            32:11' 33:6, 33:9. 37:13,
 42:24, 43:16, 43:17, 43:25,     library [14J- 8:16, 8:19,         louder[1] 30:12               40:1,40:3,40:4,42:19,
 45:11,45:12,45:13,45:14,       8:24,9:2,9:7,9:11.53:16,           lower[10J- 13:22, 13:24.      47:12,47:16,47:17,48:8,
 45:18. 45:20, 45:21' 46:3,     65:4, 65:7, 65:15, 66:12,         16:24, 178,21:4,44:23,         48:9,48:10,48:21,49:2,
 46:10,46:13,46:17,50:5,        66:17.67:1,67:8                   44:24,45:1,58:14.643           49:3, 50:4, 50:17. 51:6,
 50:6,50:7,52:17, 52:18,         life [SJ 36:24, 48:11. 57:5,      lunch [2] 20:3. 20:13         52:12,53:4, 53:9, 53:18,
 53:8, 54:21' 54:23, 55:20,     69:8, 69:15, 69:20, 69:22,                                       53:22, 53:24, 54:9, 54:20,
                                                                   lying [3]- 29:21, 29:22,
 57:13, 58:16, 58:24, 60:3,                                                                      55:6, 55:7, 56:2, 56:6, 57:13,
                                69:24                             31 11
 60:6, 60:25, 61:4, 61:19,                                       1 - - - - - - - - - - - - ; 57:14, 57:25, 58:15, 58:21,
                                 light (1] 58:14
 63:4, 63:7, 63:8, 64:4, 64:6,
                                 lights 111 26:14                              M                 60:19, 62:6, 62:9, 62:2o,
 64:10, 64:12,64:18,65:3,                                        1 - - - - - - - - - - - - 1 62:21,62:25,63:10,64:12.
                                 like [51]- 8:20, 8:23, 14:9,
 65:6, 65:9, 66:4, 66:12, 67:2,                                    M 141-4:1,4:4. 11:21, 12:3    64:13, 65:4, 65:18, 66:9,
                                17:14, 18:14, 19:9,20:23,
 67:3, 67:12. 67:19, 67:20,                                        made :41- 24:15, 41 :4,       66:11,66:16,66:17,66:19,
                                20:24,21:4,21:5,21:9.
 67:24, 68:4, 68:6, 68:15,                                        51:25,62:15                    66:20, 66:23. 67:1' 67:6,
                                22:13,22:15,25:20, 31:4,
 70:3, 70:23                                                       mail [3]- 53:5, 64:22, 66:8   67:8, 68:8, 68:9, 68:14,
                                32:5,32:16,36:14, 36:15,
  known [1) 10:24                                                  mailbox[1J- 53:16             68:15,6818,68:19,68:21,
                                36:18, 36:19, 41 :24, 42:3,
  Kross(4J 11:18, 11:22,                                           mailed [1] - 9:22             69:1, 69:9, 70:20, 71 :6, 73:8.
                                42:11,42:19,43:2,43:5,
 12:3.66:22                                                        make(oJ 28:12, 52:3,          73:15
                                43:13, 43:24, 44:2, 44:13,
1 - - - - - - L - - - - - - - 1 45:2. 45:15, 45:16, 46:3.         57:2,57:7. 57:20, 60:15,        mean [15]- 4:13, 13:20,
                                46:13,52:19.53:14,61:6,           60 17.6023                     14:14, 15:14, 19:21,28:25.
1 - - - - - - - - - - - 1 61:9,62:17, 66:4, 71:5, 71:7             making !61- 28:17, 29:6,      29:18,36:10,36:15,39:11,
  L !31- 3:1, 73:1
                                                                  58:11' 6113, 61:15, 62:4       55:2, 55:10,65:1, 66:13,
  language[2J 6:13,53:23         LINE[1J 74:24
                                                                   many[1J -16:15                67:23
  last[6J 7:24,8:3,8:6.          line[1J 61.16
                                                                   March(13]-13:2, 16:17,         means [2]- 9:24, 12:14
 34:17,52:17,52:18               listen[1J 20:24
                                                                  18:17, 19:11, 19:12. 19:20,     medical [6] - 9:20. 9:25,
  lasted 111 29:25               listening 1'1- 20:25
                                                                  19:21' 19:22, 19:24. 20:4,     47:13, 67:25. 72:7, 74:20
  later[3J 32:22,47:15,          little [20] 6:16, 6:23. 7:3.
                                                                  56:12, 56:14,64:19              medication [24] 50:4,
 48:21                          9:13.215.21:9.21:13,
                                                                   MARC011J 2:15                 50:5, 50:7, 50:9, 68:1' 68:2,
  Latinr41 • 40:13.43:17.         21:14,21:25,42:15,43:3,
                                                                   MARKED [1] 74:23              68:5, 68:10, 68:13, 68:17,
 4325, 52:20                      43:10, 45 3, 45:4. 53:16,
                                                                   marriage [1] 75:13            68:18, 68 20, 68:25, 69:1.
  Latino 111 43:23                63:14, 63:21. 68:8, 70:2
                                                                   married [1]- 11:1             69:6,69:8,69:11, 69:16,
  laughingp] 29:10                 living(44'·21:5,21:11,
                                                                   MARTIN (41 -1:2. 1:15,2:3,    69:21,69:23,6925,709,
  lawr 111 8:16,8: 19, 8:24 ,     21:12, 2114,21:16,21:18.
                                                                  73:12                          71:4,71:11
 9:2, 9:6, 9:11' 65:7, 65:15,     21:25, 22:5, 22:9, 22:19,
                                                                   Martin 111- 4:11               medications [1]- 7:24
 66:11,67:1                       2220,23:12,23:14,23:18,
                                                                   Martinez [4] 42:22, 42:23,     Medina 111- 7:6
   LAW[ 1J 2:7                    23:22.25:9,25:19,26:1,
                                                                  43:2. 63:8                      medium [2]- 48:17, 48:18
  lawsuit [10] 4:25, 6:25,        26:8, 26:14, 27:6, 27:10,
                                                                   mass [2]- 20:6, 20:10          member[''- 18:10
 8:12,8:15, 9:18,25:2,66:15,      29:17,30:17,30:20, 30:25.
                                                                   matter[1] 75:15                mental [SJ- 7:20. 67:21.
 66:18, 67:5. 67:11               31:9. 34:23, 35 4, 35:6,
  lawyer [lJ 8: 10                35:12, 3515. 35:22, 36:1,        max[51-15:4, 15:5.15:6,       67:23, 68:17, 68:25, 69:7,
  laying        :                 40:23. 40:25, 41:6, 41 :1 o,    15:7, 17:22                    72:7, 74:21
         111 33 4                                                                                 mentioned [3]- 18:16,
                                  42:18,44:1,44:2,44:7,551.        maximum [61 15:9, 16:9,



DI          D          PORTING             (877)         624-3287 in                   @diamondreporting.com
                                                                 83
         Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 84 of 92
                                                                                                                                 84
                                                        M.             DOZ

 49 25. 63:3                       myself[2J- 36:5, 65:4                                             45:3, 45:11' 45:13, 45:14,
  might111- 64:16                                                                                    48:11' 48:14, 48:19. 49:6,
  million [2] 67:16                              N                                                   49:13, 49 20, 49:21. 50:2,
  mine [4] 7:2. 32:5, 52:14.                                                                         50:5,50:11,51:5,51:11,
                                    N[7J 2:1,3:1,4:1,4:4,                                            51:14,51:22,52:4,52:14,
 63:7
                                  73:1, 74:9                                                         52:24, 52:25, 53:2, 53:4,
  minute      21 :24, 30:1,
                                    name:211- 4:10.4:18,7:6,                                         53:11' 53:12, 54:9, 54:11'
 37 11' 42:20
                                  9:3, 10:24, 28 21, 32:17'                                          54:16, 54:20, 54:21' 56:14,
   minutes [41- 27:8, 36:8,
                                  42:21.45:10,45:11,45:15.                                           5714,61:10,61:14,61:17,
 37:11' 38:6
                                  5215,52:16, 52:17, 52:18,                                          62:9, 62:23, 63:4, 63:5, 63:7,
   misbehave [1] 14 13
                                  54 5, 54:21' 54:23, 59:9,                                          63:10,63:11,63:14, 64:23,
   money[2J 6710,67:15
                                  63:4. 63:8, 66:24, 66:25.                                          64 24, 65:2, 65:3, 65:12.
   monitOr[2J 22:12,22:14
                                  68:6, 70:21' 70:23, 70:24                                          65:25, 66:3, 66:4, 66:24,
   monitors [3]- 22:13. 22:16,
                                    named 111- 63:4                                                  66:25, 67:10, 68 1' 68:2,
 34:4
                                    names [3] 9:1, 9:5, 63:5                                         68:4,68:6, 68:17,69:5.
   month [3]- 56:14, 58:14,
                                    near[2]- 43:6,61:20                                              69:13,70:21,70:24, 72:2,
 62:1
                                    need [3J 9:8, 42:6, 62:2                                         72:4, 72:5, 72:10, 72:11'
   months [9] 13:25, 14:1,
                                    needed [1]- 50:12                                                73:7, 73:16,74:17,74:19,
 19:9, 19:17,50:17,50 18.
                                    neighbor[:]- 33:15                                               75:7, 75:10, 75:13, 75:14,
 50:19,51:4,71:5
                                    nervous 111- 68:8                                                75:17
   more[9J -19:16,22:13,
                                    neveq221- 17:9. 18:2,                                             offered 111 53:9
 22:15.26:1,26:3,26:5,
                                  18:14,32:15, 33:1,42:16,                                            office [241- 22:11, 22:21,
 31:22.63:11,68:19
                                  44:8, 44:10, 46:12, 50:25,                                         22:22, 23:1' 23:3, 23:9.
   morning [2]- 418, 44:7
                                  53:17,53:18, 53:20,5322,                                           26:17,26:19,26:24, 26:25,
   motion 121-61:13,61:15
                                  64:17,64:21,65:5,70:12                                             27:3, 27:5, 27:9, 27 11' 35:2,
   move [2]- 56:21, 70:6
                                    NEW 151- 1:1, 1:7, 2:7,                                          35:5, 35:18, 35:23, 35:25,
   moved [4]- 48:9, 62:9,
                                  75:3, 75:4                       1 - - - - - - - - - - - 1 37:18, 37:19, 37:20, 37:21,
 62:10, 62:12
                                    New [16]- 1:19, 1:20, 2:8.                                       38:1
   movie [91 - 25:10, 25:11,
                                  4:6, 4:17, 4:19, 4:21' 70:6,
                                                                                   0
                                                                                                      officer[eJ- 14:18,45:5,
 25:19,28:19,28:20,28:22,
                                  70:10,70:12, 71:11,71:12,            0[4] 3:1,4:1,4:4,73:1         45:8, 46:10, 46:21 55:15
 2824,29:1,42:15
                                  71:18,75:7                          oath [4]- 3:9, 6:1, 6:3, 6:4    officers 111- 47:9
   MR 161-59:5, 60:10, 65:22,
                                    next 111- 31:4                    OBCC [1] - 62:21                official      23:6, 33 22,
 71:9, 71:25, 74:13
                                    nickname[4J- 32:19,               objections 111- 3:16           34:13,34:17,35:14, 35:17,
  Mr[1{ 4:18,6:12,7:14,
                                  32:21' 32:23, 63:6                  occurred [1] 13:1              35:22, 36:21' 37:6, 37:9,
 10:14,1224,21:3,3025,
                                    night [91- 45:5, 45:8, 56:6,     October[1J 12:23                38:16,38:17,38:20,42:7,
 42 23, 43:2, 58 8, 60:7.
                                  63:12,63:14,63:17,64:3,             OF      1:1,1:7,75:3,75:4      44:6, 44:8, 44:10, 44:12,
 64:10, 64:22, 72:9
                                  64:4, 64:5                          of[181]-1:15, 1:17, 1:20,      44:13,44:14,51:25,52:2.
  MS [17]- 4:9,4:15, 30:22,
                                    No[1] 1:5                       3:6, 3:7, 3:10, 3:12, 3:13,      52:10, 57:12, 64 2
 33:10, 37:3, 49:22, 56 21'
                                    no[54J 6:18,7:23,8:2,           3:16, 4:6, 4:19,4:21,4:23.        officials [48] 17:13, 17:21,
 57:16.58:5,59:14,61:12,
                                  8:5,8:8,8:10,8:13, 10:10,         7:2, 7:14, 7:20,9:1, 9:6,        22:23, 22:24, 22:25, 23:1'
 63:16, 64:8, 66:6, 71:16.
                                  1025,11:2,1211,14:21,             9:24, 9:25, 10:11, 10:15,        23:2,24:7,24:12,24:13,
 72:9, 74:12
                                  15:18, 16:1, 16:18, 17:20,        10:22.117,11:10.11:14,           24:14,24:17,24:19, 24:24,
  much(6- 6:16,6:24,9:10,
                                  18:6, 18:11, 18:14,20:2,          12:18, 14:8, 14:12, 14:25,       26:19,26:21,26:23,27:5,
 9:14,62:13,67:15
                                  2019,26:21,32:11,33:1,            15:21,1616,16:17,1620,           27:9,27:13. 33:23,34:11,
  multiple[2J 19:2.21 23
                                  34:15,34:16,38:12,39:7,           17:2, 17:7, 17:13, 17:22,        35:5, 35:7' 35:11' 36:23,
  music ]2] 20:24, 20 25
                                  3910,40:21,41:13,4324.            1920,21:14,2120,21:22,           37:18,38:1, 38:3,41:17.
  must[1J 27:18
                                  45:13,46:19,46:23,46:25,          22:6, 23:2, 2415, 24:23,         41:19,41:21,42:8,44:1.
  my[60J 4:18,5:15,519,
                                  4 7 3, 50:1' 50:22, 50:25.        25:2, 25:6, 25:7, 25:14,         44:17, 4418, 44:24, 44:25.
 5:22,6:9, 10:13, 14:19, 15:4.
                                  5220,53:9,54:23,55:17,            25:15, 264, 26:6, 26:8,          45:2, 46:16, 51:23, 52:4,
 20 21. 20:23, 25:4. 25:5.
                                  56:2, 60:20,62:1, 6610,           26:16,27:4,27:13,27:20,          55:24, 56:2, 57:6, 63:9,
 25:6, 25:7. 25 14, 27:4,
                                  71:12,71:25,75:14                 29:6, 29:9, 29:11' 29:17,        63:11
 29:18, 29:23, 29:24, 33 5,
                                    nobody [4J 9:3, 34:21,          30:7,31:6,31:19, 31:20,           okay[17J 5:10,5:12,5:13.
 33:6, 33:8, 33:9, 34:20, 36 5,
                                  35:25,53:9                        31:21' 33:3, 33:9, 33:19,        5:16,5:20, 5:21, 11:6, 11:16,
 36:14, 3622, 36:24, 37:24,
                                    nobody's [1]- 8:18              34:2, 34:5, 34:20, 34:22,        11:21.24:8, 35:4, 42:18,
 38 8, 38:22, 39:3. 39:10,
                                    noise [2] 28:6, 28:12           35:6, 35:9, 35:15, 35:17,        51:1' 56:22, 58:4, 61:24,
 39 11' 40:24, 41:4, 42 16.
                                    noises 121- 28:17, 29:6         37:23, 38:9, 39:17, 40:13,       71:25
 42:20. 48:11' 49:9, 53:24,
                                    none (1] 74:7                   40:15. 40:17, 40:19, 40:25,       Okay [30J- 5:25, 6:12, 6:25.
 54:5,54:6,54:10,55:11,
                                    None 111 74:25                  41:3,41:16,41:21,41:23,          7:17,9:1,11:9,11:24,12:7,
 57 5, 58:15, 59:9, 59 10,
                                    normally 111- 45:8              42:6,42:15,42:17,42:19,          12:21, 13:22, 15:16, 19:13,
 60:13, 67:21' 67:24, 69 8,
                                    not [34]- 5:3, 5:12, 6:16,      43:14, 43:15, 44:3, 44:12,       20:3, 21:18,23:14,2320,
 69:22, 75:16



DIAMOND               PORTING               (877)          624-3287 info@diamondreporting.com
                                                                   4
        Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 85 of 92
                                                                                                                                     85
                                                       M.               DOZ


25:1, 371,45:18,49:15,           39:11,39:12,39:22,40:18,             25:12, 25:18, 25:22, 36:22,      production 121 - 72:4,
55:23,567,588,5813,              4022,41:5.41:10,41:13,               39:11,53:17.65:14,65:15,        74:19
61:1,639,66:14,68:2,             41:14,41:15,42:4,42:17,              68:9                             protected [3J- 62:7, 62:22,
71:13. 71:24                     44:2, 46:16, 49:24, 49:25,            perfect :11 37:23              62:25
 old 121 61:20, 62:5             5115, 55:1.55:5,5711.                 period [2] 7:25, 49:11          protective [1] 13:10
 on [6CJ· 4:13, 13:1, 15:13,     60:21' 61 :4, 63:5, 64:2, 64:7        person [91- 39:18, 52:12,       provide [4] 10:14, 53:4,
16:8, 1817, 19:10, 19:12,         otherwise 121- 5:18, 65:4           54:19,66:16,66:19.66:21,        56:8, 67:15
19:25, 20:4, 25:11' 25:14,        0Ur[4) • 72:3, 74:18                66:24, 66:25, 67:6               psychiatrist 111- 70:17
25:17,26:14.26:17.27:19,          out [461- 7:2, 7:4, 8:18,            physical 111- 7:20              psychologist [1] 70:16
27 25, 28:3, 28:4, 28:10,        8:24,8:25,9:9,9:17, 9:19,             pictures[1]· 57:14              Public [3J- 1 20, 4:6, 75:6
29:15, 29:18, 29:21' 29:22,      15:15, 15:17,24:5,24:15,              piece 121 54:9, 54:11           PUBLIC [1] 73:19
29:23, 30:2, 30:4, 31:6,         24:18. 24:23, 25:6, 25:7,             pills [1] - 70:24               Puerto [s]- 70:5, 70:8,
31:11,32:8,33:4,36:18.           27:4,30:7,31:10,31:16,                Pistol [1)- 32:20              70:18,71:1,71:4,71:17,
38:10,46:12,47:25,49:3,          31:20,31:21,31:22,32:23,              place[7J 11:10,11:18.          71:19,71:21
49 8, 49:9, 51:9, 5114,          33:14, 33:19, 34:1' 34:2,            18:16, 41:5, 42:24, 55:1,        pulling [11- 61:13
51:15,54:11,54:16,5614,          34:5, 34:20, 34:22, 34:23,           73:8                             purports [11 - 72:6
56 25, 57:9, 57:20. 58:11'       35:6, 35:9, 37:23, 41:23,             placed [3]- 13:7, 15:7, 16 9    purpose 121 - 4:23, 27:25
59:1' 59:16, 59:18, 60:14,       42:9, 42:14, 49:6, 53:24,             places [1]- 41:14               pursuant[l]-1:17
60:15,60:18,61:2,61:10,          62:9,65:6,66:19,66:21,                PLAINTIFF 111 1:3               put [10]- 13:9, 53:12,
6215, 64:13, 64:18,67 3          67:1, 67:8                            Plaintiff [5]- 1:15, 2:3,      53:14, 53:17.54:5,59:18,
 once 151- 17:2, 30:18,           outcome 111-75:14                   61:13, 61:14,72:6               59:22, 62:6, 67:3
51:19, 57 6, 70:25                outside 121 - 24:3, 24:4             Plaintiff's 12:- 72:6, 74:20
 one[42J·4:13, 7:3,12:3,          over[7]-7:10, 15:10,
17:13,21:10,21:22,22:1,
                                                                       planning 111- 15:25                          Q
                                 36:17,44:21, 55:22,61:25              play [1) - 23:19
23:2, 23:6, 24:5, 24:10,          own [4]- 38:11, 54:8,                                                Q11 [1]- 58:14
                                                                       playing [3J- 25:10, 28:22,
24:15, 29 17, 31:2, 31:20,       54:10,54:16                                                           QL 111- 13:21
                                                                      29:1
32:5, 35:23, 39:17, 40:13,                                                                             quad [15] 13:20, 13:22,
                                                                       plea[1J 12:12
40:17,41:3,42:19,44:14,                         p                      please[6J- 5:3,5:7,5:12,
                                                                                                      13:24, 16:9, 16:24, 17:7,
44:16, 45:2, 45:3, 47:6,                                                                              17:17, 17:22, 18:1,21:4,
                                                                      5:15, 5:22, 6:9
51:22, 53:11' 53:12, 54:20,       P[3J- 2:1.3:1                                                       44:23, 44 24, 45:1' 63 9,
                                  P.M[1]-72:11                         Please 111-4:10
59:2, 63:4, 63:10, 64:6, 64:7,                                                                        64:2
                                  p.m[4J- 34:19,44:7,64:7              plenty 111 - 66:3
65:3, 691, 69:13                                                                                       quality[2]·13:19, 17:16
                                  PAGE;4J 74:5,74:11,                  pocket [1] 14:19
 one-by-one 111- 45:2                                                                                  question[13J 5:11,5:14,
                                 74:16, 74:24                          point        6:7, 18:12
 ones 111-40:19                                                                                       5:16, 5:19, 5:22, 6:8, 29:5,
                                  paid 111 - 35:20                     Points[1J 7:13
 only:16]- 6:24,8:16, 31:2,                                                                           37:2, 37:4, 37:22, 46 23.
                                  pain [28]- 25:16, 29:13,             population 111- 13:7
37:6, 41:13,47:3, 47:4, 47:6,                                                                         47:17, 56:19
                                 36:11,47:11,47:14,47:20,              possession [1]· 14:25
47:7,51:17.51:18,599,                                                                                  QUESTION 1'1- 74:24
                                 49:4, 49:6, 49:8, 49:13,              post 121-45:16,45:19
5920,71:14,71:17,7120                                                                                   questions [61- 4:2, 4:24,
                                 49:20, 49:21' 50:8, 51:1'             pounds c2J- 10:20, 10:23
 open[26J 22:14,22:16,                                                                                9:4, 70:13, 70:15,72:1
                                 51 :3, 51:5, 51:10, 51:12,            practically 121- 36:5, 42:19
25:6,33:8, 33:13, 33:16,                                                                               QUESTIONS 11 74 23
                                 51:14,51:18                           precinct{1] 13:17
3813,38:15,38:18,38:21,                                                                                quick [5] - 16:6, 30:22,
39:3,41:17,41:20,41:22,           panic 111 - 68:9                     prescribed [3]- 68:25.
                                                                                                      35:10. 49:22, 58:6
41:24,42:1.42:3,42:4,42:5,        paper [4]- 54:9. 54:11,             70:9, 71:4
                                                                                                        quiet 121 40:3. 40:5
42:9, 42:11' 42:12, 67:13,       54 16, 67:3                           prescription :1J 71:1
                                                                                                       quite l''l 18:21, 20:15,
72:2                              papers [11] - 9:23, 9:24,            PRESENT 111 2:14
                                                                                                      25:24,31:18
 opportunity [11- 48:10          5123, 51:24, 52 5, 53:11.             present [1]- 26:23
 or [38] 4:13, 5:3, 6:8, 7:20,   57 20, 64:25, 65 9, 66:3,             prevent [1] 28:1
                                 66:4                                  previously 111 - 69:20
                                                                                                                    R
17:22, 20:25,21:23.22:5,
23:4.24:19,29:7,29:19.            paperwork [81 - 7:4, 7:5,            priOr[1] 6816                   Ri7J 2:1.3:1,4:1.44,
29:21' 3512, 37:11. 37:25.       7:10,9:8,9:17,9:18,5714,              prison [10]- 7:8, 7:9, 7:12.   73:1. 75:1
40:12.4019,41:16,42:7,           57:19                                20:9, 20:12, 40 17, 62:9,        race - 32:2, 45 21
43:19. 44:2,45:15, 46:5,          part[2J 9:25,41:16                  70:16, 71:14,71:17               raised (1]- 15:4
46:19,47:15.47:21,48:25,          parties [21 3:5, 75:13               Pro [1]- 2:3                    rays [1'- 49:3
5024,51:11,61:17,63:17,           past [3]- 60:20, 62:3. 62:6          problem [21 57:25, 66:10        read 110]- 10:10, 33:11,
64:5, 69:6, 69:13, 75:13          paying 111- 29:13                    problems [51 32:12,            37:3, 37:5. 56:20, 57:16,
 order[1J- 9:17                   PC [1]- 62:2                        60:19,60:21, 60:22,62:1         57:17,58:13,61:23,63:18
 original -3:7,3:13               pending [3]- 4:21, 12:4,             Procedure 111 - 1:18            real 111- 35:9
 other [371 7:8, 10:6, 10:24,    72:2                                  procedures [1] - 9:16           realize [1]- 6:8
17:17, 21:23.23:2.23:10,          people[16] 8:16,8:19,                process [2]- 20:11. 23:5        really [11 - 58:5
23 25, 24:4, 24:6, 30:19,        8:23,9:2, 16:15, 16:21, 18:1,         Production '11 64:24            reason[5]-7:17, 18:1,



                     PORT I                (877)          624-3287 info@diarnondreporting.corn
                                                                  8
         Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 86 of 92
                                                                                                                                      86
                                                             M. SANDOZ

 18:4, 18:5, 18:6                    resided 111- 44:19                Sangres 111- 39:14               served 111- 12:13
  reasons 111 - 68:25                respective 111- 3:5               saw [18]- 10:5, 26:16, 27:4,     service 111- 3:12
  recall 111- 62:4                   respond [41- 65 10, 65:18,       30:18,31:21, 32:15,34:17,         serving 111- 12:6
  receipt [2]- 72:2, 72:5           66:8, 66:11                       34:19,35:2,35:10,36:21,           Set [1] - 64:23
  receive [4]- 9:25, 10:2,           responded 121- 53:22, 65:2       37:8, 41:3, 44:8, 44:10,          set 121- 75:9, 75:16
 50:2, 64:22                         response 121 - 5:5, 53:21        47:11,59:22                       seven 121 - 50:19, 51 :4
  received [8]- 9:21, 10:7,          responses [31- 5:3, 72:3,         say [44]- 5:3, 11:14, 11:21,     seventh 111- 48:24
 53:20, 66:3, 67:24, 68:16,         74:18                             17:4, 17:6, 18:2, 23:8, 24:13,    several [1]- 72:3
 69:5, 70:25                         result 111- 12:10                26:9, 26:15, 26:20,26:24,         shake 111- 5:3
  receiving [2]- 64:25, 66:2         results 111- 62:23               27:7, 28:13,28:16,28:22,          she [31 - 63:16, 63:20,
  recess [41 - 30:24, 49:23,         review [1] - 10:3                29:4, 29:16,30:16,31:14,         63:24
 58:7, 64:9                          rewrote [1]- 54:10               31:20,31:25,33:3,34:18,           she's 111- 63:21
  record [3]- 4:10, 61:12,           rib [41 - 48:24, 49:25, 50:21,   36:25, 37:14, 39:6, 39:8,         sheet 111- 54:16
 75:10                              50:24                             39:9, 39:22, 39:23, 39:25,        shield [3]- 45:12, 45:13,
  records [71- 9:20, 9:21,           ribs [5]- 49:9, 50:24, 51:14,    40:2, 40:5, 40:6, 40:7, 47:14,   45:15
 9:25, 72:7, 72:8, 74:20,           55:12, 58:15                      54:7, 54:12, 55:10, 56:8,         shift [3]- 44:8, 44:15, 64:4
 74:21                               Rico [8] - 70:5, 70:8, 70:18,    58:17,63:16                       shifts 121- 45:8, 64:3
  recover [1] - 50:17               71:1,71:4,71:17,71:19,             saying 1101- 23:5, 28:8,         short [8] - 30:24, 45:4,
  refer[2J- 11:14, 11:21            71:21                             29:7,29:9, 29:12,29:14,          46:5, 46:6, 49:23, 58:7,
  referred [51- 33:11, 37:4,         right 1211-6:12, 10:13,          53:20, 56:13, 58:25, 65:14       61:22, 64:9
 56:19,57:17,63:18                  12:5,21:6,21:10,25:11,             says [3]- 58:14, 60:9,
                                                                                                        shortly 111- 62:15
  referring[5]-19:14, 23:4,         27:22, 31:4, 37:24, 39:2,         61:23
                                                                                                        should 111-67:19
 23:8, 61:17, 62:24                 44:20,44:22,48:8, 49:16,           schedule 111- 64:5
                                                                                                        shouting 121 - 29:3, 29:8
  reflect[1]- 61:12                 51:9,51:12,53:17,57:10,            schedules 111- 64:6
                                                                                                        ShOW[1]- 61:16
  related [4]- 9:22,45:18,          59:24, 67:12                       screaming [7]- 28:2, 28:5,
                                                                                                        shower[1J- 41:13
 69:7, 75:12                         ring 111- 46:14                  28:14,28:17,30:10,30:12,
                                                                                                        showing 121- 32:7, 61:15
  relationship 111- 16:12            rise 111- 4:24                   30:14
                                                                                                        shut[3]- 33:22, 34:14,
  relative [1] - 31 :3               room [47]- 21:5, 21:11,           Se111- 2:3
                                                                                                       42:16
  remain [2]- 25:13, 62:8           21:12,21:14,21:16,21:19,           sealing [1]- 3:6
                                                                                                        sick 111 - 56:25
   remaining 121-65:10,             21:25,22:5,22:9,22:19,             section 111- 35:19
                                                                                                        side 1111- 29:23, 31:6, 51:9,
 65:17                              22:20, 23:12, 23:14, 23:18,        security [13]- 15:7, 16:9,
                                                                                                       51:11,51:12,51:13,51:14,
   remember[37]-10:21,              23:22,24:19,24:21,25:9,           16:11,16:19,17:22,20:8,
                                                                                                       51:16,58:14, 71:6
 14:24, 18:19, 18:21, 18:22,        25:19, 26:2, 26:8, 26:14,         26:21,34:10,34:16,53:9,
                                                                                                        sign [4]- 51:23, 51:24,
 18:23, 18:24, 19:10, 19:23,        27:6, 27:10,29:17,30:17,          62:6, 62:9
                                                                                                       52:4, 54:4
 19:25,20:3, 20:13,20:15,           30:20,31:1,31:6,31:9,33:2,         see [46]- 21:6, 21:8, 23:24,
                                                                                                        signature [4] - 54:6, 59:10,
 20:18, 20:19, 20:20, 24:9,         34:23, 35:4, 35:6, 35:12,         23:25, 24:3, 24:6, 24:11'
                                                                                                       59:11,60:13
 28:19, 28:20, 28:21' 29:3,         35:15,35:22, 36:1,40:23,          24:13, 24:16, 26:17' 27:3,
                                                                                                        signed [71- 3:8, 3:9, 3:12,
 29:11' 29:19,43:20, 46:15,         41:1,41:6,41:10,42:18,            27:9, 27:19, 27:23, 30:17,
                                                                                                       54:5,57:15,57:19,57:20
 4 7:23, 55:20, 58:11' 62:5,        44:2, 44:7, 63:3                  31:15,31:17,31:19,31:24,
                                                                                                        since [6]- 40:19, 50:20,
 62:13, 64:13, 64:20, 65:8,          Rules 111- 1:17                  33:25,34:1,34:11,34:20,
                                                                                                       68:11' 69:17, 70:1' 70:7
 66:2, 66:25                         rules 121-5:2, 7:14              34 25, 35:2, 35:5, 36:23,
                                                                                                        sincerely 111- 19:23
   repeat[21- 6:22, 33:10            RULINGS 111- 74 23               37:17,37:23,3725,38:2,
                                                                                                        Siolidis 111- 1:20
   rephrase [4]- 5:16, 35:16,        run [1] - 30:23                  39:22, 40:17, 40:25, 44:1'
                                                                                                        SIOLIDIS 121- 75:6, 75:20
 41:9,47:17                                                           46:12,46:18,46:19,46:21,
                                                                                                        sits 111- 44:7
   report[ 51 - 52:1, 52:3, 55:6,
 67:21. 67:23
                                                   s                  47:4, 59:6, 59:7.60:10,
                                                                      64:12, 65:23, 65:25
                                                                                                        sitting [4]- 25:12, 25:18,
                                     s [5]- 2:1' 3:1. 4:4.74:1                                         25:22. 35:10
   reported [1] - 4 7:8                                                seeing 121- 17:9,28:1
                                      said [13]- 13:13, 17:25,                                          situation 121- 67:25, 68:4
   Reporter [5]- 33:12, 37:5,                                          seen 111- 35 22
                                    18:4. 19:13,20:1,22:2,                                              six [3]- 41:19, 50:19, 51:4
 56:20, 57:18, 63:19                                                   send [3]- 53:5. 65:18, 66:7
                                    27:12, 32:13. 36:9,38:7,                                            skin [4]- 32:1, 43:21,
   reporter 121- 5:4, 5:7                                              sending 111-65:19
                                    60:20, 69:20                                                       43:25, 45:23
   Reporting [1]-1:18                                                  sent[5J- 10:1, 15:10,
                                      same 1111-3:9, 3:11, 3:13,                                        skinned 121- 45:3, 63:22
  reporting 111 - 56:23                                               65:11' 65:18, 65:20
                                    6:4, 15:24, 23:13, 31:6,                                            skinny 111- 63:21
  reports 121 - 67:24, 67:25                                           separate 111-54:16
                                    44:17,44:18,44:23, 56:5                                             sleep[5J- 49:20,51:5,
  represent 111- 4:19                                                  sergeant [19]- 54:21,
                                     SAND0Z[4]-1:2, 1:16,                                              51:7,51:9,51:15
  represented 111 - 8:9                                               54:24, 54:25, 55:3, 55:13,
                                    2:3, 73:12                                                          sleeping [5]- 49:10, 49:12,
  REQUESTED 111-74:15                                                 55:23, 56:3, 56:6, 56:7,
                                     Sandoz [13]- 4:11, 4:18,                                          49:17,51:5,51:17
  Requests 111- 64:24                                                 56:10,56:13,56:16, 57:13,
                                    6:12, 7:14, 10:14, 12:24,                                           snake 111- 36:15
  requests 121-72:4, 74:19                                            58:21, 58:22,60:5,60:15,
                                    21:3,30:25,58:8, 60:7,            60:17,60:23                       so [79]- 5:4, 5:7, 9:9, 12:7,
  reserved 111-3:16
                                    64:10, 64:22, 72:9                                                 13:12, 14:7, 15:7, 16:6, 18:7,
  reside 111- 7:7                                                      sergeants 111- 54:20



DIAMOND REPORTING                             (877)           624-3287 info@diamondreporting.com
                                                                 86
         Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 87 of 92
                                                                                                                                          87
                                                        M. SANDOZ

 19:13, 19:20, 19:25,20:14,      56:16                                                                    15:9, 15:15, 15:16, 15:24,
                                                                                       T
 22:5, 23:14, 23:21' 24:3,        spoken [1)- 56:5                                                        16:2,16:20,17:3, 17:11.
 24:8,256,25:7,25:11,26:1,        ss [1)- 75:3                           Ti7J- 3:1,4:4,73:1, 74:1,        17:13, 17:20, 17:25, 18:16.
 26:17,27:23,28:3, 28:14,         staff[11J- 8:19, 16:8, 17:7,          75:1                              18:20, 18:23, 18:24, 19:5.
 29:24, 30:4, 30:7, 30:14,       17:12,22:11,23:9,51:21,                 table [1) - 23:19                19:12. 19:13, 19:15. 19:18,
 31:6,31:15,33:8,33:15,          52:7,54:18,57:2, 64:15                  tables[1J- 21:15                 20:1' 20:2, 20:3, 20:9, 20:12,
 34:23, 34:25, 36:4, 36:11,       stairs [1)- 46:19                      take [14)- 6:4, 12:12, 16:5,     20:13,20:15,20:16,20:17,
 36:17, 36:24, 37:1' 37:23,       stamped [2)- 58:9, 60:8               30:22, 36:6, 49:22, 50:9,         21:6,21:9,21:11,23:11.
 37:25, 38:13, 39:2, 39:3,        stand [5)- 25:11, 26:10,              50:11' 51:3, 58:5, 64:8, 71:5,    23:16. 24:1' 24:4, 24:5, 24:6,
 41:15,42:5,42:9,42:14,          26:16,36:4,47:11                       71:6, 71:10                       24:10,24:11.24:16,24:18,
 43:11,46:8,46:11,47:1,           standing [6J- 24:19,25:12,             taken [7) - 1:16, 5:25, 7:24,    24:23,25:1,25:10.25:14,
 47:5, 51:5, 51:23, 51:24,       25:13,41:1,44:2                        30:24, 49:23, 58:7, 64:9          25:16. 25 20, 25:24, 26:9,
 53:17,53:20,54:12,55:6,          start [4)- 22:6, 69:11,                taking [19)- 68:1, 68:3,         26:15, 26:20, 26:22, 26:24,
 55:7, 55:14, 56:13, 57:1,       69:15, 69:24                           68:5, 68:10, 68:12, 69:8,         27:12, 28:10, 28:24, 29:11'
 57:5, 57:14, 58:25, 59:11,       started [10J- 28:14, 28:17,           69:12,69:16,69:17,69:18,          29:13,29:15,31:15,31:17,
 63:6, 65:17,66:11,67:14,        30:10, 30:14, 30:18, 39:2,             69:21, 69:22, 69:23, 69:24,       31:22,31:25,32:12.32:13,
 68:5, 68:24, 69:20, 71:6        68:19,69:18,69:23,70:15                70:19, 70:22, 70:25, 71:3,        32:16,32:23.33:10,33:19,
  solemnly[1J- 4:1                starting [1)- 70:13                   71:20                             34:4,34:15,34:23,35:14,
  some 1211- 5:2, 6:7, 8:17,      STATE [1J- 75:3                        talk[5J -18:6,18:7,25:1,         35:16,35:21,36:3,36:11,
 9:23, 10:14, 12:15, 14:17,       state [3)- 4:10, 72:7, 74:20          55:6, 56:6                        36:16, 36:20, 37:1' 37:8,
 21:15,25:7,26:16,29:9,           State [3) - 1 :20, 4:6, 75:7           talked [7)- 8:11, 8:14,          37:15,37:21,37:22,39:1,
 30:18,33:14,41:21,41:23,                                               21:11' 51:20, 56:7, 66:14,        39:3, 39:12, 39:21' 39:25,
                                  statement [10J- 57:20,
 51:18,52:4,57:14,63:11,                                                67:19                             40:9,40:13,40:18,41:3,
                                 57:21' 57:23, 58:11' 59:1'
 68:5, 68:18                                                             talking [7)- 14:11, 17:15,       41 :25, 42:4, 42:11' 42:20,
                                 59:21' 60:4, 61:2, 62:4,
  somebody [9)- 17:5,                                                   44:20,64:5,71:18,71:19            42:24, 43:5, 43:14, 44:4,
                                 62:15
 25:14,46:19, 55:20, 65:4,                                               tall [6J- 32:1, 43:3, 43:4,      44:5, 44:6, 44:8, 44:13,
                                  Statement [2)- 58:10, 60:9
 66:22,67:1, 67:8                                                       61:21, 63:20                      44:16, 44:19, 44:25, 45:5,
                                  statements [6)- 52:6, 57:2,
  someone [3)- 28:1, 58:14,                                              taller [1)- 43:4                 45:15, 45:18, 46:4, 47:9,
                                 57:7, 60:15, 60:18, 60:24
 64:16                                                                   tattoos [6)- 32:7, 32:8,         47:14,47:19,47:21,47:23,
                                  STATES [1J- 1:1
  something [7)- 15:12,                                                 43:18,43:19,46:10,46:12           48:4, 49:18, 50:6, 50:11,
                                  stay[4J- 26:8, 26:12,
 15:14,40:1,43:5,46:11,                                                  television [2)- 31:5, 31:7       51:7,51:15,51:18,52:8,
                                 41:22, 42:24
 68:15, 69:6                                                             tell 1201-5:18,6:1, 10:17,       53:8, 53:20, 53:21, 54:21'
                                  stayed 111-26:13
  sometime [1)- 19:15                                                   10:19, 10:21,25:6,32:2,           55:3,55:9,55:11,55:12,
                                  steady [2) - 44:25, 45:2
  sometimes [7)- 41:19,                                                 32:4, 43:19,48:10, 54:12,         55:18, 55:21, 55:23, 56:3,
                                  stick[1J- 42:14
 41:23, 41:24, 42:2, 42:3,                                              54:24, 55:2, 55:13, 55:23,        56:5, 56:10, 56:14, 56:23,
                                  still [4J- 25:19, 28:22, 33:4,
 42:8, 66:10                                                            56:9, 56:10, 57:4, 57:5,          57:12, 57:20, 57:24, 58:11'
                                 42:23
   somewhere[?)- 31:13,                                                 64:15                             58:15,58:17,59:15,59:17,
                                  STIPULATED [2J- 3:4, 3:15
 40:11,43:5,47:25,61:20,                                                 temporary [1)- 42:25             59:19, 59:22, 59:25, 60:1,
                                  stomach [1)- 29:22
 64:1, 69:4                                                              ten [2)- 22:19, 24:25            60:5, 60:7, 60:13, 60:19,
                                  stopped [1)- 30:11
   SOUTHERN [1)- 1:1                                                     testified [1)- 4:6               60:21' 60:22, 60:25, 61:4.
                                  straight [1)- 38:22                                                     61:12,61:16,62:3,62:4,
   Southern [1)- 4:21                                                    testify [5J- 7:18, 7:19, 7:22,
                                  street[2J- 4:14,24:6                                                    62:5, 62:6, 62:9, 62:13.
   Spanish [16)- 2:16,4:1,                                              8:1, 73:4
                                  Street 111- 2:8                                                         62:17,62:24,63:2,63:12,
 4:3, 6:14. 7:1, 17:12, 17:14,                                           testimony[3J- 73:4,73:7,
                                  stuff 111 - 44:12                                                       63:13,63:14,64:3,64:15,
 17:19, 17:20, 17:23,40:12,                                             75:10
                                  Subscribed [1)- 73:15                                                   64:17,64:18,64:20,65:11,
 40:14,55:13,55:21,63:14                                                 THADANI [7J- 2:10, 59:5,
                                  subside [1)- 51:1                                                       65:12, 65:14,65:17, 65:19,
  speak [SJ- 5:7, 6:15, 17:10,                                          60:10,65:22,71:9, 71:25,
                                  subsided 111- 51:2                                                      66:3, 66:4. 66:12, 66:15.
 17:23, 54:20,54:22, 55:21.                                             74:13
                                  such [1)- 75:9                                                          66:16, 66:19, 66:21. 66:22.
 57:1                                                                    than [10J- 26:1, 26:3,
                                  suing [2) - 11 :9, 11 : 17                                              67:1, 67:4. 67:7. 67:8. 6710,
  speaks[1J- 63:13                                                      30:12,41:5,41:10,43:4,
  specific [4)- 19:16, 23:4,      supposed [16)- 23:6, 27:1,                                              67:18, 67:19, 67:22. 67:25.
                                                                        44:2,49:25,51:15,57:11
 26:5, 67:12                     33:8, 33:17, 33:20, 33:22,                                               68:1,68:15,69:4,69:19,
                                                                         thank [1)- 72:9
                                 34:2, 34:6, 34:8, 34:14, 35:3,                                           69:20, 70:14, 71:3,71:4,
  specifically[3J -11:18,                                                that[272J- 3:5, 3:7, 3:10,
                                 35:14,35:17,35:23,38:16,                                                 71:7, 71:20, 72:5, 73:3, 73:6,
 19:10,50:14                                                            3:15, 4:24, 4:25, 5:2, 5:4,
                                 38:24                                                                    75:9, 75:10, 75:12,75:14
  specified 111- 73:8                                               5:7, 5:11' 5:14, 5:19, 5:25,
                                  sweater 111 - 46:11                                                      That [1)- 75:8
  specify[1J- 12:25                                                 6:3, 6:4, 6:8, 6:22, 7:2, 7:8,
                                  switch [3) - 48:13, 48:16,                                               that's [52)- 7:3, 8:17, 9:4,
  spend [3) - 20:22, 20:23,                                         7:17, 7:21, 7:25,8:23,9:8,
                                 48:20                                                                    12:15, 14:22, 15:9, 16:7,
 23:7                                                               9:10,9:14,9:16,9:21,10:1,
                                  swore [1) - 4:2                                                         16:21,19:18,21:24,22:1,
  spent [1)- 20:21                                                  10:2, 10:6,11:9,11:17,12:3,
                                  sworn [5)- 3:8, 4:5, 73:4,                                              22:13,22:14,22:25,23:5.
  spoke [7) -17:12, 17:13,                                          12:10, 12:14, 12:20, 12:25,
                                 73:15, 75:9                                                              23:16, 24:2, 24:15, 30 10,
 17:18, 17:20,32:16,40:13,                                          13:11,14:2,14:12,14:17,
                                                                                                          31:8,32:22,37:8,37:12,


DIAMOND REPORTING                          (877)           624-3287 info@diamondreporting.com
                                                                   87
         Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 88 of 92
                                                                                                                                 8
                                                       M. SANDOZ

 414,45:17.45:20,47:4,            29:23, 29:25, 30 2, 30:4,         57:19. 57:20, 57:21' 57:23.      62:6,62:20. 63:5, 63:14,
 4 7:22, 48:4, 48:9, 48:11,       30:9,30:16,30:17,30:20.           58:16,58:21,58:22,59:2,          63:16,64:1,64:5,66:12,
 49:2,49:15, 51:6, 51:18,         30:21' 30:23, 30:25, 31:3,        59:11,59:15,59:17,59:18,         66:17,67:9
 56:18, 57:1' 57:9, 57:14,        31:4, 31:5, 31:6, 31:7, 31:8,     59:20, 59:22, 60:3, 60:5.         there's [19!- 5:14, 18:6,
 57:25. 59:2, 59:9, 59:10,        31:11, 31:12, 31:14,31:15,        60:8,60:10,60 14,6017,           21:13,22:2.23:6.23:19.
 59:11,59:20,60:1,60:2.           31:17, 31:19,31:20,31:21,         60:19, 60:20. 60:21. 60 23,      24:5,24:10,24:11,24:15.
 62:25, 63:8.6513, 70:13,         31:24, 32:5, 32:22,33:2,          61:7,61:12,61:14,61:15,          34:4.35:23,40:13,41:13,
 71:14                            33:4,33:8,33:11.33:12.            61:16,61:23,625.626,             44:6, 46:19, 47 3, 53:16,
   the       1:15, 1:16, 1:17,    33:15,33:16,33:17,33:19,          62:18, 62 20. 62:23. 63:2,       63:13
 1:20, 2:7, 3:5, 3:6, 3:7, 3:8,   33:20, 33:22, 33:25, 34 1'        63:3, 63:4, 63 9, 63:11'          these [4] - 8:21, 8:23,
 3:9,3:10,311,3:12,3:13,          34:2,34:5,34:6,34:11.             6312,6318,63:19,6320.            53:17, 64:25
 3:16, 4:2, 4:6, 4:10, 4:13,      34:13,34:14,34:17,34:21,          64:5, 64:7. 64:10, 64:12,         theyr·131- 8:16,9:9. 9:13,
 4:21 4:23, 4:24, 5:1' 5:2,       34:23, 35:2, 35:3, 35:4, 35:5,    6413,64:18,64:22,653.            9:15, 9:16.9:19, 12:15,
 5:4, 5:7, 5:8, 5:16, 6:1' 6:3,   35:6,35:9,35:11.35:14,            65:6, 65:9. 65:10, 65:12.        14:10, 14:19, 14:24, 15:4,
 6:4, 6:7, 7:3, 7:4, 7:5, 7:8,    35:15,35:16,35:17,35:19,          65:13.65:14,65:15,65:17.         1510, 15:12, 15:13, 16:6,
 7:9, 7:14, 7:24. 8:3, 8:6,       35:22, 35:23, 35:24, 35:25,       65:25, 66:8, 66:11, 6616,        18:7,20:5,20:9,20:17,21:5.
 8:16, 8:19, 8:24, 9:1' 9:2,      36:1' 36:3, 36:7, 36:9, 36:11'    66:19. 6621' 66:24, 66:25,       22:15,23:7,24:19.24:20.
 9:6,9:11,9:16,9:17.9:18,         36:18, 36:20, 36:23. 36:24,       67:1' 67:4, 67 5, 67 7. 67:8.    24 21. 25:24. 26:10, 26:13,
 9:19, 9:20, 9:21' 9:24, 10:1'    37:1' 37:4, 37:5, 37:7, 37:8,     67:25.68:4,68:6.69:1,            26:25, 27:1' 27:11, 27:22.
 10:10, 1022, 11:6, 11:9,         37:10,37:12,37:14.37:18,          69:11,6913, 69:17, 69:18,        27:23, 27:25, 28:2, 28:5,
 11:10, 11:14, 11:17, 12:7,       37:19, 37:20, 37:21' 37:22,       69:22, 69:23, 69:24, 70:16,      29:7,29:9,29:11,29:14,
 1218, 12:19,12:20, 12:24,        38:1,38:4,38:10,38:13,            70:21,70:23,71:1,71:6,           30:14, 32:5. 32:19, 33:7,
 12:25, 13:1, 13:7, 13:9,         38:20, 38:25, 39:2, 39:3,         71:20, 72:2, 72:5, 72:10.        33:21,33:24.34:1,34:7,
 13:17, 14:3, 14:10, 14:12,       39:6, 39:8, 39:11' 39:12,         72:11' 73:4, 73:6, 73:7. 73:8,   35:20. 35:24, 37 19, 38:2.
 14:16. 14:18, 14:20, 14:23,      39:14,39:16,39:17,39:18,          74:17, 75:7, 75:8, 75:10.        38:3,38:7, 38:8,38:13,
 15:3, 15:4, 15:5, 15:11,         39:22, 39:23, 40:15, 40:19,       75:13,75:14                      39:14, 39:21' 39:22, 39:24.
 15:13, 15:14, 15:16, 15:23,      40:22, 40:23, 40:25, 41:1'         their[4J -11:5,22:12,           39:25, 40:1' 40:7. 40:9,
 15:25, 16:1, 16:3. 16:8,         41:3,41:4,41:5,41:6,41:10,        41:17,41:18                      40:23,40:24,41:17,41:23,
 16:12, 16:20, 16:24, 17:7,       41:11,41:13,41:15,41:19,           them [43] 8:17, 10:3, 10:5,     41:24, 42:2, 42:3, 42:4, 42:5,
 17:11,17:13,17:17,17:23,         41:21,41:23,41:24,42:1,           14:22,16:5,17:2,17:4, 175,       42:6.42:9, 42:11.45:14,
 18:1, 18:16, 19:1, 19:18,        42:2, 42:4, 42:5, 42:6, 42:7,     17:6. 17:9, 17:10, 17:14,        45:20, 48:8, 48:21, 49:2.
 19:25, 20:1' 20:5, 20:6, 20:9.   42:8,42:9,42:10,42:15,            18:3. 18:5, 18:6, 18:8. 26 4,    53:18, 55:15. 55:18, 57:25,
 20:10,20:11,20:15,21:3,          42:17,42:18,42:19,42:20,          26:7, 27:20, 29:9, 33:3, 33:9,   58:19, 61 5, 62:9, 62:20,
 21:5,21:7,21:8,21:10,            42:21,44:1,44:2,44:3,44:6,        34:7. 34:19, 35:10, 38:9,        62:21,6225,63:1,65:1.
 21:11,21:12.21:13,21:14,         44:7,44:8,44:10,44:12,            38:18,38:21, 39:17,40:6,         68:14,68:18,68:19,69:1,
 21:16,21:18,21:22,21:24,         44:14,44:16,44:17,44:18,          40:13.40:17,41:18,42:10,         70:13. 70:20
 21:25,22:1,22:5, 22:6, 22:7,     44:23,44:25,45:1,45:5,            45:3. 55:11, 57 24, 58:18,         they're :91- 8:20. 8:24.
 22:9, 22:12,22:13, 22:14,        45:11,45:12,45:13,45:14,          6310, 65:2. 66:11 70:25.         21:10,22:15.24:21, 33:20,
 22:15, 22:16,22:19, 22:20,       45:15,46:10,46:16,46:18,          71:6                             34:6, 34:14. 404
 22:22, 22:23,23:1,23:2,          46:21,46:23,47:5,47:10,            then [12]- 21:25, 25:9,          thing [51 - 23 13, 41:13,
 23:3, 23:5, 23 6, 23:8. 23:10,   47:11,47:12,47:13,47:16,          25:16, 34 25, 50:20, 58 22,      57:4, 59:20, 69:9
 23:11,23:12,23:13,23:14,         47:17,47:19,47:23, 47:25,         66:8, 68:18, 68:19, 69:9,         things [51- 29:14, 42:4,
 23:16, 23:18, 23:22, 23:24,      48:2,48:4. 48:6, 48:9.48:10,      69:18, 71:21                     42:6.44:13. 69:10
 23 25. 24:3, 24:5, 24:6,         48:12,48:14,48:17,48:19.           there [901- 5:11. 7:10. 8:24.    think 191- 5:19. 28:5, 29:25,
 24:11' 24:13, 24:14. 24:16,      48:20, 48:22, 48:24, 49:2,        8:25, 9:3. 9:4, 9:9, 14:1'       34 8. 35:14, 3516, 47:25,
 24:19. 24:20, 24:21. 24:22,      49:4, 49:11' 49:21 49:24,         1510. 15:15, 16:21, 17:12.       60:23. 67:19
 24 24, 25 1. 25:5, 25:6, 25:9,   50:2, 50:7, 50:8, 50 9. 50:13,    1718,216,21:7, 21'10,             thirty [1]- 64 1
 2510. 2511' 25:14, 25:15,        51:1.51:3,51:8,51:11,             21:14,21:15,21:25,224,            this J87J- 4:20, 4:23. 6:1.
 25:16.25:17,25:18,25:19,         51:12,51:13,5114,51:19,           23:7, 24:15, 25:10, 2511'        65,6:25,7:9.8:11,8:14,
 25:22,26:1,26:8,26:11,           51:21,51:22,5123,51:25,           25:12. 25 24, 26 1' 26:3.        8:18, 8:25. 9:22, 10:3, 10:7,
 26:12.26:13.2614.26:16,          52:2, 52:3, 524, 52:5, 52:12.     26:6, 26:7, 26:13. 26:21         11:13,12:20,13:3,1313,
 2617,26:18,26:19,26:20,          52:13, 52:18, 52 24, 53:2,        27 2, 27:4. 27 5. 27:16,         15:19. 18:19,22:3,22:19,
 26:24, 26:25, 27:1' 27:3,        53:4,538,53:10,5315,              27:19,27:20,30:21,31:13.         24:6, 25:3, 26:2, 26:15,
 27:5, 27:6, 27:7, 27:9, 27:10,   53:16,53:21,53:23. 54:4,          34:8, 34:9, 34:15, 34:16,        26:20, 26:24, 30:12, 32:10,
 27:11,27:12.27:13,27:17,         54:8, 54:21' 54:23, 54:24,        34:21' 35:10, 37 24, 37:25,      32:14. 32:17, 32:24. 32:25,
 27:19, 27:21' 27:22, 28:3,       54:25, 55:3, 55:5, 55:6,          38:2, 38:3, 40:11' 41:14,        35:19,37:13,39:5,40:16.
 28:6, 28:8, 28:9, 28:10,         55:13, 55:16, 55:18, 55:23,       42:25, 43:6. 44:9, 44:21'        40:19.41:16,45:5,45:8,
 28:12,28:14,28:16,28:19,         55:24, 56:3, 56:5, 56:6, 56:7,    44:25, 46:23, 47:4. 47 8,        46:3, 47:14, 47 20, 48 3,
 28:21' 28:22, 28:24, 29:1'       56:9, 56:10, 56:13, 56:14.        48:1' 51:20, 51:23, 53:13,       4911.49:16,50:14, 50:23,
 29:2, 29:3, 29:5, 29:6, 29:11'   56:16, 56:19, 56:20,56:25,        53:17, 55:23, 56 2, 57:25,       519, 51:19,52:2, 52:6,
 2913, 29:14, 29:16, 29:17,       57:8, 57:13,57:17, 57:18,         58:23, 58:24, 59:19, 60:20,


DI          D         PORTING               (877)         624-3287 info@                         arnondrepo                 ing.corn
                                                                   88
         Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 89 of 92
                                                                                                                                     89
                                                        M.      SANDOZ

 52:23, 54:1,54:18, 56:4,          16:19, 17:2, 17:3. 17:4, 17:5,       72 3, 72:6. 73:4. 7315.           uh-huh [1] 5:3
 56:10, 56:14, 57:4, 58:23,        17:6, 17:18, 18:6, 18:7,             74:18, 75:12, 75:13               understand [261 5:5, 5:6,
 58:25, 59:6, 59:20, 60:4.         18:14. 18:25, 19:3. 19:5,             today [11) 6:4, 7:18. 7:22,     5:9, 510, 5:15. 5:25, 6:3,
 61:1,61:9.62:15.63:12.            19:7. 19:10, 19:12. 19:13,           8:1,89, 10:4, 10:7. 10:12,       6:10, 611' 6:20, 6:23, 6:24,
 66:2, 66:7. 6614, 67:5,           19:14, 19:17, 19 18, 19:20,          51:7. 6714,67:19                 7:4,7:14,9:10. 11:14, 11:16,
 67:11,67:13,68:10,68:13,          19:22, 19:24. 19:25. 20:2,            together [2] 23:11, 24:2        11:23, 21:20, 29:5, 41:8,
 69:9, 72:1,72:9,72:12.            20:3, 20:5, 20:6, 20:7, 20:9,         toilet 111 16:2                 65:1' 65:9, 71 :2
 73:16,75:13, 75:14, 75:17         20 10, 20:23, 2024, 20:25,            told [16] 9:16,25:5,47:11.        understanding [1]- 9:24
   those [21]- 9:1. 9:24,          22:11,22:14,22:16.23:3.              48:3, 48:4. 48:6, 49 1, 49:2,      understood [1] 5:19
 10:11,16:22,19:4,26:8,            23:4,23:6,23:8,2319,25:1.            50:9.5119,52:10.56:13,             unit [1]- 63:10
 33:6, 36:22,43:10,43:14,          25 5, 25:6,25:11.25:15.              57:1,60:19,64:17, 70:12            UNITED[1J 1:1
 44:13, 53:11' 5312, 54 20.        2516, 26:13. 26:17, 27:1,             Tony[3] 61:5.61:6,61:21           unless 111- 5:18
 63:24, 65:18, 66:4, 67:24,        27:12,27:19.27:22,28:1.               tony [1] 61:5                     unsigned [1J- 3:10
 69:13, 70:24                      28:5, 28:17, 30 6, 30:9,              Tony's [1] 61:19                  until [3]- 14:7, 14:9, 64:6
   though[:]- 42:1                 30:18.30:21.30:23. 313.               too ['J 62:13                     up [27'- 9:9, 14:9, 21:21,
   thought [1] 58:2                31:4,31:8, 31:10,31:24,               took[9]-6:3,11:10, 11:18,       22:14. 22:16, 23:2, 25:13,
   threaten [5~ 33:6, 33:7,        32:16, 33:3. 33:5, 33:6, 33:7,       12:13, 14:10, 18:16,50:17,       25:21, 26:10, 27:22, 28:17,
 33:9, 38:5, 40:12                 33:8,33:9,33:11,3314.                51:6, 57:13                      29:21' 30:5, 31:17, 33:5,
   threatened [BJ 36:24,           33:17, 33:20. 33:22, 33:24,           top [11- 60:9                   36:4, 38:18, 42:9. 46:19,
 39:9, 39:24, 39:25, 40:8,         34:1' 34:2, 34:6, 34 8, 34 13,        total [1)- 24:8                 47:17,51:10,51:17,51:18,
 40:15,40:19,57:5                  34:14, 34:23. 35:3, 35:6,             touching[1] 61:15               53:12. 65:23
   three [5] 19:9, 19:17,36:8,     35:14.35:17,3519, 35:23,              tour[1]- 63:15                    upon [1]- 3:13
 47:15, 50:15                      36:5, 36:6, 36:9, 36:18, 37:1'                                          upstairs[3J 46:16,46:22,
                                                                         toward [11 46:8
   through [9] 4:5, 21:6,          37:4, 37:8, 37:17, 38:4, 38:5,
                                                                         transcribe [21 - 5:4. 5:8       47:1
 21:9, 21:13, 21:24. 23:24,        38:10, 38:16, 38:17, 38:18,
                                                                         transcript (2] 73:6, 73:7         Upstate 121 12:16, 12:21
 24:16, 27:24, 39:2                38:20. 38:21, 38:22, 38 24,
                                                                         transfer (1] 12:21                us [3] - 20:6, 20:9, 20:17
   throughoutr21 11:13,            39:1' 39:2, 39:22, 39:24,
                                                                         transferred [4] 16:11,            use [4] 14:20, 14:21,
 30:2                              40:1' 40:3, 40:4, 40:5, 40:6,
                                                                        16 19, 17:3, 62:21               55:15
   throw [1)- 16:7                 40:7,40:24,41:1,41:4,
                                                                         translate [3]- 4:2, 55:14,        used [3]- 3:11. 7:9, 55:18
   ticket[3J 14:10,14:11,          41:14. 41:17, 42:4, 42:6,
                                                                        60:4                               using [2]- 36:13. 36:14
 14:12                             42:10,42:13.42:14, 42:15,
                                                                         translating [1) 7:1
                                   42:20.44:12.45:9,45:18,
   time [43] - 3:16, 10:22,
 12:6, 12:7. 12:13. 12:15,         46:1, 4616, 47:9, 47:10,
                                                                         translation [21 55:16,                        v
                                                                        55:19
 12:18, 18:12, 19:5, 19:15,        47:12, 47:16, 47:19, 48:2.                                             verbal [1!- 5:3
                                                                         traumatic [2]- 49:14, 68:5
 20:13, 20:15, 20 18, 20:21,       48:4, 48:7, 48:8, 48:9, 48 10.                                         very[1 -6:16,29:2,29:10,
                                   48:12.48:17.48:18,48:22,              traumatized [2] - 68:20,
 20:22, 20:23, 23:4, 23:7,                                                                               30:10,30:14,43:3.43:12,
                                   49:4. 50:9,50:13,50:17.              69:10
 26:20, 30:3, 30:12, 33:16,                                                                              43:22, 45:24,61:7
                                   50:20,50:23, 51:3.51:7,               treat[1]- 68:7
 34:17,35:8,36:20,37:10,                                                                                  via [2] 1:16, 53:5
                                   5110,51:20, 51:23,52:4,               treatment [1] 50:2
 37:13,37:16,37:21,409,                                                                                   Video [1]- 1:18
                                   52:8, 52:10,52:12, 53:5,              trial [21 - 3:17, 6:5
 42:25,44:16,47:8,47:21,                                                                                  videoconference [1] 1:16
                                   53:22, 53:24, 54:12, 54:13,           trouble [2]- 49:12,49:17
 48:3,48:6,49:11,50:11,                                                                                   view[2J- 26:18.27:13
                                   54:20, 54:21' 54:22, 54:25,           true [3]- 60:1, 73:7, 75:10
 51:15, 51 :20, 56:25, 72 1,                                                                              volume [2]- 29:1, 29:2
                                   55:4, 55:5. 55:6. 55 7, 55:11'        trust c3J - 17:5. 18:1, 18:5
 73:8                                                                                                     Voluntary[2]- 58:10.60:9
                                   5515,55:18.56:1.56:2,                 truth [2]- 6:1, 73:4
   TIME111 1:12                                                                                           voluntary [1]- 59:1
                                   56:4, 56:5, 56:6, 56:7, 56:8,         try[ZJ- 515, 9:19
   times[4]- 50:13,50:15,
                                   56:11,56:14,56:16,5619.               trying [1J- 31:10
 71:2,71:20
  title [1 J- 65:25                57:1,57:12,5713.5717,                 turn [21- 12:24, 63 2                         w
                                   57:21, 57:24, 57:25, 58:2.            TV [7J- 21:14,23:19.25:25,       W[1]-2:6
  titled f3J- 58:9. 60:9, 64:23
                                   58:4, 58:5. 58:13, 58 15,            27:7,30:21,31:3,31:4              wait [3]- 5:22, 56 23, 66:11
  to [368] - 1:17. 3:8, 3:9,
                                   58:17, 58:18, 58 20, 58:22,           two [271 - 11 :4, 13:25.         waited [1)- 56:25
 3:16, 4:2. 4:3. 4:23, 4:24,
                                   59:3, 59:17, 60:24.61:14.            16:21, 16:22, 19:3,22:25,         waived [1] - 3:7
 5:1,5:15,5:18,522,6:1,
                                   61:16,61:17,61:23,62:10,             24:10, 25:12,2518,25:22,          wake [2]- 51:10. 51:17
 6:5, 6:9, 7:3, 7:9, 7:11, 7:19.
                                   62:11' 62:12. 62:21' 62:24,          26:1, 26:3, 27:4, 35:7, 35:24,    walk [8]- 21:9.21:13.
 7:21,7:25,8:11.8:14,8:17,
                                   62:25, 63:2, 63:18, 64:7.            37:11,46:23,46:24.47:15,         21:24, 25:9, 36:4, 36:11,
 8:23.825,9:8,9:11.9:13,
                                   64:17,64:21,65:2,65:10.              48:21,60:15,60:18,60:23,         36:19, 39:2
 9:14,9:15,9:16,9:17,9:18,
                                   6518, 65:20,66:7,66:8,               64:6. 69:14. 71:5                 walked [51- 31 :22, 37:17,
 9:19, 9:22, 10:3, 11:14,
                                   66:11.66:14,66:17.66:18.
 11:21, 12:21, 12:24, 13:11,                                                                             38:7, 38:13.42:19
 13:13, 13:15, 14:3, 15:1
                                   66:20,67:2, 67:11,67:13.
                                   67:14,67:20,67:21,68:14,
                                                                                         u                walking [8]- 31:15, 31:20,
 15:4. 15:12, 15:25, 16:1,                                               u [1]-   3:1                    31:21,36:13,36:14,36:17,
                                   68:16,68:18,68:21,69:9,
 16:2,16:6,16:7,16:11,                                                                                   41:1, 59:23
                                   70:6, 70:8, 70:12, 70:20,             uh   [1]- 5:3



DIAJ\10ND                     TING           (877)         624-3287 info@                            amondreporting.com
                                                                    8
         Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 90 of 92
                                                                                                                                90
                                                        M.               DOZ

  wall(3] 24:10,24:11,             75:14                             21:20,23:24,26:10,28:2,       70:13
 30:21                              we [12]- 5:1, 20:6, 23:10,       28:9, 28:10, 28:25, 29:3,      when did ['01 11:24.
  walls [1!- 36:18                 23:16,23:21, 71:18,71:19,         29 6, 29:14, 30:9, 33:2,      12:21' 13:5, 32:21' 4 7:13,
  want [4J- 25:1, 63:2. 67:13,     71:25, 72:1                       33:14,35:8,35:20,36:10,       50:16. 52:23, 68:10, 69:11.
 67:20                              we'll [1]- 13:11                 36:15, 37:10, 37:13, 39:10,   70:6
  wanted ··1- 39:1                  we're 121 - 58:5, 64:5           40:7, 40 9, 43:2, 45:20,       when were [1]- 15:23
  warm[3J 25:7,25:10,               wears [3] - 46:11, 46:13,        47:12, 47:16, 48:5, 48:7.      when you [38]- 8:23, 12:1,
 33:14                             63:24                             48 3, 48:10, 48:13. 48:22,    13:7, 13:15, 1412, 16:19.
  was ['52]- 4:6. 6:8, 7:8,         wedding [1] 46:14                48 25, 49:2, 49:4, 49:15.     18:12, 19:13,21:9,21:13,
 11:25, 13:3, 13:9. 14:25,          week [3] 32:22, 48:14,           50:2,50:5,50:7,51:11,         23:8,24:1,24:13,26:9.
 155, 15:15,15:19,16:1,            62:17                             51:24, 52:2. 52:19,52:25,     26:14, 26:24,28:13, 33:2,
 16:12,16:14, 17:9, 193,            weeks[3J 4715,48:21,             5323,54:9, 54:10,54:12,       34:22, 34:25, 35:5, 37:14,
 19:17, 22:9, 25:4, 25:10,         50:10                             54:13, 54:25, 55:2, 55:4,     37:17, 41:1' 45:1' 47:8, 48 2,
 25:12,25:15,25:16,25:17,           weight[2]- 10:19, 10:21          55:5,55:7,55:10,56:1,         48:22,49:12,51:15, 51:20,
 25:24, 26:3, 26:6, 26:11'          well 121-32:12, 32:13            56:10, 56:18,57:3, 57:6,      54:7,55:10, 56:7, 56:8,
 26:21,27:4,27:13,27:19,            went[2o: - 19:13, 19:23,         57:9, 57:15, 57:22, 58:13,    57:19,68:12, 71:21
 28:2, 28:9,2810, 28:15,           19:25, 20:3. 27:22, 33:5,         5818, 58:20,58:21, 58:23,      where [32]- 15:5. 22:1.
 28:20, 28:22, 28:23, 28:24.       33:14, 37:24,38:4, 38:22,         58:24, 60:1' 60:2, 60:24,     22:6,22:13,22:14.22:15,
 29:1,29:2,29:13,29:16,            39:4,40:22,40:24,47:19,           61:6,61:23,62:12,63:1,        22:18, 22:22. 23:10, 23 11'
 29:18, 29:23, 30:4, 30:7,         47:22,47:23,48:2,48:17,           63:9,64:10,65:1, 65:23,       23:16, 24:6, 24:13, 24:21'
 30:21,30:24,31:12,31:17.          48:22                             66:4, 66:12, 67:2, 67:3,      30:20,31:8,31:11,35:3,
 32:23,33:8,33:11.33:13,            were(91] 10:1,11:10,             67:23, 68:2, 68:6, 68:7,      39:1' 40:22, 40:24, 41:6,
 33:15,34:8.34:15.34:16,           12:1, 12:7, 13:12, 15:7,          68:15, 68:20, 70:3, 70:23     41:11,43:13,44:20,46:18,
 34 17, 35:9, 35:25. 36 11,        15:12. 16:9, 1611' 16:24,          whatare[3]-11:5, 71:18,      49:8,49:25,53:14,55:1,
 36:12, 36:14, 36:18, 36:20,       17:11. 17:17, 18:9, 18:12,        71:19                         70:3
 36:22, 36:24, 37:4, 37:14,        25:18,25:22,25:24.26:1,            whatdid[11J 14:16,15:3,       where are[2]- 24:18,24:19
 37:15, 37:23, 37:24, 38:8,        26:14, 26:19,26:23,26:25,         30:16, 33:7, 39:8, 39:23,      where iS[3}- 21:12.31:3,
 38:13, 38:15, 39:3, 39:16,        27:1, 27:10,2711,2716,            45:1' 53:7. 53:14, 54:24,     43:17
 39:18,4013,41:3,42:12,            27:21' 27:23, 27:25, 28:2,        57:23                          wherewere[4] 13:15,
 44:4, 45:5, 45:18, 46:6,          28:5, 28:19, 29:3, 29:4, 29:6,     what is(?J- 4:12,6:12,       14:4, 62:10, 68:12
 46:18,47:5,47:14,47:25,           29:7,29:9,29:11,29:14,            11:7,52:15,59:15,63:15,        WHEREOF 111 75:16
 48:11' 48 14, 48:24, 49:6,        29:15,29:21,29:22, 31:11,         70:21                          Whereupon 1101- 30:24,
 49:13, 49:20, 49:23. 50:7,        32:5, 33:3, 33:4. 34:18,           what was[8J 26:17,28:1,      33:11' 37:4, 49:23, 56:19,
 50:12, 51:4,51:5, 51:22,          34:25, 35:6, 35:11' 35:21'        42:21,45:10,45:21,47:19,      57:17,58:7,63:18,64:9,
 52:2, 55:1.55:12, 56:2,           35:24,37:19,37:21,37:25,          56:3, 66:24                   72:11
 56:16.56:19,57:5.57:17,           38:2, 38:3, 39:21,40:1,41:1.       what were [3}- 14:23,         whether [3) 29:19, 37:25,
 58 7, 58:16, 59:17, 59:18,        42:13,42:18,45:1,47:9,            18:25, 25:2                   43:19
 59 23, 60:1, 60 2, 60:3, 60:5,    55:3, 55:9, 55:24, 56:8,           what's [61- 23:18, 28:3,      which [7] 420, 4:21, 131,
 61:4,62:2,63:18,64:9,             56:24. 57:6, 58:2, 63:2,          28:4. 59:24, 67:20, 67:21     17:15,64:4,65:6,69:13
 64:13,66:20,66:22.67:1,           64:15, 6511' 65:17, 70:3,          whatever [1] 40:3             while[16]-11:10, 18:9,
 69:4,70:1.70:5, 70:7,70:14,       70:10,70:18,70:20,70:21,           whenfB1)- 9:4,11:14,         18:13, 25:17,27:9,27:13,
 72:12, 75:9                       71:4,71:10, 71'20, 71:21,         11:21. 15:19, 15:24, 19:18,   28:22. 29:4, 33:4, 35:21'
  was it -9:18.37:10,              71:22                             24:18, 25:20, 26:2. 26:11'    42:15,51:6,58:14,61:25,
 44:23,611,62:15                    were you         12:1, 12:8,     26:21' 27:4, 27:18, 28:9,     70:10, 70:18
  was that[SJ- 7:12,35:8,          12:18. 13:7, 13:24, 14:1,         28:24. 291' 29:19, 30:10,      white [2) 52:20, 61:7
 40:9, 48:2, 48:6                  14:7, 15:16, 15:25, 18:9,         30:12.31:14, 32:23,33:13,      who        17:12, 1718,
  was there        13:25. 14:2,    19:7, 20:25,27:6, 28:8, 30:2.     33:14, 33:19, 33:24, 33:25.   29:16,30:16,31:14.31:20,
 14:9, 18:12, 2211' 27:3,          30:6, 30:12, 31·15, 31:24,        34:1,34:2,34:5,34:11,         31:25, 37:24, 39:8, 39:18,
 29:19, 51 25. 52:2                36:1, 36:13,36:17.49:4.           34:13,34:15,34:17,34:19.      39:23,40 15,40:19,42 6.
  wasn't[2J- 18:7. 38 24           49:8, 49:16, 50:9, 52:10,         34:20, 36:20. 36:22, 37:7,    44:10,44:12,44:14,44:18.
  watch [4J- 25:11,2612,           54:18, 56:7, 62:12, 62:18,        37:8, 37:10, 37:12, 38:13,    51:24,52:13, 54:1,55:24.
 2613. 4215                        68:24, 70:25                      38:16, 39:9, 39:24, 40:22,    58:16,58:20.59:15,60:3,
  watching iW 25:18,                weren't [2] - 27:1, 55:24        41:4, 42:8, 42:18,44:8,       61:1,61:4,64:2,64:3,64:10,
 25:25, 27:7,28:16, 23:19,          west :21- 14:6, 14:7             46:19, 47:11' 47:22, 48:4,    65:14,66:24.67:7,70:15
 23:24, 41 :16, 52:3, 55 24,        what[122]-7:12, 9:6,9:15,        48:9,48:11,51:4,51:9,          who are 141- 20:7, 22:2,
 56:2                              9:23, 10:9, 12:1, 12:4, 12:14,    51:17,51:18,51:22,51:25,      33:21, 39:12
  waterraJ- 21:14, 23:21,          13:18,14:1,14:4,14:11.            52:2, 55:24, 56:4, 56:16,      who is 121- 7:5. 66:21
 25:8, 25:10,27 7, 33:15,          14:24, 15:14, 15:21, 18:21.       57:1' 58:21' 59:23, 63:3,      who was (1]- 55:18
 42:13,4214                        18:22. 19:5, 19:14,20:13,         64:12,64:13,68:22,69:3,        who were :91 - 25:18,
  way [4] - 37:13. 39:22. 46:3.    20:18,20:20,21:4,21:11,           69:15,69:21,69:24,70:12.      25:22, 28:16, 33:2, 41:15,



DI          0 REP                 ING        (877)         624-3287 info@diamondreporting.com
                                                                    90
         Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 91 of 92
                                                                                                                                 91
                                                          M. SANDOZ

 41:16,42:17.63:5,63:11            57:11' 57:12, 67:4                 8:24, 8:25, 9:3, 9:6, 9:12,      66:12,66:15,66:18,66:21,
  who's [2]- 44:14, 63:13           writing [6]- 59:2, 59:9,          9:15,9:22, 10:6,10:11,           66:24, 67:2, 67:4, 67:7,
  whole [7] - 30:3, 33:15,         59:10,60:13,65:13,65:15            10:21,11:1,11:9, 11:10.          67:12,67:14,67:18,67:19.
 35:19, 68:4. 69:8, 69:20,          written [2]- 6:19, 57:7           11:13, 12:4, 12:7, 12:16,        67:20, 67:24, 68:4, 68:10,
 69:22                              wrong [3] - 58:4, 58:19,          12:21,12:25,13:1,13:5,           68:12, 68:16, 69:5, 69:11'
   whose 111- 75:8                 59:20                              13:12, 13:13, 13:15, 14:4,       69:20, 70:3, 70:6, 70:10,
  why[25J- 12:15, 12:16,            wrote [13]- 53:12, 54:10,         14:11, 14:12, 14:16, 14:23,      70:18, 70:21' 70:25, 71:3,
 15:9, 15:11.16:5, 18:1.18:4,      54:14,54:15,58:19, 58:23,          15:7, 15:12, 15:23, 16:3,        71:4, 71:10, 71:20, 72:9
 18:5, 32:10. 32:11' 34:8,         58:24, 58:25, 59:9, 59:15,         16:6,16:8, 16:9,16:11,            you're[10]-11:17, 24:18,
 35:14,35:16,38:20,41:21,          61:1' 65:3, 67:7                   16:16, 17:2, 17:5, 17:6,         24:23, 25:2, 42:25, 56:13,
 42:1,42:12,48:16,48:18,                                              17:11,17:15,17:17,17:18,         62:24, 65:14, 67:10,67:15
                                                                      17:25, 18:2, 18:4, 18:5, 18:9,    you've [2]- 4:25, 69:21
 51:6,57:25,60:17,60:23,                          X
 60:25, 62:25                                                         18:16, 18:25, 19:10, 19:13,       your [63]- 4:10, 4:12, 5:3,
                                    X [5J- 1:2, 1:9, 49:3, 74:1,      19:14,19:21,19:25,20:1,          5:4, 6:12, 7:21' 7:25, 9:25,
  wide 111- 38:13
                                   74:9                               20:3, 20:13, 20:18, 20:20,       10:15, 10:17, 10:19, 10:21,
  will [2]- 6:9, 11:13
   window [12]- 24:5, 24:6,         X-rays 111- 49:3                  21:1,21:6,21:8,21:11,            11:7,11:24,16:12,19:7,
 24:14,24:15,24:16, 24:18,                                            21:24, 22:2, 23:4, 23:7, 23:8,   20:22, 20:25, 22:9, 25:2,
 24:23,26:17,27:12,27:17,                         y                   23:25, 24:1' 24:3, 24:5, 24:6,   28:17,29:21,29:22, 33:13,
 27:21' 27:23                                                         24:9,24:11,24:13,24:16,          34:22, 35:1' 35:6, 36:6,
                                    yeah [31] - 9:19, 9:23, 11 :4,
   windows [5]- 23:22, 23:24,                                         25:2, 26:9, 26:10, 26:20,        36:13,37:17,38:4,38:7,
                                   11:23, 17:20, 18:24,20:17,
 24:3, 24:8, 24:11                                                    26:25, 27:7, 27:9, 27:12,        38:11' 38:17, 38:21' 39:9,
                                   22:22,26:13,27:11,29:2,
  with [59]- 3:9, 3:11, 6:25,                                         27:14,27:18,27:22,28:13,         39:12, 39:23,40:10, 40:15,
                                   30:14,30:18,31:8,36:18,
 7:3, 7:4, 7:5, 7:9, 7:21' 7:25,                                      28:14,28:15,28:16,28:19,         41:2,42:12,43:1,47:2,47:5,
                                   37:19,38:8,42:14,44:4,
 8:18,8:25, 10:11, 10:15,                                             28:22, 28:23, 28:24, 29:4,       49:8, 50:16, 50:20, 50:24,
                                   44:16,49:13,49:20,53:11,
 12:8, 14:10, 14:23, 16:12,                                           29:14,29:16,29:18,29:21,         51:11,51:14,52:15,53:7,
                                   54:5, 57:21' 59:22, 61:9,
 16:14, 16:16, 16:22, 17:10,                                          30:13,30:16,31:11,31:14,         54:8,54:16,59:1.59:8,
                                   62:17,66:16,67:6,70:20
 17:14, 18:3,21:14,21:22,                                             31:15,31:19,31:20,31:25,         59:11,60:12,69:15,69:20,
                                    year[3J- 13:12, 15:21,
 22:16,29:13,30:19,31:22,                                             32:2,32:4,32:10,32:13,           69:24
                                   52:25
 32:12, 33:9, 36:24, 39:5,                                            32:15, 32:21' 32:24, 33:3,
                                    years [4]- 61:20, 64:1,
 40:16,40:18,49:24, 51:22,
                                   70:1' 71:3
                                                                      33:4, 33:5,33:7, 33:17,
                                                                      34:17' 34:18, 34:23, 35:21'
                                                                                                                           z
 52:13, 53:4, 54:6, 54:8,
                                    yelling [2]- 28:2, 28:5                                             Z111- 4:4
 54:10, 54:16, 54:20, 57:5,                                           35:24, 36:6, 36:9, 36:10,
                                    Yes [4] - 19:22, 30:4, 60:11,                                       ZACHARY [1]- 2:6
 59:20, 60:20, 60:21' 60:22,                                          36:15, 36:20, 36:22, 37:14,
                                   61:3
 61:7,64:11,65:12,65:15,                                              37:25, 38:4, 38:5, 38:7,
                                    yes [75] - 5:17, 5:24, 6:2,                                                            0
 66:16,67:5,67:22,68:15,                                              38:10, 38:16, 38:20, 38:24,
                                   6:6,6:11,7:16,10:2,10:5,
 70:4                                                                 39:6, 39:8. 39:9, 39:10,          0
                                   10:8,11:12,11:20,12:9,                                                   [4]-   72:14
  within [4]- 3:6, 8:3, 8:6,                                          39:18, 39:21' 39:24, 39:25,
                                   13:4, 13:9, 13:14, 13:23,
 75:7                                                                 40:3,40:7,40:12,40:15,
                                   14:15, 14:19, 15:2, 16:4,
  WITNESS [1]- 75:16                                                  40:16,40:19,42:8, 42:9,
                                   16:10, 16:23, 17:24, 18:18,
  witness [8]- 3:8, 3:12,                                             42:13, 42:18,42:24,43:4,
                                   20:12,21:2,21:17,22:7,
 3:13,4:4,61:16,72:12,75:8,                                           43:19,43:25,44:10,44:19,
                                   23:23,26:3, 26:16,27:15,
 75:11                                                                45:21,46:3,46:18,46:19,
                                   28:7,28:18,31:10,31:21,
  woman [3]- 17:13, 63:13,                                            47:4,47:9,47:13.47:14.
                                   34:1.34:24,38:19,39:17,
 63:20                                                                47:19,47:23,48:3,48:6,
                                   39:20, 43:24, 44:21' 45:7,
  words [6] - 6:20, 6:23. 6:24,                                       48:7,48:8, 48:25,49:1,49:4,
                                   46:9,47:7,49:19, 50:12,
 29:7' 29:9, 29:11                                                    49:24, 49:25, 50:23, 51:7,
                                   51:2, 51:9, 52:8, 53:3, 53:6,
  work [3] - 44:17, 44:25,                                            51:19, 52:13,52:23, 53:5.
                                   53:11,54:3,54:17,56:9,
                                                                      53:7, 53:8, 53:14. 53:20,
 45:8                              57:9. 58:12, 59:2, 59:7,
  workers [1]- 22:22                                                  53:21,54:1,54:7,54:12,
                                   59:12,60:16,62:5,65:16,
                                                                      54:15, 54:22, 54:24, 55:3,
  working[5]- 35:3,44:18,          65:24,66:1,66:10,71:23
                                                                      55:7, 55:9, 55:10, 55:20,
 44:24,45:5,63:11                   YORK[5J-1:1, 1:7,2:7,
                                                                      56:3, 56:4, 56:8, 56:11'
  works [8]- 44:6, 44:14,          75:3, 75:4
                                                                      56:13, 56:14, 56:24, 57:6,
 44:16,45:9,63:14,63:16,            York[16]-1:19, 1:20,2:8,          57:12, 57:13, 57:20, 57:23,
 64:2. 64:3                        4:6,4:17,4:19,4:22, 70:6,          58:2, 58:4, 58:13, 58:20,
  would [10]- 6:4, 17:4, 17:6,     70:10,70:12,71:11,71:12,
                                                                      58:25, 59:15, 60:23, 60:24,
 17:9, 18:2,24:14,41:17,           71:18, 75:7
                                                                      61:23,62:10,62:15,63:3,
 67:14, 69:1                        you [342]- 4:13,4:20,4:24,        63:7, 63:10, 64:3, 64:4, 64:6,
  write [13]- 6:17, 52:6,          5:2,5:11,5:14,5:18,5:19,           64:11,64:12,64:15,64:16,
 52:10,52:23,53:7, 53:23,          5:23, 5:25, 6:3, 6:4, 6:7, 6:8,    64:18, 65:3, 65:6, 65:10,
 53:25, 54:1' 54:7, 54:8,          6:25, 7:5, 7:17, 7:20, 8:9,        65:11,65:15,65:17,66:7,


DIAMOND REPORTING                             (877)          624-3287 info@diamondreporting.com
                                                                     91
             Case 1:17-cv-05447-VSB-SN Document 68-1 Filed 01/28/20 Page 92 of 92


                                        Diamond Errata Sheet

Plaintiff(s): - - - - - - - - - - - - - - - - - - - - - - - - - - - -



Defendant(s): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



p a2e L.me                c orrection                      R eason ~or c orrection




Date:                                            Subscribed and sworn to before me
        ---------------------------------
Name of Witness:                                 This - - - - - of ----------------- 20

Signature:
                                                                     Notary Public
